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                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                        FORT LAUDERDALE DIVISION
                                             www.flsb.uscourts.gov

    In re:                                                           Chapter 11 Cases

    VITAL PHARMACEUTICALS, INC., et al.,                             Case No. 22-17842 (PDR)
                                                                     (Jointly Administered)
                        Debtors. 1
                                                                /

    VPX LIQUIDATING TRUST, by and through its
    Liquidating Trustee,

                        Plaintiff,
                                                                     Adv. Pro. No. 24-01009 (PDR)
    v.

    JOHN H. OWOC, MEGAN ELIZABETH
    OWOC, JONATHAN W. OWOC, BRANDEN
    SHAW, DAVID RUNNEBAUM, JWO REAL
    ESTATE INVESTMENT I, LLC, JWO REAL
    ESTATE INVESTMENT II LLC, JW OWOC
    ENTERPRISES, LLC, 167 SPYGLASS LN
    LLC, 120 SPYGLASS LN LLC, 3 PELICAN DR
    LLC, TROPICAL SUNSET 117 LLC, STAG
    DEVELOPMENT          LLC,        SHAW
    INVESTMENTS & REALTY, INC., ELITE
    ISLAND LLC, JHO GA-1 INVESTMENT,
    LLC, JHO NV-1 INVESTMENT LLC,
    SHERIDAN REAL ESTATE INVESTMENT A,
    LLC,     SHERIDAN     REAL      ESTATE
    INVESTMENT B, LLC, and SHERIDAN REAL
    ESTATE INVESTMENT C, LLC,

                        Defendants.
                                                                /




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         The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal
         tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii)
         JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash
         Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales,
         Inc. (8019).


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                                     AMENDED COMPLAINT

           VPX Liquidating Trust, by and through its Liquidating Trustee (the “Liquidating Trust” or

“Plaintiff”), the liquidating trust in the above-captioned chapter 11 bankruptcy cases (the “Chapter

11 Cases”) established pursuant to the Debtors’ Second Amended Joint Plan of Liquidation [Case

No. 22-17842-PDR, Dkt. 1905] (the “Plan”), by and through its undersigned counsel, for its

Amended Complaint in the above-captioned action against defendants John H. Owoc (“Jack

Owoc”), Megan Elizabeth Owoc (“Megan Owoc”), Jonathan W. Owoc (“Jon Owoc”), Branden

Shaw (“Shaw”), David Runnebaum (“Runnebaum”), JWO Real Estate Investment I, LLC (“JWO

I”), JWO Real Estate Investment II LLC (“JWO II”), JW Owoc Enterprises, LLC (“JW

Enterprises”), 167 Spyglass Ln LLC (“167 Spyglass”), 120 Spyglass Ln LLC (“120 Spyglass”), 3

Pelican Dr LLC (“3 Pelican”), Tropical Sunset 117 LLC (“Tropical Sunset”), Stag Development

LLC (“Stag”), Shaw Investments & Realty, Inc. (“Shaw Investments,” and together with Jon

Owoc, Shaw, Runnebaum, JWO I, JWO II, JW Enterprises, 167 Spyglass, 120 Spyglass, 3 Pelican,

Tropical Sunset, and Stag, the “Real Estate Enterprise Defendants”), Elite Island LLC (“Elite

Island”), JHO GA-1 Investment, LLC (“JHO GA”), JHO NV-1 Investment LLC (“JHO NV”),

Sheridan Real Estate Investment A, LLC (“Sheridan A”), Sheridan Real Estate Investment B, LLC

(“Sheridan B”), and Sheridan Real Estate Investment C, LLC (“Sheridan C”) (collectively,

“Defendants”), alleges as follows:




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                                            INTRODUCTION 2

           1.      This is an action to recover hundreds of millions of dollars in damages inflicted on

the above-captioned debtors (the “Debtors” or the “Company”) as a result of the boundless greed

and unlawful actions of their founder, former Chief Executive Officer (“CEO”), sole director and

managing member, and purported “Chief Science Officer,” Jack Owoc, and his self-dealing regime

that caused the Company’s demise.

           2.      During the two decades before the Petition Date, Jack Owoc had exclusive control

of the Company and all aspects of its operations. During that time, the Company quickly grew to

become a leading energy drink manufacturer in the United States as a direct result of the success

of its flagship product, the Bang energy drink (the “Bang Drink”), the sales of which comprised

the majority of the Company’s profits.

           3.      After the launch of the Bang Drink in 2012, the Company appeared highly

profitable on paper—racking up hundreds of millions of dollars of revenue from the sale of

“Bang”-marketed products.

           4.      Despite the outward appearance of profitability, the Company’s success was

entirely based on the misappropriation of the “Bang” trademark and countless false claims about

the Bang Drink.

           5.      In 1971, decades prior to when the Company’s use of the “Bang” mark commenced,

another beverage company, Orange Bang, Inc. (“OBI”), obtained a trademark to use the “Bang”

mark in connection with non-alcoholic beverages, including energy drinks.

           6.      In 2009, after the Company started using the “Bang” mark, OBI sued it for

trademark infringement.


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     Capitalized terms not defined in this Introduction section have the meaning ascribed to them in this Amended
     Complaint.


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           7.      OBI and the Company resolved the trademark infringement lawsuit by entering into

a “stay-in-your-lane” settlement agreement in 2010 that placed clear and unambiguous sales and

marketing restrictions on the sale of certain of the Company’s products (the “2010 Settlement

Agreement”).

           8.      Under the 2010 Settlement Agreement, the Company was only permitted to use the

“Bang” mark under two limited and defined circumstances: (1) the Company could use the “Bang”

mark to sell “creatine-based” dietary supplements and nutritional products sold in any location;

and (2) the Company could use the “Bang” mark to sell beverages that were not “creatine-based”

so long as it only did so in nutritional supplement stores and nutritional supplement sections of

stores that sold a broader variety of products.

           9.      While Jack Owoc was intimately involved in negotiating the 2010 Settlement

Agreement and signed it on behalf of the Company, he failed to inform any of the Company’s

employees, distributors, and retailers of the various go-forward restrictions when it came to using

the “Bang” mark.

           10.     He also steadfastly refused to stay in his lane. Instead, to evade the restrictions

imposed by the 2010 Settlement Agreement and dupe the public, Jack Owoc and those hired by

him and under his control devised an ingredient called “Super Creatine,” the inclusion of which

would purportedly exclude the Bang products from certain of the 2010 Settlement Agreement

restrictions.

           11.     But “Super Creatine” is actually a functionally useless compound, made-up by Jack

Owoc—a former high school science teacher with no bona-fide scientific credentials or product-

development experience—that the body metabolizes as waste.




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           12.     In other words, Jack Owoc sold garbage to the public, while at the same time

claiming it had health benefits, and then profited off his lies.

           13.     As part of his scheme, Jack Owoc began marketing the Company’s products as

containing “Super Creatine” in order to use the “Bang” mark and sell the Company’s products in

traditional retail spaces unrestricted, even though “Super Creatine” does not contain the creatine

molecule (the “Super Creatine Scheme”).

           14.     But Jack Owoc’s lies and the Company’s false advertising could not withstand

scrutiny forever. Unsurprisingly, the Super Creatine Scheme and Jack Owoc’s willful and

deliberate misconduct in violation of the 2010 Settlement Agreement were eventually uncovered,

and the Company became mired in bet-the-company litigation as a result of its longtime CEO’s

continuous, self-interested, and short-sighted actions.

           15.     In addition to litigations filed in 2018 and 2020 related to the Super Creatine

Scheme and the Company’s marketing and labeling of its Bang Drink, the Company was also

subject to a litany of other litigations and threatened lawsuits stemming from Jack Owoc’s

additional forms of reckless behavior and misconduct.

           16.     Rather than ensure that the Company set aside any cash reserves for the inevitable

adverse decisions, Jack Owoc continued lining his own pockets with the fruits of his unlawful acts,

abusing the corporate form, and breaching his fiduciary duties to the Company by, among other

things, transferring valuable intellectual property assets away from the Company and funneling

hundreds of millions of dollars out of the Company to fund nearly all of his personal expenses,

ranging from a few hundred dollars for his monthly home utility bills, to multi-million dollar tax

bills and tens of millions of dollars to start a real estate business (the “Owoc Real Estate

Enterprise”) with his son, Jon Owoc, and some of Jon Owoc’s friends.




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           17.     By September 2022, the Company was facing over $500 million in litigation

judgments and settlement obligations that were the direct result of Jack Owoc’s perpetuation of

false advertising related to the Super Creatine Scheme, trademark infringement, and breach of a

distribution agreement.

           18.     In addition to the $500 million in litigation judgments and settlement obligations,

the Company was battling various other pending lawsuits that exposed the Company to over $600

million in additional potential liabilities.

           19.     The litigation judgments brought the Super Creatine Scheme, infringing use of the

“Bang” mark, and fraudulently earned profits to light and, coupled with the other potential

litigation liabilities, left the Company with no choice but to file for bankruptcy relief on October

10, 2022 (the “Petition Date”).

           20.     This adversary proceeding (the “Adversary Proceeding”) is brought pursuant to,

inter alia, Rule 7001 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

sections 105(a), 501, 502, 510, 542, 544, 547, 548, 550 and 551 of title 11 of the United States

Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), Fla. Stat. §§ 726.105, 726.106, 726.107,

726.108, and 726.109, and other applicable federal, state, and common law, seeking a judgment:

                   (a)   that Jack Owoc breached his fiduciary duties of care, loyalty, and good faith
                         owed to the Debtors and their creditors by:
                          i. perpetuating the Super Creatine Scheme, falsely advertising the Bang
                             Drink, and taking the actions giving rise to the False Advertising
                             Judgment against both Jack Owoc, individually, and the Company;
                         ii. selling Bang products in the general beverage section of retail stores in
                             violation of the 2010 Settlement Agreement and taking the actions
                             causing the OBI/Monster Judgment against the Company;
                         iii. funneling hundreds of millions of dollars out of the Company to pay a
                              wide variety of personal expenses, including taxes, and to operate the
                              Owoc Real Estate Enterprise using the Debtors’ funds and by utilizing the
                              Company’s employees for personal purposes;


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                         iv. terminating the Pepsi Distribution Agreement arbitrarily and without
                             good cause, forcing the Company to enter into the Pepsi Settlement
                             Agreement; and
                         v. engaging in an ongoing and repeated pattern of misconduct during the
                            course of the Chapter 11 Cases;

                   (b)   that the Real Estate Enterprise Defendants aided and abetted Jack Owoc’s
                         breaches of fiduciary duty;

                   (c)   that Elite Island aided and abetted Jack Owoc’s breaches of fiduciary duty;

                   (d)   that Jack Owoc and Megan Owoc were unjustly enriched by their improper
                         use of the Company’s employees for their personal benefit;

                   (e)   avoiding and recovering fraudulent transfers of property of the Debtors to, or
                         for the benefit of, Jack Owoc pursuant to Fla. Stat. §§ 726.105(1)(b) and
                         726.108, or in the alternative, pursuant to 11 U.S.C. §§ 548(a)(1)(B) and 550;
                         or Fla. Stat. §§ 726.105(1)(a) and 726.108 or 11 U.S.C. §§ 548(a)(1)(A) and
                         550;

                   (f)   avoiding and recovering preferential transfers to Jack Owoc and Megan Owoc
                         pursuant to 11 U.S.C. §§ 547(b) and 550;

                   (g)   avoiding and recovering fraudulent transfers of property of the Debtors to, or
                         for the benefit of, Jack Owoc and each of the Commercial LLCs in connection
                         with the acquisition of commercial real property pursuant to Fla. Stat. §§
                         726.105(1)(b) and 726.108, or in the alternative, pursuant to 11 U.S.C. §§
                         548(a)(1)(B) and 550; or Fla. Stat. §§ 726.105(1)(a) and 726.108, or 11
                         U.S.C. §§ 548(a)(1)(A) and 550;

                   (h)   avoiding and recovering fraudulent transfers of property of the Debtors to, or
                         for the benefit of, Elite Island in connection with the acquisition of
                         commercial real property pursuant to Fla. Stat. §§ 726.105(1)(b) and 726.108,
                         or in the alternative, pursuant to 11 U.S.C. §§ 548(a)(1)(B) and 550; or Fla.
                         Stat. §§ 726.105(1)(a) and 726.108, or 11 U.S.C. §§ 548(a)(1)(A) and 550;

                   (i)   avoiding and recovering fraudulent transfers of property of the Debtors to, or
                         for the benefit of, Tropical Sunset, Jack Owoc, Jon Owoc, and Stag (or in the
                         alternative, the Real Estate Enterprise Defendants) in connection with the
                         acquisition of commercial real property pursuant to Fla. Stat. §§
                         726.105(1)(b) and 726.108, or in the alternative, pursuant to 11 U.S.C. §§
                         548(a)(1)(B) and 550; or Fla. Stat. §§ 726.105(1)(a) and 726.108, or 11
                         U.S.C. §§ 548(a)(1)(A) and 550;

                   (j)   declaring that the properties owned by the Real Estate LLCs are, in fact, the
                         property of the Debtors’ Estates and that the Debtors are entitled to the
                         proceeds, if any, from the sale of the properties;


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                   (k)   declaring that the property owned by JHO NV is, in fact, the property of the
                         Debtors’ Estates and that the Debtors are entitled to the proceeds, if any, from
                         the sale of the property;

                   (l)   declaring that any claims held by the Commercial LLCs are limited to the
                         amounts and priorities set forth in the Scheduled Claims;

                   (m) declaring that the Disputed Sheridan Funds belong to the Plaintiff;

                   (n)   declaring that JHO Real Estate LLC is neither a claimant nor a creditor in
                         these Chapter 11 Cases;

                   (o)   disallowing and expunging any claims filed or held by Jack Owoc or the
                         Commercial LLCs pursuant to 11 U.S.C. § 502;

                   (p)   disallowing and expunging the Late Claims, the Owoc Unliquidated Claim,
                         the Rent-Related Claims, and the Asserted Admin Claim pursuant to 11
                         U.S.C. § 502;

                   (q)   recharacterizing the Late Claims, the Owoc Unliquidated Claim, the Rent-
                         Related Claims, the Asserted Admin Claim, and the Scheduled Claims as
                         equity pursuant to 11 U.S.C. §§ 105(a) and 502(b)(1);

                   (r)   providing for the equitable subordination of the Late Claims, the Owoc
                         Unliquidated Claim, the Rent-Related Claims, the Asserted Admin Claim,
                         and the Scheduled Claims pursuant to 11 U.S.C. § 510(c);

                   (s)   that Plaintiff is entitled to prejudgment interest on its successful claims;

                   (t)   that Plaintiff is entitled to recover from Defendants its costs incurred in the
                         prosecution of this Adversary Proceeding; and

                   (u)   granting such other and further relief as the Court deems just and equitable.

                                             JURISDICTION

           21.     This is a proceeding arising under or relating to the bankruptcy petitions filed by

the Debtors under chapter 11 of the Bankruptcy Code. As a result, this Court has jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334(b) and Bankruptcy Rule 7001.

           22.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

           23.     This Adversary Proceeding is a “core” proceeding pursuant to 28 U.S.C. §§ 157(a)

and (b)(2)(A), (B), (C), (F), (H), and (O).



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           24.     In the event that any portion of this Adversary Proceeding is found to be “non-

core,” Plaintiff consents to the entry of final orders and judgments by this Court pursuant to

Bankruptcy Rule 7008.

           25.     Declaratory relief is appropriate pursuant to both Bankruptcy Rule 7001 and 28

U.S.C. §§ 2201 and 2202 (the “Declaratory Judgment Act”).

           26.     As set forth below, an actual legal controversy exists with respect to the declaratory

relief requested herein.

           27.     This Court has personal jurisdiction over each Defendant pursuant to Bankruptcy

Rule 7004.

                                                PARTIES

           28.     Plaintiff is the Liquidating Trustee appointed pursuant to the Plan that became

effective on November 21, 2023. Pursuant to Article 2.2 of that certain Liquidating Trust

Agreement (the “Liquidating Trust Agreement”), which was incorporated into the Plan and

approved in all respects by the Confirmation Order, the Liquidating Trust was substituted as the

party-in-lieu of the Debtors in all matters and pending proceedings inside and outside of the

Bankruptcy Court.

           29.     Prior to the Petition Date, Debtor Vital Pharmaceuticals, Inc. (“Vital”) was a

Florida corporation with its principal place of business in Weston, Florida.

           30.     Prior to the Petition Date, Debtor Bang Energy Canada, Inc. (“Bang Canada”) was

a Florida corporation with its principal place of business in Weston, Florida.

           31.     Prior to the Petition date, Debtor JHO Intellectual Property Holdings, LLC (“JHO

IP”) was a Florida limited liability company with its principal place of business in Weston, Florida.

           32.     Prior to the Petition Date, Debtor JHO Real Estate Investment, LLC was a Florida

limited liability company with its principal place of business in Weston, Florida.


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           33.      Prior to the Petition Date, Debtor Quash Seltzer, LLC (“Quash”) was a Florida

limited liability company with its principal place of business in Weston, Florida.

           34.      Prior to the Petition Date, Debtor Rainbow Unicorn Bev LLC was a Florida limited

liability company with its principal place of business in Weston, Florida.

           35.      Prior to the Petition Date, Debtor Vital Pharmaceuticals International Sales, Inc.

was a Delaware corporation with its principal place of business is in Weston, Florida.

           36.      Defendant Jack Owoc is the Debtors’ former CEO, former purported “Chief

Science Officer,” and sole former board member and managing member of each of the Debtors.

           37.      Jack Owoc is a citizen of Florida.

           38.      Jack Owoc is, and at all relevant times was, an insider of the Debtors by virtue of

his ownership interests in and control over the Debtors, described in more detail herein.

           39.      Defendant Megan Owoc is the Debtors’ former Senior Vice President of Marketing

and is married to defendant Jack Owoc.

           40.      Megan Owoc is a citizen of Florida.

           41.      Megan Owoc is, and at all relevant times was, an insider of the Debtors by virtue

of the fact that she is a relative of Jack Owoc, a person in control of the Debtors.

           42.      Defendant Jon Owoc is Jack Owoc’s son, partner in the Owoc Real Estate

Enterprise, and a former employee of the Debtors.

           43.      Jon Owoc is a citizen of Florida.

           44.      Jon Owoc is, and at all relevant times was, an insider of the Debtors by virtue of

the fact that he is a relative of Jack Owoc, a person in control of the Debtors.

           45.      Defendant Shaw is a partner in the Owoc Real Estate Enterprise.

           46.      Shaw is a citizen of Florida.




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           47.      Defendant Runnebaum is, or was, a partner in the Owoc Real Estate Enterprise.

           48.      Runnebaum is a citizen of Florida.

           49.      Defendant Tropical Sunset is a Florida limited liability company with its principal

place of business in Weston, Florida. Tropical Sunset’s members are Jack Owoc, Jon Owoc, and

Stag.

           50.      Defendant Stag is a Florida limited liability company with its principal place of

business in Fort Lauderdale, Florida. Stag’s members are Jon Owoc and Shaw Investments

           51.      Defendant Shaw Investments is a Florida corporation with its principal place of

business in Fort Lauderdale, Florida. Shaw Investments’ sole director is Shaw.

           52.      Defendant JWO I is a Florida limited liability company with its principal place of

business in Cooper City, Florida. JWO I’s sole member is Jon Owoc.

           53.      Defendant JWO II is a Florida limited liability company with its principal place of

business in Cooper City, Florida. JWO II’s sole member is Jon Owoc.

           54.      Defendant JW Enterprises is a Florida limited liability company with its principal

place of business in Fort Lauderdale, Florida. JW Enterprises’ sole member is Jon Owoc.

           55.      Defendant 167 Spyglass is a Florida limited liability company with its principal

place of business in Fort Lauderdale, Florida.

           56.      Upon information and belief, 167 Spyglass’ sole member, as reflected in its Articles

of Organization, is Jon Owoc. Tropical Sunset is 167 Spyglass’ parent company, and Tropical

Sunset and its members have treated 167 Spyglass as if it is owned by Tropical Sunset.

           57.      Defendant 120 Spyglass is a Florida limited liability company with its principal

place of business in Fort Lauderdale, Florida.




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           58.      Upon information and belief, 120 Spyglass’ sole member, as reflected in its Articles

of Organization, is Jon Owoc. Tropical Sunset is 120 Spyglass’ parent company, and Tropical

Sunset and its members have treated 120 Spyglass as if it is owned by Tropical Sunset.

           59.      Defendant 3 Pelican is a Florida limited liability company with its principal place

of business in Fort Lauderdale, Florida. Upon information and belief, 3 Pelican’s sole member, as

reflected in its Articles of Organization, is Jon Owoc.

           60.      Tropical Sunset is 3 Pelican’s parent company, and Tropical Sunset and its

members have treated 3 Pelican as if it is owned by Tropical Sunset.

           61.      Defendant Elite Island is a Florida limited liability company with its principal place

of business in Weston, Florida. Elite Island’s sole member is Jack Owoc.

           62.      Defendant JHO GA is a Florida limited liability company with its principal place

of business in Weston, Florida. JHO GA’s sole member is Jack Owoc.

           63.      Defendant JHO NV is a Florida limited liability company with its principal place

of business in Weston, Florida. JHO NV’s sole member is Jack Owoc.

           64.      Defendant Sheridan A is a Florida limited liability company with its principal place

of business in Weston, Florida. Sheridan A’s sole member is Jack Owoc.

           65.      Defendant Sheridan B is a Florida limited liability company with its principal place

of business in Weston, Florida. Sheridan B’s sole member is Jack Owoc.

           66.      Defendant Sheridan C is a Florida limited liability company with its principal place

of business in Weston, Florida. Sheridan C’s sole member is Jack Owoc.




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                                        FACTUAL BACKGROUND

I.           THE COMPANY’S BUSINESS AND JACK OWOC’S CONTROL OF THE
             COMPANY.

             67.      The Company was founded by Jack Owoc in 1993 and manufactured, developed,

  and marketed sports nutrition products and energy drinks.

             68.      Initially, the Company produced nutritional supplements marketed toward

  bodybuilders and fitness enthusiasts. It transitioned into producing beverages without sugar,

     calories, carbohydrates, or artificial flavors and with caffeine, electrolytes, and other performance

  ingredients, including energy drinks.

             69.      The Bang Drink, Jack Owoc’s brainchild—and hoax—was launched by the

     Company in 2012 and was the fastest growing beverage in the U.S. non-alcoholic beverage sector

     in 2018.

             70.      At all relevant times, Jack Owoc was each of the Debtor-entities’ sole shareholder.

  The Debtors’ operating company, Vital, maintained at all relevant times a Subchapter S

     corporation election for tax purposes, and, historically, Jack Owoc served as the sole director or

     member, as applicable, of each of the Debtors and was each of the Debtors’ CEO and purported

     “Chief Science Officer.”

             71.      In those roles, Jack Owoc had complete control over all decisions made and

     initiatives pursued by the Company. Until the Petition Date, Jack Owoc managed the Debtors with

  an iron fist and without any supervision, direction, or oversight, including that of an independent,

  or for that matter, any board of directors or members, as applicable.

             72.      Jack Owoc personally oversaw all of the Company’s operations, including product

     development, testing, manufacturing, distribution, and marketing.




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           73.      All decisions related to the Company, including payments to vendors, distributors,

and other third parties, required Jack Owoc’s express approval. No one other than Jack Owoc had

signatory authority over the Debtors’ bank accounts. All internal and external payments also

required Jack Owoc’s express approval.

           74.      Jack Owoc was also the only person at the Company who had authority to enter

into contracts on the Company’s behalf.

           75.      From 2016 to 2019, the Company demonstrated significant enterprise growth and

experienced increased customer demand for its products.

           76.      For example, in 2019, the Company achieved approximately $1.2 billion in retail

sales, approximately $626 million in net revenue, and approximately $175 million in earnings

before interest, taxes, depreciation, and amortization.

           77.      From 2017 to 2019, the Company had a 184% compound annual growth rate.

           78.      This growth and performance, however, was illusory and based on Jack Owoc’s

unlawful conduct, including the failure to ensure compliance with, and deliberate disregard of, the

2010 Settlement Agreement.

           79.      Indeed, the Company’s perceived success was based on its unlawful use of the

“Bang” mark and implementation of the Super Creatine Scheme, which was perpetrated by the

willful false advertisement of the purported health benefits of Super Creatine in the Bang Drink,

the Company’s key product responsible for approximately 95% of sales between 2019 and the

Petition Date.

           80.      Despite this period of strong growth, Jack Owoc’s deception and lies led to a

multitude of litigations, and ultimately massive monetary judgments, against both Jack Owoc,

individually, and the Company. While the Company and Jack Owoc faced these significant




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  liabilities, Jack Owoc continued to funnel more and more money out of the Company for himself

  and his family, using the Company as his personal piggy bank.

             81.      At the time the Company sought bankruptcy relief, the Company and Jack Owoc

  were involved in more than 63 pending or threatened litigations.

             82.      Yet, Jack Owoc had no reservations maintaining his lavish lifestyle, flaunting his

  wealth, and perpetuating the Super Creatine Scheme, all while the Company battled the bet-the-

  company lawsuits that stemmed from his mismanagement.

II.          THE COMPANY’S SUCCESS WAS BUILT ON DECEPTION, PUTTING IT IN
             FINANCIAL PERIL.

             A.     The 2010 Settlement Agreement with OBI.

             83.      In 2008, the Company debuted its first product with the word “Bang” in the name:

      the “Bang Pre-Workout.”

             84.      In 1971, decades prior to the Company’s debut of the Bang Pre-Workout, OBI had

  obtained a trademark to use the “Bang” mark in connection with non-alcoholic beverages, fruit

  beverages, energy drinks, and isotonic drinks.

             85.      In 2009, after OBI learned that the Company was marketing and selling a product

  using the “Bang” mark, OBI sent a cease-and-desist letter to the Company.

             86.      Ignoring the valid cease-and-desist, Jack Owoc did not stop the Company from

      marketing or selling the Bang Pre-Workout, and that same year, OBI initiated a trademark

      infringement lawsuit against the Company in the United States District Court for the Central

      District of California (the “District Court”).

             87.      In 2010, OBI and the Company entered into the 2010 Settlement Agreement

  resolving the lawsuit.




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           88.      Jack Owoc played an active role negotiating the 2010 Settlement Agreement and

signed it on behalf of the Company.

           89.      Pursuant to the 2010 Settlement Agreement, the Company was permitted to use the

“Bang” mark only if it complied with specific marketing and sales restrictions.

           90.      First, the Company was permitted to use the “Bang” mark to market and sell

“nutritionally fortified,” “creatine-based” dietary supplement and nutritional products (the

“Creatine-Based Product Restriction”) in any location.

           91.      Second, the Company was permitted to use the “Bang” mark to market and sell

“any nutritionally fortified beverage which enhances performance, and which is not creatine-

based,” so long as it limited itself to selling those products in “vitamin and nutritional supplement

stores to include but not limited to GNC, Vitamin Shoppe, other specialty vitamin and nutrition

stores, gyms and health clubs or to the vitamin and dietary supplement section only of any

convenience or other stores” (the “Location Restriction”).

           B.     The Company Continues to Use the “Bang” Mark and Deceives Consumers into
                  Thinking that its Products Contain “Super Creatine”—a Form of Creatine.

           92.      Despite the Company’s entry into the 2010 Settlement Agreement, Jack Owoc did

absolutely nothing to ensure the Company’s compliance with the restrictions and failed to take any

actions to limit the Company’s violations of the agreement.

           93.      In fact, Jack Owoc unilaterally decided that the Company would continue using the

“Bang” mark without regard to the agreed-upon restrictions and doubled down on that strategy.

           94.      Not only did the Company continue using the “Bang” mark, but it expanded its use

of the mark, making it a core part of the Company’s identity by launching the Bang Drink in 2012

and then rebranding itself as “Bang Energy.” To complete its public transformation from a

supplement company to “Bang Energy,” in 2019, the Company changed the name of its social



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media accounts to incorporate “Bang,” including the Company’s social media account:

@BangEnergyCEO.

           95.      In order to avoid the Location Restriction in the 2010 Settlement Agreement and

continue selling Bang products in locations other than vitamin and nutritional stores, Jack Owoc

feigned compliance with the Creatine-Based Product Restriction by marketing the Bang products

as containing “Super Creatine”—an alleged new form of creatine which he claimed to have

discovered and to which he attributed significant health benefits.

           96.      Creatine is an amino acid that naturally occurs in the human body.

           97.      “Super Creatine” is a fundamentally different molecule that has nothing to do with

creatine.

           98.      Unlike true creatine, “Super Creatine” is functionally useless—the human body

metabolizes it as waste. In other words, Jack Owoc was profiting by selling consumers actual

garbage and falsely representing that it had substantial health benefits.

           99.      For example, at various points in time, Jack Owoc has claimed:

                    (a)   “As you age, you have ‘Creatine Transport Deficiency Syndrome,’ where
                          creatine does not cross the ‘Blood Brain Barrier’ as well as it does when you
                          are younger. Because of this, as you age you become mentally r*tarded . . . .
                          We have great news though. We could possibly reverse that with these new
                          creatine peptides that I’ve patented.”
                    (b)   Super Creatine can “reverse Sarcopenia (loss of skeletal muscle).”
                    (c)   Super Creatine has “anti-depressive effects.”
                    (d)   Super Creatine “increases cell swell which increases protein synthesis.”
                    (e)   Super Creatine can provide “6.9 Pounds of Water-Retention-Free Lean Mass
                          in just 4 Weeks!”
                    (f)   Super Creatine increases “cognition” and “attention span.”
                    (g)   Super Creatine “increases IGF-1 and satellite cell activation (IGF-1 and
                          satellite cells are essential for muscle growth).”



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                    (h)   Super Creatine can “increase I.Q.”
                    (i)   Super Creatine is “neuroprotective in the brain” and has “antioxidant effects
                          in the brain.”
                    (j)   Super Creatine “helps with all forms of dementia, including Alzheimer’s,
                          Parkinson’s, Huntington’s, and other forms of dementia.”
           100.     Jack Owoc attempted to defraud consumers into believing that the Company’s Bang

products, which contained this so-called “Super Creatine,” would deliver the benefits of creatine

(and more) to those who consumed it.

           101.     Jack Owoc’s claims, and the Company’s marketing, were a lie intended to dupe

consumers into purchasing Bang products.

           102.     In reality, “Super Creatine” is an intentionally misleading name Jack Owoc made

up for the creatyl-L-leucine molecule, which—as Jack Owoc well knew and an arbitrator and court

subsequently found—has nothing to do with actual creatine.

           103.     These bogus claims by Jack Owoc, the Company’s “Chief Science Officer,” are

unsurprising in light of Jack Owoc’s lack of science credentials or expertise.

           104.     In fact, Jack Owoc’s only scientific experience is limited to his former position as

a high school science teacher.

           105.     To effectuate the Super Creatine Scheme, the Company invested significant sums

of money in its advertising and promotional materials and heavily featured “Super Creatine”

throughout its marketing strategy.

           106.     Jack Owoc directed the Company and its employees, distributors, and retailers to

market and sell the Bang products and Bang Drink for over a decade, despite knowing that such

actions were in direct violation of the 2010 Settlement Agreement, infringing on OBI’s “Bang”

mark, and deceiving the public about the existence and benefits of “Super Creatine.”




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           107.     To that end, prior to the Petition Date, the Company employed over 1,000

influencers who produced and posted content featuring the “Bang” mark and Super Creatine

products on their personal Instagram and TikTok accounts.

           108.     In addition to its social media marketing, the Company advertised the “Bang” mark

and its “Super Creatine” products at live events, on end cap displays in retailers, and in other

marketing materials.

           109.     “Super Creatine” was also featured prominently on every single domestically-sold

can of the Bang Drink.

           110.     Jack Owoc caused the Company to spend $7.5 million on advertising in 2017, $11.6

million in 2018, and a whopping $35.9 million in 2019—all to perpetuate the Super Creatine

Scheme and artificially boost the Company’s sales and profits through misleading and deceptive

claims about its products.

           111.     The decisions related to compliance with the 2010 Settlement Agreement—such as

where the products were sold and the manner in which they were marketed—were solely within

Jack Owoc’s purview and control.

           112.     Jack Owoc (and therefore the Company) purposefully failed to communicate the

marketing and sales restrictions to the Company’s employees, distributors, or retailers. This

enabled Jack Owoc’s violations of the 2010 Settlement Agreement and his deception of consumers

to continue unabated for several years, increasing the Company’s exposure to potential litigation

liabilities.

           113.     Accordingly, Jack Owoc was solely responsible for the Company’s failure to

comply with the terms of the 2010 Settlement Agreement and the Company’s fraudulent claims

regarding the benefits of “Super Creatine.”




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           C.     Jack Owoc’s Prepetition Conduct and Perpetuation of the Super Creatine
                  Scheme Causes the Company to Incur Massive Liabilities.

                   i.      Monster Files a Bet-the-Company Litigation.

           114.         While there were many lawsuits against the Company since its inception, the

Company’s most catastrophic legal woes began in 2018.

           115.      In September 2018, Monster Energy Company (“Monster”) sued the Company and

Jack Owoc, individually, in the District Court asserting (among other claims) false advertising

claims based on the Super Creatine Scheme (the “Monster Lawsuit”).

           116.      During the course of the trial, Jack Owoc repeated his false claims that “Super

Creatine” functions as creatine in the human body and provides significant health benefits.

           117.      Indeed, Jack Owoc contradicted himself over 50 times during his sworn trial

testimony in connection with, among other things, his patently absurd and untrue scientific claims

about “Super Creatine.”

           118.      At the conclusion of the trial, the jury found that Jack Owoc lied: the products did

not contain any creatine, let alone the so-called “Super Creatine” and that Jack Owoc (and the

Company, acting through Jack Owoc) was liable for willful and deliberate false advertising.

           119.      On September 29, 2022, the jury issued a $293 million verdict in favor of Monster

and against the Company and Jack Owoc, who were jointly and severally liable. More than $271

million of the damages award was for willful and deliberate false advertising in connection with

the Super Creatine Scheme.

           120.     The jury expressly found that Jack Owoc (and the Company, acting through Jack

Owoc) was liable for willful and deliberate false advertising.




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           121.     The Monster Lawsuit exposed Jack Owoc’s lies regarding the purported function

and benefits of “Super Creatine,” and the judgment against the Company, among other things, led

directly to its downfall.

           122.     The magnitude of the verdicts against the Company and Jack Owoc reflected the

severity of Jack Owoc’s misconduct.

           123.     On January 11, 2024, the District Court entered a judgment in favor of Monster

awarding, among other things, $271,924,174 in damages for willful and deliberate false

advertising, plus $16,778,363.10 in attorneys’ fees, $5,367,641.74 in costs, $13,786,557.30 in

prejudgment interest, and post-judgment interest, which totaled over $307 million (the “False

Advertising Judgment”).

           124.     Prior to the issuance of the adverse jury award in the Monster Lawsuit, and despite

Jack Owoc’s knowledge that he was falsely advertising the Company’s products, the Company

did not set aside any cash reserves to be utilized in case of an adverse judgment.

           125.     Even after the jury’s significant verdict based on the Super Creatine Scheme, and

the Company’s bankruptcy filing, Jack Owoc continued to promote the purported benefits of

“Super Creatine.”

                  ii.   OBI Catches Wind of the Violations of the 2010 Settlement Agreement.

           126.     As detailed above, Jack Owoc attempted to trick the market into believing that the

Company’s Bang products contained “Super Creatine” in order to dupe OBI into believing that the

Company was in compliance with the Creatine-Based Product Restriction.

           127.     Unsurprisingly, OBI eventually caught wind of the Company’s breaches of the

2010 Settlement Agreement.




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           128.     On March 25, 2019, shortly after the Monster Lawsuit was filed, OBI sent a cease-

and-desist letter regarding the Company’s breaches of the 2010 Settlement Agreement, including

the Company’s failure to comply with the sales and marketing restrictions. That letter was ignored.

           129.     On August 2, 2019, OBI sent a second cease-and-desist letter to the Company,

asserting that the Company continued to violate the sales and marketing restrictions set forth in

the 2010 Settlement Agreement. Again, OBI’s letter was ignored.

           130.     In September 2019, OBI entered into an assignment agreement with Monster, under

which OBI assigned certain rights and interests in the 2010 Settlement Agreement, while OBI

continued to hold the relevant trademark.

           131.     On June 16, 2020, Monster and OBI jointly demanded arbitration against the

Company, wherein Monster asserted breach of contract claims as assignee under the 2010

Settlement Agreement and OBI asserted trademark infringement claims as the continued holder of

the “Bang” trademark (the “OBI/Monster Arbitration”).

           132.     In October 2021, the matter proceeded to arbitration, and the Arbitrator held a two-

week hearing.

           133.     The crux of the issue during the arbitration was, according to the Arbitrator,

whether “the Bang Products, and [the Company]’s other products which make use of the ‘Bang’

Mark, are ‘creatine-based’ or not, whether that results in a breach of the Settlement Agreement or

not and whether that rises to the level of trademark infringement or not.”

           134.     During the Arbitration, the Company’s own expert witness, testified that “Super

Creatine” was not a form of creatine, and there is no evidence to support the efficacy of “Super

Creatine.”




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           135.     Following the hearing, the Arbitrator confirmed “creatine was not a fundamental, a

main, or a carrying ingredient in the Bang Products at issue.”

           136.     The Arbitrator further found that the Bang products containing “Super Creatine,”

i.e., creatyl-L-leucine, did not satisfy the Creatine-Based Product Restriction. In other words, Jack

Owoc was again found to have lied in order to line his own pockets.

           137.     In the Arbitrator’s view, the “evidence was essentially undisputed that the

Company failed to adhere to the sales restrictions” included in the 2010 Settlement Agreement.

           138.     Further, the Arbitrator found that Jack Owoc “never bothered to communicate” the

existence of the marketing and sales restrictions to the Company’s employees, customers, and

distributors.

           139.     The Arbitrator determined that the Company “shifted from a particularized

marketing strategy, a marketing strategy geared at its original niche target audience, athletes and

members of the muscle building community to a general marketing strategy based on a ‘life-style’

brand and it did so in order to attract mainstream consumers.”

           140.     On January 6, 2022, the arbitrator issued an interim arbitration award in favor of

Monster and OBI and against Vital and JHO IP (at the time, JHO IP held certain of the Company’s

intellectual property), pursuant to which Monster and OBI jointly elected: (i) a $175 million

disgorgement of profits award on account of OBI’s trademark infringement claim; and (ii) certain

injunctive relief providing for a royalty payment equal to 5% of net sales of Bang-branded

beverages in lieu of the Company discontinuing its use of the “Bang” mark (the “Interim Award”).

           141.     On April 4, 2022, the arbitrator issued a final award, which provided the same relief

granted under the Interim Award plus approximately $9.3 million in fees and costs and further




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   injunctive relief providing for a royalty payment equal to 5% of net sales of Bang-branded

   beverages in lieu of Vital discontinuing its use of the “Bang” mark (the “Arbitration Award”).

              142.     On September 29, 2022, the District Court entered a judgment confirming the

   Arbitration Award (the “OBI/Monster Judgment”).

              143.     Like with the Monster Lawsuit, Jack Owoc did not direct the Company’s finance

   department to retain sufficient cash reserves for a potential judgment. At the same time, he

   continued to use the Company’s assets as his personal piggy bank.

              144.     Although the Company’s Director of Finance was generally aware of the

   OBI/Monster Arbitration, she later testified that she was not informed of it in “any detail” as the

   matter progressed.

              145.     In fact, the Company’s Director of Finance testified that, had she been aware of

   either the Monster Lawsuit or the OBI/Monster Arbitration earlier, she would have advised the

   Debtors’ controller and others in the finance department that they needed to start preserving capital

   to offset the potential liability in the case of an adverse judgment.

III.          THE COMPANY’S REPEATED EXPOSURE TO LITIGATION STEMMING
              FROM JACK OWOC’S RECKLESS CONDUCT.

              146.     The OBI/Monster Arbitration and the Monster Lawsuit were not the Company’s

   first foray into litigation. Jack Owoc’s reckless business practices routinely resulted in litigations

   against the Company.

              147.     Between 2012 and 2013, the Company was forced to defend multiple class action

   lawsuits in connection with certain of the Company’s non-Bang products relating to adverse and

   undisclosed severe negative health effects caused by those products.




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           148.      For example, one of the Company’s products was alleged to contain a controlled

substance, an illegal amphetamine analogue, that purported to burn fat for over six hours after

consumption.

           149.      Another one of these class actions alone resulted in a settlement requiring the

Company to make a $5.49 million payment.

           150.         The Company also consistently faced legal actions over the past decade—including

breach of contract, wrongful termination, and other claims—due to Jack Owoc’s unilateral and

rash decision-making.

                   i.      Jack Owoc’s Unilateral and Improper Termination of the Pepsi
                           Distribution Agreement.

           151.     One critical component of the Company’s business strategy was its distribution

facilities and networks. Since its inception, the Company invested hundreds of millions of dollars

in distribution facilities across the United States. The Company’s distribution network was critical

to the sale of the company’s products, including its flagship drink, the Bang Drink.

           152.      While historically the Company relied on a decentralized network of regional

distributors to deliver its products to consumers, in April 2020, the Company entered into an

exclusive distribution agreement (the “Pepsi Distribution Agreement”) with PepsiCo, Inc.

(“Pepsi”). The Pepsi Distribution Agreement encompassed the distribution of “BANG-branded

Licensed Products,” as defined in that agreement.

           153.      A mere six months later, on October 23, 2020, Jack Owoc, on behalf of the

Company, unilaterally terminated the Pepsi Distribution Agreement based on his disagreement

with Pepsi’s strategies and the parties’ varying expectations, without considering the ramifications

of the termination and again without directing the finance department to retain cash reserves for

any potential liability.



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           154.     Jack Owoc’s unilateral decision to terminate the Pepsi Distribution Agreement

mere months after its execution spawned at least seven different lawsuits: (i) PepsiCo, Inc. v. Vital

Pharm., Inc., No. 01-20-0015-8060 (Am. Arb. Ass’n, filed Nov. 23, 2020); (ii) Vital Pharm., Inc.

v. PepsiCo, Inc., No. 0:20-cv-62415-RAR (S.D. Fla., filed Nov. 25, 2020); (iii) Quash Seltzer,

LLC v. PepsiCo, Inc., No. 21-CV-60191-RAR (S.D. Fla., filed Jan. 26, 2021); (iv) PepsiCo, Inc.

v. Vital Pharm., Inc., No. 0:22-cv-60805-RAR (S.D. Fla., filed Apr. 27, 2022); (v) JHO Intell.

Prop. Holdings v. PepsiCo, Inc., No. 2:22-cv-00353 (D. Ariz., filed Jan. 28, 2022); (vi) Vital

Pharm., Inc. v. PepsiCo, Inc., No. 2:22-cv-00593 (D. Ariz., filed Apr. 11, 2022); and (vii) Vital

Pharm., Inc. v. PepsiCo, Inc., No. 2:22-cv-00591 (D. Ariz., filed Apr. 11, 2022) (collectively, the

“Pepsi Litigations”).

           155.     On June 21, 2022, the Company and Pepsi entered into a Confidential Settlement

Agreement and General and Special Release of All Claims (the “Pepsi Settlement Agreement”),

which resolved all of the Pepsi Litigations.

           156.     Pursuant to the Pepsi Settlement Agreement, the Company agreed to pay Pepsi a

total of $115,000,000 to address the damages caused by Jack Owoc’s improper termination of the

Pepsi Distribution Agreement.

           157.     In addition, the Company was subsequently required to expend significant

resources to re-implement a decentralized network of regional distributors following the demise

of the relationship with Pepsi.

           158.     Jack Owoc’s inexplicable decision plunged the Company into further disarray and

closer to financial ruin.




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                  ii.     A Host of Other Litigations Ensnare the Company.

           159.     Not only did Jack Owoc’s conduct result in more than half a billion dollars of

indebtedness to Monster, OBI, and Pepsi, Jack Owoc also exposed the Company to at least $1

billion in potential additional liabilities by flouting copyright law and abruptly terminating

contracts, including, but not limited to, the following litigations:

                    (a)    Southeast Cold Fill, LLC v. Vital Pharm., Inc., No. 4:20-cv-00776 (D.S.C.
                           Mar. 24, 2020): complaint filed in 2020 asserting damages for over $309
                           million in connection with a manufacturing agreement that Jack Owoc
                           unilaterally terminated;
                    (b)    Am. Bottling Co. v. Vital Pharm., Inc., No. 1:20-cv-01268 (D. Del. Nov. 20,
                           2020): complaint filed in 2020 asserting damages of over $225.1 million in
                           connection with an alleged breach of a manufacturing agreement that Jack
                           Owoc unilaterally terminated;
                    (c)    Dairy Farmers of Am., Inc. v. Vital Pharm., Inc., No. 4:20-cv-00760 (W.D.
                           Miss. Sept. 23, 2020): complaint filed in 2020 asserting damages of $14
                           million in connection with contract fees that Jack Owoc failed to ensure the
                           Company paid under a manufacturing agreement;
                    (d)    UMG Recordings, Inc. v. Vital Pharm., Inc., No. 0:21-cv-60914 (S.D. Fla.
                           Apr. 28, 2021): complaint filed in 2021 asserting damages of over $22.15
                           million in connection with, among other things, alleged copyright
                           infringement based on Jack Owoc’s repeated unlicensed use of the plaintiff’s
                           copyrighted music on the Company’s social media accounts, including the
                           @BangEnergy.CEO Instagram account and @bangenergyceo TikTok
                           account;
                    (e)    Sony Music Ent. v. Vital Pharm., Inc., No. 1:21-cv-22825 (S.D. Fla. Jan. 31,
                           2022): complaint filed in 2022 asserting damages of over $35.5 million in
                           connection with, among other things, alleged copyright infringement based
                           on Jack Owoc’s repeated unlicensed use of the plaintiff’s copyrighted music
                           on the Company’s social media accounts, including the @BangEnergy.CEO
                           Instagram account and @bangenergyceo TikTok account; and
                    (f)    Fischer v. Vital Pharm., Inc., No. 22-CV-00136 (E.D. Miss. Feb. 3, 2022):
                           consumer class action lawsuit filed in 2022 asserting damages of over $401
                           million in connection with, among things, the Super Creatine Scheme.




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IV.           THE COMPANY’S CHRONIC LITIGATION EXPOSURE RENDERS IT
              FINANCIALLY VULNERABLE AND INSOLVENT.

              160.     As discussed above, Jack Owoc utilized the Super Creatine Scheme to subvert the

      sales and marketing restrictions in the 2010 Settlement Agreement and trick consumers into

      purchasing the Bang Drink based on false promises about the benefits of “Super Creatine.”

              161.     The Super Creatine Scheme went undiscovered for several years. Following the

      introduction of the “Super Creatine” products, the Company’s sales of Bang products exploded

      from $70 million in 2016, to $320 million in 2017, and to $1.28 billion in 2019. Put differently,

      from 2017 to 2019, the Company had a 184% compound annual growth rate.

              162.     The Company’s sales of Bang-related products and products that purportedly

      contained “Super Creatine” were based on Jack Owoc’s fraudulent conduct, willful false

      advertising, and concealment of the terms and restrictions of the 2010 Settlement Agreement.

              163.     Although the Company was profitable on paper, those profits were derived from,

      and reliant on, the Super Creatine Scheme and improper use of the “Bang” mark.

              164.     For example, in 2019, the Company’s most profitable year in its existence, at least

      95% of the Company’s sales were based on products using the “Bang” mark and purportedly

      containing “Super Creatine.”

              165.     While the Super Creatine Scheme allowed the Company to reap significant profit,

      it also deepened its insolvency, allowing the Company to continue operating and accruing

      contingent liabilities as Jack Owoc flouted the obligations in the 2010 Settlement Agreement.

              166.     Factoring in the contingent liabilities from the pending litigations reveals the dire

      nature of the Company’s financial condition and insolvency.




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              A. The Debtors Have Been Insolvent Since at Least September 2018.

           167.     The Debtors’ liabilities have significantly exceeded the Debtors’ assets since at

least September of 2018, and Jack Owoc and the Debtors never had any plan or ability to repay

the Debtors’ contingent liabilities, which totaled several hundred million dollars.

           168.     On September 4, 2018, the Monster Lawsuit was filed. The Monster Lawsuit

included a claim for damages pursuant to the Lanham Act, which was premised upon, inter alia,

the Company’s willful and intentional misrepresentation of the nature, characteristics, or qualities

of products containing “Super Creatine.”

           169.     Where a plaintiff establishes a willful violation of the Lanham Act, it is entitled to

recover the defendant’s profits flowing from the unlawful conduct. Ultimately, the foregoing

claim was reduced to a judgment awarding Monster $271,924,174 in damages for willful and

deliberate false advertising plus tens of millions of dollars in attorneys’ fees, costs, and pre- and

post-judgment interest.

           170.     At the time the Monster Lawsuit was filed, Jack Owoc and the Company that he

controlled knew that the Company had been willfully and intentionally misrepresenting the nature,

characteristics, or qualities of products containing “Super Creatine” and, therefore, knew that the

contingent liability associated with the Monster Lawsuit was extremely likely to be realized.

           171.     The amount of the contingent liability—the Company’s profits from sales of

products containing “Super Creatine”—was also reasonably estimable.                    Accordingly, the

Company’s balance sheet should have included (but did not) a contingent liability in the amount

of $271,924,174 as of September 2018.




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           172.     The Company’s books and records reflect that, as of January 2019, the Company’s

assets totaled $186,385,114.57, its liabilities (excluding the contingent liability for the Monster

Lawsuit) totaled $79,265,396.85, and its assets exceeded its liabilities by $107,119,717.72.

           173.     However, factoring in the contingent liability for the Monster Lawsuit that should

have been included on the balance sheet, the Company’s liabilities exceeded its assets by nearly

$165 million.

           174.     Accordingly, the Company was balance-sheet insolvent as of January 2019, and,

under the principle of retrojection, the Company was also balance-sheet insolvent as of September

2018, at which time the contingent liability for the Monster Lawsuit also should have been

reflected on the Company’s balance sheet.

           175.     The Company’s books and records reflect that, as of January 2020, the Company’s

assets totaled $475,739,893.65, its liabilities (excluding the contingent liability for the Monster

Lawsuit) totaled $244,782,573.38, and its assets exceeded its liabilities by $230,957,320.27.

           176.     However, factoring in the contingent liability for the Monster Lawsuit that should

have been included on the balance sheet, the Company’s liabilities exceeded its assets by nearly

$41 million. Accordingly, the Company was balance-sheet insolvent as of January 2020.

           177.     The Company’s books and records reflect that, as of January 2021, the Company’s

assets totaled $695,825,059.00, its liabilities (excluding the contingent liability for the Monster

Lawsuit) totaled $521,368,192.88, and its assets exceeded its liabilities by $174,456,866.12.

           178.     However, factoring in the contingent liability for the Monster Lawsuit that should

have been included on the balance sheet, the Company’s liabilities exceeded its assets by nearly

$97.5 million. Accordingly, the Company was balance-sheet insolvent as of January 2021.




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           179.     The Company’s books and records reflect that, as of January 2022, the Company’s

assets totaled $877,313,596.87, its liabilities (excluding the contingent liability for the Monster

Lawsuit) totaled $870,158,331.65, and its assets exceeded its liabilities by $7,155,265.22.

           180.     However, factoring in the contingent liability for the Monster Lawsuit that should

have been included on the balance sheet, the Company’s liabilities exceeded its assets by more

than $223 million as of January 2022. Accordingly, the Company was balance-sheet insolvent as

of January 2022.

           181.     The Company’s books and records further reflect that, over the course of 2022 and

continuing through the Petition Date, the Company remained insolvent.

           182.     The contingent liabilities from the Company’s other litigations, including but not

limited to the OBI/Monster Arbitration, further contributed to the Company’s insolvency.

           183.     These contingent liabilities, coupled with the fraudulent sales of Super Creatine

products in violation of the 2010 Settlement Agreement, rendered the Company indisputably

insolvent.

           184.     Despite Jack Owoc’s knowledge of his unlawful and fraudulent conduct, coupled

with the Company’s contingent litigation liabilities, which rendered the Company insolvent,

inadequately capitalized, and/or caused it to incur debts beyond its ability to pay as they became

due, Jack Owoc unilaterally caused the Company to transfer hundreds of millions of dollars out of

the Company to himself and third parties in order to, among other things: (i) acquire certain real

property for his and his wife’s personal use and benefit, as well as for the benefit of the Owoc Real

Estate Enterprise; and (ii) provide salary increases and bonus payments to himself and Megan

Owoc.




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V.           JACK OWOC ATTEMPTS TO TRANSFER THE COMPANY’S INTELLECTUAL
             PROPERTY ASSETS OUT OF ITS CREDITORS’ REACH.

             185.     While the Company was facing significant litigations that, among other things,

 exposed the Super Creatine Scheme and the improper use of the “Bang” mark and threatened the

     Company’s existence, Jack Owoc was busy funneling assets out of the Company and the reach of

     its creditors.

             186.     After Vital entered into the 2010 Settlement Agreement regarding the use of the

     “Bang” mark, Jack Owoc transferred ownership of the mark to one of his solely-owned entities,

 JHO IP.

             187.     Upon discovery of the transfer, OBI/Monster added JHO IP as a party to the

 OBI/Monster Arbitration.

             188.     After the discovery of the JHO IP transfer, Jack Owoc created two new solely-

 owned intellectual property holding companies: Quash and Entourage IP Holdings, LLC

 (“Entourage”).

             189.     Jack Owoc was the sole owner both Quash and Entourage, and he had exclusive

 control of both entities.

             190.     Quash and Entourage were both pawns in Jack Owoc’s intellectual property shell

 game, and he utilized both entities to attempt to hide the “Bang” mark on several occasions.

             191.     For example, during the pendency of the OBI/Monster Arbitration, Jack Owoc

 directed certain of the Company’s employees to register identical trademarks to that of the

 Company in the name of one of Jack Owoc’s newly formed entities in an effort to hide the

 Company’s disputed assets from Monster and OBI.

             192.     On another occasion, after JHO IP was brought into the OBI/Monster Arbitration,

 Jack Owoc caused JHO IP and Entourage to enter into an agreement purportedly permitting



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  Entourage to use the “Bang” mark. Then, one week later, Entourage granted Quash a license to

  use the same mark.

             193.     With the entry of a permanent injunction against the Company’s use of the “Bang”

  mark all but inevitable, Jack Owoc hoped this improper duplicative trademark registration would

  shelter the Company’s continued use of the intellectual property.

VI.          JACK AND MEGAN OWOC TREAT THE COMPANY’S RESOURCES AS THEIR
             OWN.

             A.     Jack Owoc Used the Company as His Personal Piggy Bank.

             194.     Jack Owoc’s blatant attempts to defraud the Company’s future creditors were not

  limited to shuttling around the Company’s intellectual property; they included nearly all other

  categories of the Company’s assets as well.

             195.     While the Company was facing significant legal issues and future judgment

  liabilities from the Monster Lawsuit and the OBI/Monster Arbitration, and while Jack Owoc knew

  the Company’s improper use of the “Bang” mark was in violation of the 2010 Settlement

  Agreement and the Company was knowingly and willfully false advertising the “Super Creatine”

  contained in the Company’s Bang products, Jack Owoc continued funneling money out of the

  Company to himself and third parties solely for his personal and his family members’ benefit.

             196.     From January 2019 through the Petition Date, while the Company was insolvent,

  Jack Owoc caused the Company to transfer over one hundred million dollars from the Company’s

  bank accounts to himself and third parties for purposes that had no relation to the Company’s

  businesses and day-to-day operations, including for his personal use, such as for his personal taxes.

             197.     The Company’s Director of Finance described the “distribution” process at the

  Company as “different” than other companies she was familiar with and had worked at previously.

  In her experience, at other companies, there was a scheduled time where the partners would have



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agreed to take distributions, for example, quarterly or annually, and the distributions would be

processed at that time. At the Company, however, according to the Company’s Director of

Finance, Jack Owoc would “take distributions whenever he needed” or “ask for money from his

company to be sent to him.”

           198.     According to the Company’s Director of Finance, if Jack Owoc “had a need of any

type, or to fund his personal account, he would ask for distribution. So it could be once a month,

or it could be three times a month, or it could be whenever. Whenever there was a need,” the

finance department would send funds to wherever Jack Owoc directed them.

           199.     The Company’s Director of Finance also “never questioned Jack Owoc on his

decision making. When he asked for distributions, if it was just the ask to replenish his personal

bank account, then that was it. That’s what we wrote into the form that we would fill out internally

just to know distribution. Other times, Jack Owoc would tell us what the—where the money is

going, if he was asking us to pay a third party or send a deposit for something, and then we would

book it as a distribution to Jack Owoc, although we send it directly to whomever he was doing

business with.”

           200.     In the Director of Finance’s view, Jack Owoc felt that the Company’s bank

accounts and his bank accounts “were one and the same.”

           201.     Many of these transfers were made directly to bank accounts owned or controlled

by Jack Owoc, but the vast majority were made to third parties on Jack Owoc’s behalf.

           202.     These transfers included, for example, down payments on real property, payments

to law firms, architects, interior designers, and other costs related to the Owoc Real Estate

Enterprise.




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           203.     In addition to transfers to fund the Owoc Real Estate Enterprise, Jack Owoc also

transferred funds to third parties for routine personal expenses. By way of example, payments

were sent to fund Jack Owoc’s home gym renovation, for new speakers in his Southwest Ranches

home, for a fishing trip, and for political and religious donations.

           204.     These transfers were in addition to Jack Owoc’s compensation, over which Jack

Owoc had sole and complete discretion.

           205.     Megan Owoc knew that Jack Owoc was utilizing the Company’s money and

resources to fund their lavish lifestyle, including, the aforementioned renovations on their

Southwest Ranches home.

           206.     In Megan Owoc’s view, Jack Owoc could transfer funds from the Company

whenever he wants “for whatever he wants.”

           207.     From January 2019 through February 11, 2022, Jack Owoc received an annual

salary of approximately $750,000, which was paid to him on a biweekly basis.

           208.     In 2019, Jack Owoc directed the Company to pay him a bonus for 2019 in the

amount of $14,430,000, even though Jack Owoc knew of the Company’s enormous liabilities

based on the unlawful use of the “Bang” mark and the Super Creatine Scheme.

           209.     In February 2022, Jack Owoc unilaterally more than doubled his own salary to an

annual amount of approximately $1,790,530 mere months before the inevitable entry of massive

judgments against himself and the Company.

           210.     Jack Owoc’s salary, however, pales in comparison to the value of the transfers he

caused the Company to make to him or for his benefit, which only increased in number and amount

as the Company’s legal struggles mounted.




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           211.     In 2018, Jack Owoc caused the Company to transfer a total of at least $13 million

out of the Company to himself and his third-party affiliates, which amounted to approximately

16% of the Company’s net income.

           212.     In 2019, Jack Owoc caused the Company to transfer a total of at least $35.2 million

out of the Company to himself and his third-party affiliates, which amounted to approximately

21% of the Company’s net income.

           213.     In 2020, Jack Owoc caused the Company to transfer a total of at least $47.2 million

out of the Company to himself and his third-party affiliates, which amounted to 876% of the

Company’s net income.

           214.     In 2021, the Company operated at a loss, and, yet, Jack Owoc caused the Company

to transfer a total of at least $11.5 million out of the Company to himself and his third-party

affiliates.

           215.     Vital operated as a subchapter S-Corporation, which permitted it to pass taxable

income, credits, deductions, and losses directly to its shareholders. The corporation’s sole

shareholder, Jack Owoc, was then responsible for the tax liabilities due.

           216.     No written agreement exists, or ever existed, between the Company and Jack Owoc

that required the Company to pay for Jack Owoc’s personal tax liabilities.

           217.     However, Jack Owoc caused the Company to pay the amounts due in connection

with his and Megan Owoc’s personal tax liabilities, which they filed jointly, to the Internal

Revenue Service (“IRS”), totaling at least $47 million during the years 2017 to 2022.

           218.     Jack Owoc also directed the Company to transfer tens of millions of dollars out of

the Company to pay himself and third parties for his own personal benefit (the “Jack Owoc

Transfers”), unrelated to the Company’s business (excluding the Company’s transfers in




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connection with Owoc Real Estate Enterprise, which are discussed further in section VII.A.

below).

           219.     Megan Owoc was aware of and participated in facilitating some of these transfers.

           220.     All of the aforementioned transfers were made by the Company at Jack Owoc’s

direction and while the Company was insolvent.

           221.     Despite the looming litigation liabilities, Jack Owoc continued to unilaterally

increase his salary and bonuses, while the Company’s finance department was wholly unaware of

the impending judgments that would soon bring about the Company’s demise.

           B.     Jack and Megan Owoc Used the Company’s Employees as Their Personal Staff.

           222.     In addition to treating the Company’s money as his own—despite mounting

litigation costs, contingent liabilities, and judgments—Jack Owoc used the Company’s employees

to facilitate all manners of his personal affairs and transactions.

           223.     Jack Owoc required Company employees to assist him and Megan Owoc with

anything they needed, even if the requests had nothing to do with the employees’ normal role

within the Company.

           224.     For example, for nearly a decade leading up to August 2021, members of the

Company’s finance department managed Jack and Megan Owoc’s personal finances, which

included Jack Owoc directing Company employees to pay his personal credit card bills, prepare

his mortgage statement, manage his personal financial accounts, and Jack Owoc and Megan Owoc

emailed with Company employees to arrange for completion of their personal taxes by a third-

party accounting company.




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           225.     Jack Owoc and Megan Owoc also routinely used the Company’s in-house legal

personnel to represent them in various personal legal matters, wholly unrelated to the Debtors’

business.

           226.     Indeed, Jack Owoc’s own former attorney, during a deposition, acknowledged that

“[t]here were numerous times that the Bang Energy and the Vital legal team represented Jack

Owoc in his individual capacity for years.”

           227.     For example, the Company’s general counsel represented Jack Owoc and Megan

Owoc in a 2022 lawsuit against the company that installed motorized blinds in their Southwest

Ranches home; a 2021 lawsuit against their children’s former nanny; and a 2020 lawsuit against

an interior designer hired to renovate their Southwest Ranches home.

           228.     In July 2018, Jack Owoc directed the Company’s then-general counsel to

coordinate with a church and assess the most tax-advantageous structure for Jack Owoc’s potential

personal donation.

           229.     Likewise, in November 2020, Jack Owoc required the Company’s in-house counsel

to draft a loan agreement for a loan between Jack Owoc and his brother, which was unrelated to

the Company’s business. Then Jack Owoc made the Company fund the loan.

           230.     In addition, in April 2021, Jack Owoc tasked the Company’s Director of Finance

with coordinating with a bank and preparing Jack Owoc’s personal financial statements for him to

apply for a home equity line of credit.

           231.     In 2021, Megan Owoc began operating a personal YouTube page, then-titled “Bang

Energy Family” (which has since been rebranded as the “Owoc Family”), which showcased her

and Jack Owoc’s lifestyle.         Megan Owoc utilized employees in the Company’s marketing

department to film and edit the videos for the family’s personal YouTube page.




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                  232.     Jack Owoc and Megan Owoc treated the Company’s employees like their personal

       staff and routinely tasked them with duties wholly unrelated to the Company’s business operations.

VII.              JACK OWOC USED THE COMPANY TO FUND THE OWOC REAL ESTATE
                  ENTERPRISE AND CONTINUED TO FUNNEL EVEN MORE MONEY OUT OF
                  THE COMPANY.

                  A.     The Owoc Real Estate Enterprise.

                  233.     Starting in 2018, Jack Owoc began transferring money out of the Company for

   more than just his personal expenses.

                  234.     In or around 2018, Jack Owoc and his oldest son, Jon Owoc, who decided to leave

   his job as a police officer, started a new venture: a residential real estate business.

                  235.     This residential real estate business was wholly unrelated to the Debtors’ beverage

   business.

                  236.     The Owoc Real Estate Enterprise began with Jon Owoc, at Jack Owoc’s direction,

   acquiring residential properties and parcels of land in South Florida, renovating or constructing

   new homes on the properties, and then selling them.

                  237.     Jon Owoc had some experience renovating houses and had friends who were

   involved in the real estate industry. Jon Owoc’s best friend, Shaw, was successful in the real estate

   business, and they became business partners with Jack Owoc and Runnebaum in furtherance of

   the Owoc Real Estate Enterprise.

                  238.     Nearly every single dollar used to fund the Owoc Real Estate Enterprise was

   transferred from the Company and paid with Jack Owoc’s express approval and authorization.

                  239.     Jon Owoc was aware that the Company’s funds were being utilized to operate the

   Owoc Real Estate Enterprise.

                  240.     Shaw was aware that the Company’s funds were being utilized to operate the Owoc

   Real Estate Enterprise.


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           241.     Runnebaum was aware that the Company’s funds were being utilized to operate the

Owoc Real Estate Enterprise.

           242.     Jon Owoc received the funds to purchase the Owoc Real Estate Enterprise’s first

property from the Company. Jon Owoc reached out to Jack Owoc to see whether he would be

interested in “funding some of these houses.”

           243.     Jack Owoc agreed to provide the funds (which he transferred from the Company),

and they worked out a profit-sharing agreement that was never formally documented in which Jack

Owoc would be a silent partner and Jon Owoc, Shaw, and Runnebaum would do the “sweat

equity.”

           244.     Jon Owoc, Shaw, and Runnebaum provided the “sweat equity” by being

responsible for identifying and vetting potential properties and coordinating with vendors and

service providers to design and renovate the properties.

           245.     Runnebaum and Shaw—both licensed real estate agents—were often responsible

for scouting potential residential real estate for their business partners Jack Owoc’s and Jon

Owoc’s consideration.

           246.     Under the verbal profit-sharing arrangement related to the Owoc Real Estate

Enterprise, Jack Owoc was supposed to receive 60% of the profits, and Jon Owoc, Shaw, and

Runnebaum would split the remaining 40%. While the parties attempted to negotiate an operating

agreement to formalize this agreement, it was never signed.

           247.     Pursuant to the profit-sharing arrangement, Shaw received his portion of the profits

and was reimbursed for expenses that he personally incurred in connection with the Owoc Real

Estate Enterprise through Shaw Investments.




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           248.     Megan Owoc was aware that Jack Owoc and Jon Owoc were utilizing the

Company’s funds to acquire residential real estate related to the Owoc Real Estate Enterprise.

           249.     In fact, Megan Owoc posted YouTube videos to her “Bang Energy Family”

YouTube page advertising the Owoc Real Estate Enterprise and its “extravagant homes and

commercial properties ranging from $5,000,000 to $100,000,000.”

           250.     Megan Owoc also assisted Jon Owoc with the design of the logo for Stag.

           251.     Employees in the Company’s finance department were also aware that Jack Owoc

had established a real estate business with his son that was wholly unrelated to the Company’s

business.

           252.     In fact, Jack Owoc directed the Company’s employees to help jumpstart the father-

son duo’s foray into real estate, including through a consultation with the Company’s Director of

Finance to obtain accounting advice.

           253.     On September 9, 2019, the Company’s Director of Finance emailed an accounting

firm seeking “advi[c]e on a new business venture.” She explained:

                    Jack Owoc is partnering with his son Jon Owoc, and a friend,
                    Branden Shaw on real estate transactions. The operations of the
                    Joint venture is to purchase property, and flip them after some
                    improvements. We have established an LLC that would purchase
                    the properties, and hold them until renovations are made and
                    property sold. Jack Owoc is providing the cash for the transactions.
                    I[s] there anything that we need to take into consideration that would
                    negatively impact Jack Owoc? Is there special consideration needed
                    when we write the operating agreement with the partners? I have
                    copied Jon and Branden on the email.

           254.     Upon receiving the accounting firm’s response, Jon Owoc and the Company’s

Director of Finance continued to exchange emails about the partnership structure necessary to

achieve Jon Owoc and Jack Owoc’s respective goals in connection with their residential real estate

business, which was entirely unrelated to the Company’s day-to-day operations.



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           255.     The Company’s Director of Finance was not the only Company employee

instrumental in setting up the Owoc Real Estate Enterprise. The Company’s then General Counsel

was tasked (by Jack Owoc) with drafting a partnership agreement in connection with establishing

the Owoc Real Estate Enterprise.

           256.     Over the course of the next nine months—from September 2019 to May 2020—the

Company’s General Counsel, the Company’s Director of Finance, Jack Owoc, Jon Owoc, and

Shaw exchanged numerous emails and drafts of the partnership agreement and sought to create a

structure that was designed to provide the greatest tax advantage to Jack Owoc.

           257.     After the Owoc Real Estate Enterprise commenced, Jon Owoc, Shaw, and

Runnebaum routinely emailed the Company’s employees in order to obtain the funds for the real

estate acquisitions.

           258.     In such emails, Jon Owoc, Shaw, and Runnebaum would identify the entity or

individuals to which the Company’s funds should be transferred and provide the wire transfer

information.

           259.     Also, on at least one occasion, Runnebaum communicated with the Debtors’ then-

General Counsel regarding a promissory note and seller financing agreement in connection with

the acquisition of at least one of the residential real properties.

           260.     They knew the Company’s money was being used to fund the Owoc Real Estate

Enterprise as their requests were to the Company’s employees for wire transfers, which required

Jack Owoc’s express sign off.

           261.     Further, Runnebaum, Shaw, and Jon Owoc received wire confirmations from

various individuals in the Company’s accounting department, evidencing that the Company’s




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funds were being transmitted to third parties to fund the acquisition and renovation of the real

estate for the Owoc Real Estate Enterprise.

           262.     In furtherance of the Owoc Real Estate Enterprise, Jack Owoc directed the

Company to transfer tens of millions of dollars out of the Company to pay third parties identified

by Jon Owoc, Shaw, and Runnebaum, such as architects, interior designers, and title companies.

           263.     These funds were used to acquire and renovate real property that was then titled in

the name of one of the following entities: JWO I, JWO II, JW Enterprises, 167 Spyglass, 120

Spyglass, 3 Pelican, Tropical Sunset, and Stag (collectively, the “Real Estate LLCs”).

           264.     Pursuant to their oral arrangement, Jack Owoc, Jon Owoc, and Shaw treated

Tropical Sunset as the parent company of the other Real Estate LLCs.

           265.     In total, the Real Estate LLCs acquired at least the following twelve properties

using the Company’s funds:

                    (a)   3 Pelican Drive, Ft. Lauderdale, FL (the “3 Pelican Property”) (titled in the
                          name of 3 Pelican)

                    (b)   528 Coconut Isle Drive, Ft. Lauderdale, FL (the “528 Coconut Property”)
                          (titled in the name of 3 Pelican)

                    (c)    520 San Marco Drive, Ft. Lauderdale, FL (the “520 San Marco Property”)
                          (titled in the name of JWO I)

                    (d)   32 Pelican Drive, Ft. Lauderdale, FL (the “32 Pelican Property”) (titled in the
                          name of JW Enterprise)

                    (e)   167 Spyglass Lane, Jupiter, FL (the “167 Spyglass Property”) (titled in the
                          name of 167 Spyglass)

                    (f)   528 Riviera Drive, Ft. Lauderdale, FL (the “528 Riviera Property”) (titled in
                          the name of JWO I)

                    (g)   120 Spyglass Lane, Jupiter, FL (the “120 Spyglass Property”) (titled in the
                          name of 120 Spyglass)




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                    (h)   821 Bamboo Lane, Delray Beach, FL (the “821 Bamboo Property”) (titled in
                          the name of JWO II)

                    (i)   6850 Melaleuca Road, Southwest Ranches, FL (the “6850 Melaleuca
                          Property”) (titled in the name of JW Enterprise)

                    (j)   15963 SW 16th Street, Pembroke Pines, FL (the “15963 Southwest
                          Property”) (titled in the name of 3 Pelican)

                    (k)   2209 NE 2nd Street, Pompano Beach, FL (the “2209 Northeast Property”) (it
                          is unclear which entity or individual took title to the 2209 Northeast Property)

                    (l)   17301 SW 52nd Court, Southwest Ranches, FL (the “17301 Southwest
                          Property”) (titled in the name of Jon Owoc)

                    (m)    a 10-unit property in Pompano Beach, FL (the “Pompano Property”) (it is
                          unclear which entity or individual took title to the Pompano Property)

           266.     Upon information and belief, all of the real properties purchased in connection with

the Owoc Real Estate Enterprise were acquired using the Company’s funds at Jack Owoc’s express

direction and with Shaw, Runnebaum, and Jon Owoc facilitating the acquisitions and identifying

the counterparties and/or professionals to whom the Company’s funds should be transferred.

           267.     In addition, pursuant to instructions from Jon Owoc, Shaw, and Runnebaum, Jack

Owoc then would direct the Company to transfer funds in connection with the maintenance and

improvement of these properties, including, for example, contractor renovation work, property

taxes, and utilities.

           268.     The Company’s books and records do not always clearly identify which transfers

were made on behalf of each Real Estate LLC.

           269.     For example, the Owoc Real Estate Enterprise utilized the same architecture

company, building company, roofing company, and interior designer for many of its real estate

projects and, at times, made a single transfer from the Debtors to each vendor for multiple projects.




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           270.     Additionally, at times, Jon Owoc, Runnebaum, or Shaw would pay an expense—

or multiple expenses—and receive a wire transfer from the Debtors as reimbursement for the

expense paid.

           271.     Due to the manner in which the aforementioned wire transfers were made, the

Debtors’ poor record-keeping, and the fact that multiple expenses were often paid simultaneously,

it is impossible for Plaintiff to precisely determine which transfers were for the benefit of a

particular Real Estate LLC.

           272.     Although there are at least eight Real Estate LLCs currently comprising the Owoc

Real Estate Enterprise, the bulk of those entities do not have their own bank accounts.

           273.     Rather, the Owoc Real Estate Enterprise initially relied solely on funds transferred

from the Company to third parties to fund the Real Estate LLCs’ acquisitions of new properties

and renovation costs.

           274.     At some point, however, as Shaw and Jon Owoc began selling some of the

renovated properties, those funds were placed in one of two bank accounts held in the name of two

of the Real Estate LLCs: JWO I and JWO II.

           275.     These bank accounts were used as the operating accounts for the Real Estate LLCs.

           276.     The profits from the sales of the properties were also transferred into one of the two

aforementioned operating accounts.

           277.     At no point were funds ever reimbursed or repaid to the Company.

           278.     Some of the real properties acquired for the Owoc Real Estate Enterprise have since

been sold. The following properties were each sold for a profit: the 3 Pelican Property; the 32

Pelican Property; the 821 Bamboo Property; the 6850 Melaleuca Property; the Pompano Property;

the 17301 Southwest Property; the 520 San Marco Property; and the 528 Coconut Property.




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           279.     Upon information and belief, the following five properties acquired for the Owoc

Real Estate Enterprise are still held by the Real Estate Enterprise Defendants: the 528 Riviera

Property; the 120 Spyglass Property; the 167 Spyglass Property; the 15963 Southwest Property;

and the 2209 Northeast Property.

           280.     The profits from the sale of the real properties—with one exception 3—were either

rolled into the operating accounts for the Owoc Real Estate Enterprise, used to acquire additional

real properties, and fund renovation costs or were used to pay distributions to Jon Owoc,

Runnebaum, or Shaw.

           281.     Despite having wholly funded the acquisitions and renovation costs for the subject

properties, the Company did not receive any of the proceeds from the sale of the real properties

comprising the Owoc Real Estate Enterprise.

           282.     To the extent Jack Owoc received any profits, he kept the profits for himself rather

than giving them to the Company, putting his own interests over that of the Company yet again.

           B.     Jack Owoc’s Solo Real Estate Holdings.

           283.     In addition to the properties acquired for the father-son Owoc Real Estate

Enterprise, Jack Owoc also used the Company’s funds to acquire real property for a separate real

estate venture on his own.

           284.     On August 26, 2020, Jack Owoc formed defendant Elite Island—a Florida limited

liability company of which he is the sole managing member and 100% membership interest owner.

As such, Elite Island can only act through Jack Owoc, its member-manager.




3
  A dispute has arisen regarding the operation of the Real Estate LLCs which is the subject of a receivership action
pending in Florida state court styled, Stag Development, LLC v. Tropical Sunset 117, LLC, Case No. CACE 2024-
2312 (Fla. Cir. Ct., Broward Cnty.) (the “Receivership Action”). Pursuant to a court order in the Receivership Action,
the 3 Pelican Property was sold for approximately $18 million in or around April 2024, and the funds are being held
by the court-appointed receiver.


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           285.     Elite Island’s sole asset is a piece of property in the Florida Keys: 72100 Overseas

Highway, Islamorada, Florida 33035 (the “Overseas Highway Property”).

           286.     Elite Island has no finances or bank account of its own.

           287.     The Overseas Highway Property was purchased by Elite Island on August 31, 2020

for $8.3 million. The entire $8.3 million purchase was funded using money from the Company’s

bank account. On the day of the closing, the Company—at Jack Owoc’s direction—wired the

entire purchase price to the closing agent in order for Elite Island to acquire the Overseas Highway

Property.

           288.     Not only was Elite Island’s sole asset acquired using the Company’s funds, but

upkeep, maintenance, and renovations were also funded by the Company at Jack Owoc’s direction.

For example, the 2020 property taxes on the Overseas Highway Property—more than $25,000—

were paid by the Company.

           289.     In total, Jack Owoc directed the Company to transfer $1,091,747 to various third

parties to pay for expenses associated with the Overseas Highway Property.

           290.     Although Jack Owoc is Elite Island’s sole member and manager, he does not

“manage” Elite Island but rather admitted that he uses the Company’s “huge legal and financial

department to manage all of that.” The Company’s then General Counsel managed the real estate

transaction for Elite Island. In addition, other Company employees were directed by Jack Owoc

to assist and facilitate the Overseas Highway Property transaction in their capacity as Company

employees using their Company email accounts.

           291.     In addition, in or about 2017, Jack Owoc caused the John H. Owoc Revocable Trust

to acquire real property located at 16720 Stratford Court, Southwest Ranches, Florida 33331,




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    which was a component of a four-acre lot acquired at this same time (together, the “Southwest

    Ranches Property”).

               292.     Jack Owoc used the Southwest Ranches Property as his personal residence until,

    upon information and belief, he purchased a $40 million waterfront mansion in Fort Lauderdale,

    Florida in October 2023.

               293.     In total, Jack Owoc directed the Company to transfer at least $1.6 million to various

    third parties to pay for expenses associated with the Southwest Ranches Property, including, but

    not limited to, home gym renovations for Jack Owoc’s self-proclaimed “World’s Dopest Gym,”

     property taxes, and homeowners’ insurance.

VIII.          JACK OWOC CREATES SOLELY-OWNED ENTITIES TO HOLD THE
               COMPANY’S COMMERCIAL REAL ESTATE AND DEFRAUD ITS FUTURE
               CREDITORS.

               294.     Jack Owoc did not just limit himself to acquiring residential properties with the

        Company’s resources. He also acquired commercial properties using the Company’s funds and

        then secreted them outside the reach of creditors by placing them in the names of entities that Jack

        Owoc created and solely owned.

               295.     While the Company was in dire financial condition and facing significant litigations

        that exposed the Super Creatine Scheme and improper use of the “Bang” mark and threatened the

        Company’s existence, Jack Owoc continued to move the Company’s assets around like puzzle

        pieces in order to hide them from potential creditors. Jack Owoc knew the Company could fail as

        a result of his own misconduct and wanted to plunder as much as he could while he still had time.

               296.     Between 2018 and 2020, Jack Owoc created a series of new entities, including

    Sheridan A, Sheridan B, Sheridan C, JHO NV, and JHO GA (together, the “Commercial LLCs”),

    to acquire certain commercial properties that would function as the Company’s manufacturing,




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distribution, and storage facilities. Jack Owoc was the 100% owner of each of the Commercial

LLCs.

           297.     Although the properties owned by the Commercial LLCs were acquired using the

Company’s funds and intended to serve a business purpose, Jack Owoc titled them in the name of

the Commercial LLCs to keep them out of reach of creditors and retain them for his own personal

benefit.

           A.     The Company’s Sheridan A Property.

           298.     On December 12, 2018, just a few months after Monster initiated the Monster

Lawsuit, Vital purchased the commercial property located at 20311 Sheridan Street, Pembroke

Pines, Florida (the “Sheridan A Property”) from an unaffiliated third party for a purchase price of

$35,000,000. Jack Owoc signed the purchase agreement on behalf of Vital.

           299.     On February 11, 2019, Jack Owoc established Sheridan A, of which he is the sole

member and 100% membership interest owner, and caused Vital to transfer ownership of the

Sheridan A Property from Vital to Sheridan A.

           300.     To ensure sufficient financing for the acquisition of the Sheridan A Property and to

fund Jack Owoc’s plans for the acquisition of additional commercial properties, Vital and Sheridan

A entered into a promissory note for $75,000,000 (the “Promissory Note”) with Brunswick Bank

and Trust, the predecessor of Truist Bank (“Truist”) on February 14, 2019. $35,000,000 of the

funds from the Promissory Note were used for the purchase of the Sheridan A Property.

           301.     For a period of time, the Sheridan A Property was used by the Company to

manufacture certain of its products and also housed the Company’s financial department.

           302.     However, no lease or written agreement between the Company and Sheridan A

exists or has ever existed.




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           303.     In addition to Vital, Quash, which manufactured and distributed Vital’s alcoholic

seltzer products, also leased space in the Sheridan A Property.

           304.     Jack Owoc, as the sole person on both sides of the transaction, caused Quash to

enter into a lease agreement dated January 1, 2021, whereby Quash “agreed” to pay monthly rent

of $35,000 to Sheridan A.

           305.     In reality, neither Jack Owoc nor Sheridan A collected rent from Vital or Quash for

their use of the Sheridan A Property. Likewise, Vital and Quash never paid rent to Jack Owoc or

Sheridan A.

           306.     Jack Owoc declared rental income on his federal tax returns from the Sheridan A

Property in the amount of $2,171,267 for 2021 despite the lack of actual rent payments being paid

to Sheridan A during this time period.

           307.     In July 2023, Sheridan A and Sheridan C sold the Sheridan A Property and Sheridan

C Property (discussed in further detail below) to an unaffiliated third party for a sale price of

$59,844,000.

           308.     Approximately $51.1 million of the sale proceeds were paid to Truist to reduce the

Company’s outstanding secured indebtedness.

           309.     Jack Owoc received approximately $8 million of the sale proceeds.

           310.     From the acquisition date through July 2023, the Company paid for all carrying

costs of the Sheridan A Property, including utilities, maintenance costs, and property taxes, and

the Company was never required to, nor did, pay any rent.

           311.     At the closing of the sale of the Sheridan A Property, the Company (then Debtors

in the Chapter 11 Cases) requested payment of $2,191,042.53 (the “Disputed Sheridan Funds”)

from Sheridan A in connection with postpetition outstanding carrying costs and an insurance




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adjustment pursuant to the DIP Order (as defined below), broken down into the following three

categories: (i) $653,797.99 for operating expenses; (ii) $666,985.08 for insurance expenses; and

(iii) $872,378.06 for property taxes.

           312.     Pursuant to the DIP Order, the Debtors were authorized and required to pay all

postpetition carrying costs for JHO GA, JHO NV, Sheridan A, and Sheridan C. The DIP Order

also required that, upon any sale of the Lithia Springs Property (as defined below) owned by JHO

GA, the Wagon Trail Property (as defined below) owned by JHO NV, the Sheridan A Property

owned by Sheridan A, or Sheridan C Property owned by Sheridan C, the Prepetition Agent (as

defined below) would deliver or cause to be delivered cash proceeds to reimburse the Debtors for

the postpetition carrying costs referenced above.

           313.     At the time of the closing, however, Sheridan A and Jack Owoc refused to pay the

Disputed Sheridan Funds.

           314.     As a result of Jack Owoc’s refusal to pay the Disputed Sheridan Funds on behalf of

Sheridan A to the Debtors (and then the Liquidating Trust) and facilitate the sale closing, the

Debtors agreed to the escrow of the Disputed Sheridan Funds by the escrow agent, First American

Title Insurance Company, subject to release from the escrow upon further joint written instructions

by Sheridan A and the Debtors.

           B.     The Company’s Sheridan B Property.

           315.     In January 2020, Jack Owoc created Sheridan B, of which he is the sole member

and 100% membership interest owner, to acquire another commercial property on behalf of the

Company.




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           316.     In 2020, Sheridan B entered into a purchase agreement for the commercial property

located at 20351 Sheridan Street, Pembroke Pines, Florida (the “Sheridan B Property”) for a

purchase price of $40,632,549.

           317.     While Sheridan B held legal title to the property, the purchase of the Sheridan B

Property was also fully funded with proceeds that the Company received under the Promissory

Note in 2019.

           318.     On December 15, 2021, Sheridan B sold the Sheridan B Property to an unaffiliated

third party for a sale price of $58,250,000 and leased back the Sheridan B Property for a thirty-six

(36) month period. Jack Owoc signed the sale agreement on behalf of Sheridan B, as seller, and

on behalf of Vital, as a guarantor to certain of Sheridan B’s obligations set forth therein.

           319.     Certain of the sale proceeds of the Sheridan B Property were paid to Truist to reduce

the Company’s outstanding secured indebtedness.

           320.     From the acquisition date through December 2021, the Company paid for all

carrying costs of the Sheridan B Property, including utilities, maintenance costs, and property

taxes, and the Company was never required to nor paid any rent.

           321.     The Debtors’ books and records do not clearly distinguish between the carrying

costs for Sheridan A, Sheridan B, or Sheridan C.

           C.     The Company’s Sheridan C Property.

           322.     During the same month that he created Sheridan B, Jack Owoc also created

Sheridan C, of which he is the sole member and 100% membership interest owner, to acquire yet

another property on behalf of the Company.




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           323.     In or around March 2020, Sheridan C entered into a purchase agreement for a

commercial property located at 20421 Sheridan Street, Pembroke Pines, Florida (the “Sheridan C

Property”) for a total purchase price of $32,993,286.

           324.     While Sheridan C held legal title to the property, the purchase of the Sheridan C

Property was fully funded by the Company with the proceeds of another $25,000,000 note payable

(the “March 2020 Loan”) and an additional $7,500,000 paid by the Company.

           325.     As described above, in July 2023, Sheridan C sold the Sheridan C Property to an

unaffiliated third party.

           326.     From the acquisition date through July 2023, the Company paid for all carrying

costs of the Sheridan C Property, including utilities, maintenance costs, and property taxes, and

the Company was never required to nor paid any rent.

           D.     The Company’s Wagon Trail Property.

           327.     At the same time that Jack Owoc was creating Sheridan B and Sheridan C, on

January 7, 2020, Vital entered into a purchase agreement for a commercial property located at

4117 Wagon Trail Avenue, Las Vegas, Nevada 89118 (the “Wagon Trail Property”) for a purchase

price of $1,230,015.99.

           328.     Vital paid the entire purchase price in cash.

           329.     On February 27, 2020, Jack Owoc created JHO NV, a new holding company of

which he is the sole member and 100% membership interest owner and caused Vital to transfer

ownership of the Wagon Trail Property from Vital to JHO NV—even though the Wagon Trail

Property was acquired using the Company’s funds.

           330.     Like the Sheridan A Property, Jack Owoc, as the sole person on both sides of the

transaction, caused Quash to enter into a lease agreement, whereby Quash “agreed” to pay monthly




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rent of $38,961 to JHO NV, even though the Company paid for all upkeep and maintenance of the

Sheridan A Property, including utilities and property taxes.

           331.     In reality, neither Jack Owoc nor JHO NV collected rent from Quash for its use of

the Wagon Trail Property. Likewise, Quash never paid rent to Jack Owoc or JHO NV.

           332.     Jack Owoc declared rental income on his federal tax returns from the Wagon Trail

Property in the amount of $36,612 for 2020 and $43,935 for 2021, despite the lack of actual rent

payments being made to JHO NV during this time period.

           333.     During the relevant times, the Company paid for all carrying costs of the Wagon

Trail Property, including utilities, maintenance costs, and property taxes.

           E.     The Company’s Lithia Springs Property.

           334.     The same year as the Company’s acquisitions of the Sheridan A Property, Sheridan

B Property and Sheridan C Property, Jack Owoc created JHO GA, of which he is the sole member

and 100% membership interest owner, to acquire yet another commercial property on behalf of the

Company.

           335.     In or about September 2020, JHO GA entered into a purchase agreement for the

real property located at 7705 Staples Drive, Douglasville, Georgia 30122 (the “Lithia Springs

Property”) for a purchase price of $41,061,950.

           336.     The Company fully funded the purchase of the Lithia Springs Property.

           337.     Like the Sheridan A Property and Wagon Trail Property, the Company used the

Lithia Springs Property for its operations through early 2023.

           338.     Neither Jack Owoc nor JHO GA collected rent from the Company for its use of the

Lithia Springs Property. Likewise, the Company never paid rent to Jack Owoc or JHO GA.




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                 339.     Jack Owoc declared rental income on his federal taxes from the Lithia Springs

      Property in the amount of $590,370 for 2020 and $3,542,220 for 2021, despite the lack of actual

      rent payments being paid to JHO GA during this time period.

                 340.     On March 21, 2023, JHO GA sold the Lithia Springs Property to an unaffiliated

      third party for a sale price of $87,500,000.

                 341.     Approximately $71.8 million of the sale proceeds was paid to Truist to reduce the

      Company’s outstanding secured indebtedness.

                 342.     Jack Owoc received approximately $10 million of the sale proceeds.

                 343.     From the acquisition date through March 2023, when the property was sold, the

      Company paid for all carrying costs of the Lithia Springs Property, including utilities, maintenance

      costs, and property taxes.

                 344.     Unlike the Sheridan A Property, Jack Owoc signed the closing statement for the

      Lithia Springs Property sale and agreed to pay the Company $901,378.38 to reimburse the

      Company for the postpetition carrying costs associated with the Lithia Springs Property in

  accordance with the unambiguous terms of the DIP Order.

IX.              THE COMPANY’S PREPETITION CAPITAL STRUCTURE.

                 345.     In 2020, desperate for liquidity in the face of the massive litigation liabilities

  incurred at the hands of Jack Owoc, the Company sought financing.

                 346.     Vital, as borrower, and certain subsidiaries and affiliates of Vital, as guarantors,

      and the lenders from time to time party thereto (the “Prepetition Secured Lenders”), and Truist, as

      administrative agent (in such capacity, the “Prepetition Agent”), swingline lender (in such

      capacity, the “Prepetition Swingline Lender”), and issuing bank (in such capacity, the “Prepetition

      Issuing Bank” and, together with the Prepetition Secured Lenders, the Prepetition Agent, and the

      Prepetition Swingline Lender, the “Prepetition Secured Parties”) were parties to the Amended and


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Restated Revolving Credit and Term Loan Agreement, dated as of August 12, 2020 (as amended

by five amendments thereto, dated as of June 15, 2021, June 30, 2021, December 31, 2021, June

30, 2022, and August 8, 2022, and as further modified, amended, or supplemented from time to

time, the “Prepetition Credit Agreement”).

           347.     The Prepetition Credit Agreement provided for two separate credit facilities, each

maturing August 14, 2025: (i) a revolving credit facility (the “Prepetition Revolving Credit

Facility”); and (ii) a term loan (the “Prepetition Term Loan Facility,” and together with the

Prepetition Revolving Credit Facility, the “Prepetition Loans”).

           348.     In connection with the Prepetition Credit Agreement, the parties executed the

Amended and Restated Security and Pledge Agreement, dated as of August 14, 2020 (as amended,

supplemented, or otherwise modified from time to time, the “Prepetition Security Agreement”).

Under the Prepetition Security Agreement, the Prepetition Loans were secured by first-priority

liens on certain collateral (as defined therein, the “Prepetition Collateral”).

           349.     In connection with the Company’s acquisition of the Sheridan A Property, Sheridan

B Property, Sheridan C Property, Wagon Trail Property, and Lithia Springs Property, each of the

Commercial LLCs guaranteed certain extensions of credit provided to Vital under the Prepetition

Credit Agreement through one or more amendments thereto and pledged its respective commercial

real property to secure the Prepetition Loans.

           350.     By March 2022, the Company’s perilous financial condition resulted in a default

under the Prepetition Credit Agreement for, among other things, failure to satisfy certain financial

covenants.




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X.          THE DEBTORS’ CHAPTER 11 CASES.

            351.     In April 2022, Jack Owoc, on behalf of the Company, engaged an investment

 banker, Rothschild & Co US Inc. (“Rothschild”), to commence a financing process in pursuit of a

 capital raise transaction or other alternative transaction.

            352.     In the months leading up to the Chapter 11 Cases, Jack Owoc approved a number

 of changes to the Debtors’ corporate governance including the appointment of John C. DiDonato

 (“DiDonato”) of Huron Consulting Services LLC (“Huron”) as the Debtors’ Chief Transformation

 Officer.

            353.     On October 10, 2022, the Debtors each filed voluntary petitions for relief under

 chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Southern District

 of Florida (the “Court”), commencing the Chapter 11 Cases.

            354.     Following the bankruptcy filing, Jack Owoc could no longer rule the Debtors by

 fiat. While Jack Owoc was the sole Board member or managing member, as applicable, of each

 of the Debtor entities prior to the Petition Date, the Debtors were required to immediately

 implement changes to their corporate governance structure as a condition to obtain up to $355

 million of debtor-in-possession financing (the “DIP Financing”) from certain lenders (the “DIP

 Lenders”) pursuant to the terms and conditions of the Superpriority Secured Debtor-in-Possession

 Credit Agreement (the “DIP Credit Agreement”).

            355.     As required by the DIP Credit Agreement, Jack Owoc expanded the size of the

 board of directors or managers of each of the Debtor entities (as applicable, the “Board”) to include

 five directors, consisting of: (a) two Company executives, Jack Owoc and Kathleen Cole (“Cole”),

 who also served as the Company’s Chief Operating Officer; (b) two purportedly independent

 members, Dr. Guillermo Escalante and Eric Hillman; and (c) Steve Panagos (“Panagos”), a

 restructuring advisor who also served as the sole member of the Debtors’ restructuring committee.


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XI.          JACK OWOC’S MISMANAGEMENT CONTINUED POST BANKRUPTCY
             FILING.

             356.     Less than one month after the Petition Date, Jack Owoc continued his pattern of

      destructive behavior by acting unilaterally (and in contravention of the Debtors’ best interests) and

  continuing to use the Debtors’ resources for his own personal gain.

             A.     The Refusal to Cede Control of the Debtors.

             357.     Prior to the Court’s final approval of the DIP Credit Agreement, on December 1,

      2022, Cole resigned from the Company as the Debtors’ Chief Operating Officer and Board

      member as a result of Jack Owoc’s directives that jeopardized her ability to maintain her fiduciary

      duties to the Debtors and their creditors.

             358.     On December 15, 2022, the DIP Lenders and the Official Committee of Unsecured

  Creditors (the “Committee”) approved Bob Dickinson’s (“Dickinson”) appointment to the Board

  to replace Cole, as Dickinson’s service as a Board member was essential to securing the DIP

  Financing on a final basis.

             359.     That same day, just hours after the DIP Lenders and the Committee approved

  Dickinson’s appointment, Jack Owoc unilaterally purported to fire Dickinson from the Board

  without any justification or authority from the Board.

             360.     In the wake of Cole’s resignation and Jack Owoc’s purported termination of

  Dickinson, the DIP Lenders required assurances that Jack Owoc would not attempt to challenge

  the Board’s authority in connection with obtaining approval of the DIP Financing on a final basis.

  As a result, the Court’s Order [Dkt. 638] (the “DIP Order”), providing final approval of the DIP

  Financing, required that:

                      Each Debtor’s board of directors or managers (or other equivalent
                      governing body) shall at all times: (i) be composed of five (5)
                      individuals at least three (3) of whom (A) do not have a relationship
                      by blood (to the second (2nd) degree of consanguinity), marriage or


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                    adoption to John Henry Owoc, (B) are not employees, officers,
                    managers or consultants of, or independent contractors or advisors
                    to, any Debtor (other than in respect of service on such board or
                    other equivalent governing body) and (C) are otherwise acceptable
                    to the Creditors’ Committee and the Required DIP Lenders
                    (including, without limitation, in respect of independence and
                    restructuring experience), it being understood that Bob Dickinson,
                    Stephen S. Gray and Steven G. Panagos are acceptable to the
                    Creditors’ Committee and the Required DIP Lenders; and (ii)
                    include a restructuring committee (the “Restructuring Committee”)
                    composed solely of one (1) individual reasonably acceptable to the
                    Creditors’ Committee and the Required DIP Lenders, it being
                    understood that Steven G. Panagos is reasonably acceptable to the
                    Creditors’ Committee and the Required DIP Lenders; provided, that,
                    upon the death, incapacity or resignation (but, for the avoidance of
                    doubt, not the removal) of any individual serving on the board of
                    directors or managers (or equivalent governing body) of any Debtor
                    or serving on the Restructuring Committee, there shall not occur a
                    breach of this paragraph 62(b) if a replacement therefor that satisfies
                    the criteria set forth in this paragraph 62(b)(i) or (ii) case may be,
                    shall have been appointed within seven (7) days after such death,
                    incapacity or resignation, and, upon such appointment, such
                    replacement is vested with the same scope of authority held by his
                    or her predecessor. For the avoidance of doubt, as of the First
                    Amendment Effective Date, the Debtors’ boards of directors or
                    managers (or equivalent body) shall be composed of John H. Owoc,
                    as Chairman of the Board, Eric Hillman, Bob Dickinson, Stephen S.
                    Gray and Steven G. Panagos.

DIP Order at 68–69 (emphasis added).

           361.     Among other changes, the by-laws, operating agreements, and certain other

organizational documents for each of the Debtors were also amended to provide that the Debtors’

directors and managers, as applicable, could only be removed by a majority vote of the Board.

           362.     Notwithstanding, Jack Owoc continued to breach his fiduciary duties by acting

unilaterally, without authority from the Board and against the Debtors’ and their estates’ best

interests.

           363.     Jack Owoc’s misconduct required the time and attention of the Debtors’ employees,

Board members, and the professionals employed by the Debtors, DIP Lenders, and the Committee,



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which, in addition to materially increasing the costs of the Chapter 11 Cases, diverted their

respective attention away from performing their duties and responsibilities in connection with the

Chapter 11 Cases.

           364.     Between December 2022 and January 2023, even after Jack Owoc was made aware

that all issues regarding the Debtors’ retained professionals needed to be handled by the Board,

Jack Owoc threatened to fire and/or purported to fire certain of the Debtors’ retained professionals,

including Huron, Rothschild, and Latham & Watkins LLP, without Board approval on multiple

occasions.

           365.     When Jack Owoc was unsuccessful in terminating certain professionals, he tried to

hamstring the retained professionals’ ability to work efficiently by demanding that certain

members of their respective teams be removed from the Debtors’ engagement.

           366.     For example, as a direct result of Jack Owoc’s instruction that the Huron team not

receive certain information, including information in connection with cash disbursements, the

Debtors inadvertently processed over $200,000 in excess of the Court-approved payments under

the Court’s Order [Dkt. 108] authorizing the Debtors to maintain and administer customer

programs.

           367.     Likewise, on January 24, 2023, Jack Owoc purported to fire DiDonato, the

Company’s Chief Transformation Officer, for the second time, and the Huron team who was

providing DiDonato support in that role with the Company without any justification or authority

from the Board.

           368.     If any of Jack Owoc’s attempted firings had been valid, it would have resulted in

an immediate default under the DIP Credit Agreement.




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           B.     Jack Owoc’s Social Media-Related Misconduct.

           369.     Jack Owoc’s reckless postpetition use of the Debtors’ social media accounts

exposed the Debtors to potential liability on multiple occasions and needlessly commanded the

time and resources of the Board and the Debtors’ retained professionals.

           370.     For example, on or about November 4, 2022, not even one month into the Chapter

11 Cases, and within two months of the jury verdict determining that Jack Owoc willfully and

deliberately falsely advertised “Super Creatine,” Jack Owoc posted a long video to the Debtors’

various social media accounts titled “Bang Energy & Super Creatine: All You Need to Know.”

           371.     Jack Owoc’s video was exactly how it sounds—Jack Owoc preaching to the

Debtors’ audience about “Super Creatine” and its purported benefits to further deceive the public

to the detriment of the Debtors. The video post remained on the Debtors’ @bangenergy.ceo

Instagram account for months and was only removed after the Board demanded its removal.

           372.     On another occasion during the pendency of the Chapter 11 Cases, Jack Owoc

posted to the Debtors’ @bangenergy.ceo Instagram account and announced that “Bang is currently

working to launch an IPO” and solicited investments in the Debtors. The Board and Debtors’

counsel advised Jack Owoc on multiple occasions to take down the post given the severe

consequences under securities laws of the United States of making such false statements. Jack

Owoc declined to comply with advice of Debtors’ counsel, and he told the Board that there was

an initial public offering underway.

           373.     Jack Owoc only modified the Instagram post to remove the blatantly false language

after the Debtors’ advisors repeatedly confronted and advised him that such misleading statements

by the CEO of a company risked costly investigation and potential liability.




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           C.     Jack Owoc’s Unauthorized Postpetition Misappropriation of the Debtors’
                  Assets.

           374.     Jack Owoc also acted against the best interests of the Debtors by directing the

Debtors’ employees to file, and who have filed, applications for intellectual property rights to be

vested in Jack Owoc’s solely-owned non-Debtor entities, despite the Debtors’ Employee

Handbook’s clear mandate that such intellectual property was “work made for hire” and belonged

to the Debtors.

           375.     For example, on or about November 9, 2022, the Debtors’ employees, at Jack

Owoc’s direction, applied for certain rights in the “Fuel Your Destiny” mark that was at that time

used by the Debtors in connection with the Bang Drink to, among other things, replace the “Super

Creatine” marking on the label.

           376.     The application filed with the United States Patent and Trademark Office (the

“USPTO”) at Jack Owoc’s direction identified Fun Energy, LLC (“Fun Energy”), a non-Debtor

entity wholly owned by Jack Owoc, as the owner of that mark.

           377.     Jack Owoc’s actions in connection with the improper registration and purported

transfer of the Debtors’ intellectual property to Fun Energy were in direct violation of the Debtors’

Employee Handbook and in breach of his fiduciary duties. In addition, Jack Owoc’s purported

transfer of the Debtors’ intellectual property to a non-Debtor entity was an attempted improper

and unauthorized postpetition transfer of an estate asset that additionally risked interference with

the ongoing sale process.

           378.     By way of another example, on or about January 26, 2023—the day before the

Debtors filed their motion to establish procedures for selling substantially all of the Debtors’

assets—the Debtors’ general counsel executed a Consent to Register (the “Consent Agreement”)

on behalf of Debtor JHO IP and Entourage pursuant to Jack Owoc’s instructions.



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           379.     The Consent Agreement provided JHO IP’s purported consent for Entourage to use

and register the mark “B” logo, despite the Debtors’ registration for what the USPTO had

previously stated was “the same stylized B.” Jack Owoc’s actions resulting in the purported

transfer of the Debtors’ intellectual property rights were without Board approval or Court

authorization and risked diluting the value of the Debtors’ intellectual property assets, which were

a key component of the sale process.

           380.     On January 26, 2023, the Board sent a letter to Jack Owoc (the “January 26 Letter”),

demanding that any and all intellectual property related to the Debtors and its products or business

and developed by the Debtors and its employees, including by Jack Owoc, be immediately

transferred back to a Debtor entity. Jack Owoc did not comply with the Board’s demands, and, as

a result, the Debtors were given no option but to seek recovery of the improperly registered

intellectual property through an adversary complaint against Jack Owoc and Entourage that

remains pending [Adv. Pro. No. 23-01125].

           D.     Countless Other Reckless Actions Committed by Jack Owoc.

           381.     In addition to the above-referenced postpetition misconduct, Jack Owoc

continuously drained the estates’ limited resources.

           382.     Even after advice from counsel and a Board directive to the contrary, Jack Owoc

directed that in-house legal personnel continue to represent him in his personal legal matters.

           383.     The Board authorized, and the Court approved, only one sale process in the Chapter

11 Cases, which was being overseen by the Board and run by Rothschild. Jack Owoc was advised

by the Debtors’ professionals that running a separate additional sale process was a violation of the

Company’s exclusive engagement with Rothschild and not authorized by the Board and the Court.




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           384.     Nevertheless, during the Court-approved sale process, Jack Owoc made public

statements alluding to an ongoing “parallel process” Jack Owoc and others were purportedly

running separate and apart from the financing and sale process being overseen by the Board and

run by the Debtors’ retained and Court-approved professionals, including Rothschild.

           385.     Jack Owoc made representations to the Board during meetings of the Board and

Restructuring Committee held on January 20 and 24, 2023 that there was no such parallel process,

yet he continued to publicly communicate that there was indeed some “parallel process” underway

and that he was running it.

           386.     For example, on January 25, 2023, Jack Owoc sent an email stating “I am running

a parallel process.” Jack Owoc was either running an unauthorized parallel sale process or was

making false allegations that were disruptive, confusing to the market and potential bidders, and

value-destructive.

           387.     Also in connection with the Debtors’ sales process, Jack Owoc unilaterally hired

Kroll, LLC (“Kroll”) to prepare a valuation of the Debtors, without the required Board

authorization, which Kroll subsequently retracted after being made aware that such request for a

valuation was unauthorized by the Debtors.

           388.     On March 5, 2023, Jack Owoc also sent an email (the “March 5 Email”) to three

members of the Board, including Panagos, Gray, and Dickinson, purporting to terminate them

from the Board and demanding that they cease all communications with the Debtors’ employees

and anyone else involved in the sales process.

           389.     The purported terminations in the March 5 Email were not authorized by the Board

and in violation of this Court’s DIP Order and, had they been valid terminations, would have

constituted an immediate default under the DIP Credit Agreement.




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                   390.     In addition, despite advice of Debtors’ counsel to the contrary, Jack Owoc

        continually included his personal counsel at the time, Paul Battista, Esq. (“Battista”), on privileged

        Company emails and invited Battista to meetings of the Board and Restructuring Committee

        without any approval. This conduct, among other things, exposed the Debtors to claims that the

        Company’s privilege may have been waived.

                   391.     All of Jack Owoc’s aforementioned misconduct needlessly increased professional

        fees incurred by the estates, including those incurred by professionals retained by the Debtors,

        Committee, and DIP Lenders.

XII.               THE BOARD WAS FORCED TO TERMINATE JACK OWOC AND MEGAN
                   OWOC IN ORDER TO PROTECT THE COMPANY.

                   392.     On March 9, 2023, the Board voted to terminate Jack Owoc’s and Megan Owoc’s

     employment with the Company and voted to remove Jack Owoc from the Board for cause.

                   393.     Following Jack Owoc’s termination, DiDonato of Huron, who had been serving as

     the Debtors’ Chief Transformation Officer, was appointed by the Board as the Debtors’ Interim

     CEO.

XIII.              THE OWOC CLAIMS IN THE CHAPTER 11 CASES.

                   394.     The Debtors scheduled general unsecured claims for each of the Commercial LLCs

     are as follows:

                            (a)   Quash scheduled JHO GA in the amount of $517,370.00;

                            (b)   Vital scheduled JHO NV in the amount of $495,864.08;

                            (c)   Vital scheduled Sheridan A in the amount of $528,775.72;

                            (d)   Vital scheduled Sheridan B in the amount of $3,219.61; and

                            (e)   Vital scheduled Sheridan C in the amount of $111,944.85 (collectively, the
                                  “Scheduled Claims”).




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           395.     On October 14, 2022, the Court entered an Order [Case No. 22-17842, Dkt. 114]

that established December 19, 2022 as the deadline for creditors to file proofs of claim against the

Debtors for claims that arose prior to the Petition Date (the “Bar Date”).

           396.     On December 19, 2022, Jack Owoc filed proofs of claim, in his individual capacity,

against each of the Debtors for general unsecured claims in unspecified amounts [Claim Nos. 639,

653, 654, 655, 656, 657, and 664] (collectively, the “Original Owoc Claims”), which each affixed

an identical Attachment to Proof of Claim for John H. Owoc (the “Attachment”).

           397.     Each of the Original Owoc Claims lists “John H. Owoc” as the creditor and is

signed by Jack Owoc.

           398.     On December 19, 2022, Jack Owoc filed a proof of claim, in his individual capacity,

against Debtor Bang Canada in an unliquidated amount [Claim No. 663] (the “Owoc Unliquidated

Claim”) and attached the exact same Attachment as was included with the Original Owoc Claims.

           399.     The Attachment sets forth Jack Owoc’s purported individual claims relating to: (i)

indemnification, contribution, and reimbursement in connection with seven prepetition litigations;

(ii) the reasonable value for the Company’s alleged use of Jack Owoc’s home; (iii) certain amounts

in connection with Jack Owoc’s income taxes; and (iv) proceeds in connection with the sale or

liquidation of assets belonging to Jack and/or any of Jack Owoc’s non-Debtor solely-owned

entities.

           400.     Notably, the Original Owoc Claims, the Owoc Unliquidated Claim, and the

Attachment failed to mention any of the Commercial LLCs or any of those entities’ purported

claims.




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           401.     Almost seven months after the Bar Date, on July 12, 2023, Jack Owoc filed proofs

of claim amending the Original Owoc Claims [Claim Nos. 767, 768, 769, 770, 771, and 772]

(collectively, the “Late Claims”).

           402.     The Late Claims were not timely filed and improperly purport to be filed by “John

H. Owoc on behalf of himself and his wholly owned subsidiaries.”

           403.     The Late Claims list each of the Commercial LLCs and “JHO Real Estate LLC” 4

as the creditor.

           404.     Each of the Late Claims asserts, for the first time, a secured claim in the amount of

$163,424,411.61.

           405.     The Late Claims also each affix an Addendum in Support of Amended Proof of

Claim of John H. Owoc on Behalf of Himself and His Wholly-Owned Entities JHO GA-1

Investment, LLC, JHO NV-1 Investment, LLC, Sheridan Real Estate Investment A, LLC, Sheridan

Real Estate Investment B, LLC, Sheridan Real Estate Investment C, LLC, and JHO Real Estate,

LLC (the “Addendum”).

           406.     Pursuant to the Addendum, Jack Owoc, on behalf of himself, each of the

Commercial LLCs, and “JHO Real Estate LLC,” asserts the same claims on behalf of Jack Owoc

that were contained in the Original Owoc Claims and improperly adds the following alleged claims

for the first time (the “Commercial LLCs’ Claims”):

                    (a)   Sheridan B’s claims under section 502(e)(1) of the Bankruptcy Code and
                          principles of equitable reimbursement under Florida law; and

                    (b)   subrogation claims for the Commercial LLCs to the extent any of their real
                          properties were sold and proceeds used to pay Truist, including JHO GA,
                          Sheridan A, Sheridan C, and JHO NV’s claims under section 509(a) of the
                          Bankruptcy Code and equitable subrogation under Florida Law.


4
  “JHO Real Estate LLC” does not appear in the Debtors’ books and records and does not otherwise exist as a legal
entity.


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           407.     None of the Commercial LLCs’ Claims relate back to the Original Owoc Claims.

           408.     However, two of the Late Claims tack on even more ludicrous requests.

           409.     In addition to the Commercial LLCs’ Claims, the Late Claim against Vital [Claim

No. 767] (the “First Rent-Related Claim”) also asserts that Jack Owoc, on behalf of himself,

Sheridan A, and “JHO Real Estate LLC,” has claims for the following: (i) an administrative

priority claim in the amount of $4,973,345.65 for postpetition unpaid rent (the “Postpetition

Rent”); and (ii) $23,672,008.29 for prepetition unpaid rent (the “Prepetition Rent”).

           410.     The Late Claim against Quash [Claim No. 770] (the “Second Rent-Related Claim,”

and together with the First Rent-Related Claim, the “Rent-Related Claims”) asserts that Jack

Owoc, on behalf of himself and Sheridan A, has claims for (i) postpetition unpaid rent in the

amount of $310,756.85 that was included as part of the Postpetition Rent in the First Rent-Related

Claim, and (ii) prepetition unpaid rent in the amount of $744,493.15 that was included as part of

the Prepetition Rent in the First Rent-Related Claim.

           411.     Jack Owoc has not established that there is any basis for the Debtors to pay him,

Sheridan A, or “JHO Real Estate LLC” for any unpaid rent.

           412.     At the time the Rent-Related Claims were filed, which in part assert administrative

claims for the Postpetition Rent, no administrative claim bar date had been established, so the

proper means to assert a claim for unpaid postpetition rent would have been through filing of a

motion for payment of an administrative expense claim.

           413.     The Rent-Related Claims were based in part on alleged unpaid rent in connection

with the Debtors’ property located at 1635 S. 43rd Avenue, Phoenix, Arizona 85009 (the “AZ

Property”).




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           414.     Neither Jack Owoc nor “JHO Real Estate LLC” are entitled to pre or postpetition

rent for the AZ Property because the AZ Property is owned by Debtor JHO Real Estate Investment

LLC and is property of the estates. If an intercompany claim was owed, only an individual with

authority to bind one of the Debtors could have filed such claim, and Jack Owoc had already been

terminated by the Board at the time the claim was filed.

           415.     Plaintiff disputes the claim amounts, the allegations of secured, administrative,

and/or priority status alleged by Jack Owoc in the Late Claims, and any purported right to payment

on account of any of the claims.

           416.     Jack Owoc has also not established that the alleged use of his Southwest Ranches

home was for the Company’s benefit. If anything, his insistence on using his home for corporate

purposes was for his own benefit, as he often refused to leave his home and actually travel to the

corporate headquarters.

           417.     In fact, Jack Owoc rarely showed up to the Company’s offices at all and regularly

demanded business meetings at his home, telling employees, “the king doesn’t come to you. You

come to the king.”

           418.     In addition, Jack Owoc has not established that there is any basis for the Company

to pay for his obligations related to income taxes. No agreement exists, or ever existed, requiring

the Company to pay for Jack Owoc’s personal tax liabilities.

           419.     Moreover, the assets held by the Commercial LLCs were paid for by the Company

at Jack Owoc’s direction.

           420.     At Jack Owoc’s direction, the Sheridan A Property and Wagon Trail Property were

transferred from the Company to the respective Commercial LLCs for no consideration.




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                  421.     Similarly, Jack Owoc caused Sheridan B, Sheridan C, and JHO GA to receive and

       hold legal title to the Sheridan B Property, Sheridan C Property, and Lithia Springs Property,

       respectively, despite the fact that the Company’s funds and/or financing was used to acquire the

       properties. The Company received no consideration in connection with the acquisition of these

       properties.

                  422.     Further, neither Jack Owoc nor the Commercial LLCs are entitled to any sale

       proceeds in connection with the sale of any of the Commercial LLCs’ assets.

                  423.     In addition, Jack Owoc has not provided any documents establishing a right of

       payment in connection with the Unliquidated Owoc Claim.

                  424.     Finally, Jack Owoc did not act in good faith and knowingly acted contrary to the

       best interests of the Company in connection with the litigations—products of his own misconduct

       for which he seeks indemnification, contribution, and reimbursement.

XIV.              SHERIDAN A’S ADMINISTRATIVE CLAIM.

                  425.     On October 13, 2023, Jack Owoc and Sheridan A filed an application [Dkt. 1998]

       (the “Sheridan Application”) for an administrative expense claim in the aggregate amount of

       $2,665,702.17 [Claim No. 885] (the “Asserted Admin Claim”), pursuant to sections 365(d)(3) and

       503(b)(1)(A) of the Bankruptcy Code.

                  426.     The Postpetition Rent, asserted as an administrative priority claim in the First Rent-

       Related Claim, includes all of the same amounts asserted in the Asserted Admin Claim.

                  427.     The Sheridan Application alleges that Vital and Quash have used and occupied the

       Sheridan A Property postpetition without paying rent to Sheridan A and asserts a total obligation

       in the amount of $1,915,137.93.

                  428.     The amounts sought in the Sheridan Application overlap with the amounts asserted

       in the Rent-Related Claims.


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           429.     The Sheridan Application further alleges that the Debtors are obligated to reimburse

Sheridan A for payment of postpetition real estate taxes due on the Sheridan A Property in the

amount of $410,075.40.

           430.     According to the Sheridan Application, on January 1, 2021, Jack Owoc, as sole

shareholder of both Sheridan A and Quash, caused both entities to enter into a lease with Sheridan

A as the landlord and Quash as the tenant.

           431.     Jack Owoc executed the Sheridan A lease on behalf Sheridan A and Quash.

           432.     No documented agreement between Vital and Sheridan A exists in connection with

Vital’s use of the Sheridan A Property.

           433.     Monthly rent payments in connection with Vital’s and Quash’s use of the Sheridan

A Property were never paid.

           434.     Likewise, monthly rent payments in connection with Vital’s and Quash’s use of the

Sheridan A Property were never collected by Sheridan A or Jack Owoc.

           435.     Jack Owoc does not have standing to bring the Asserted Admin Claim, as he is

neither party to the Sheridan A lease nor does he individually own the Sheridan A Property.

           436.     As set forth above, the Debtors paid all pre and postpetition carrying costs of the

Sheridan A Property. Pursuant to the DIP Order, the sale proceeds of the Sheridan A Property

were to be used to reimburse the Debtors for all postpetition carrying costs and expenses, not to

provide Jack Owoc a windfall.

           437.     The Disputed Sheridan Funds remain in escrow.




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                                               COUNT ONE
                                   BREACH OF FIDUCIARY DUTY
 (Against Jack Owoc – Issuance of “Distributions” and Misappropriation of Company Assets
                                     and Employees)

           438.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, and 194-282 above as if fully set forth herein.

           439.     At all times relevant hereto, Jack Owoc was the CEO and sole board/managing

member of each of the Debtors.

           440.     When a corporation or limited liability company is insolvent, its officers and

directors owe fiduciary duties to the corporation and its creditors. The Debtors were insolvent at

all times material hereto.

           441.     As such, in his capacity as an officer and sole board/managing member of each of

the Debtors, Jack Owoc owed the Debtors and their creditors fiduciary duties, including the duties

of care, loyalty, and good faith.

           442.     As an officer and the sole board/managing member, Jack Owoc had an obligation

to discharge his duties in good faith with the care an ordinarily prudent officer in a like position

would exercise and in a manner reasonably believed to be in the best interests of the Debtors and

their creditors and to consider all material information reasonably available in making business

decisions.

           443.     Jack Owoc exercised a conscious, grossly negligent, and/or reckless disregard for

the best interests of the Debtors and their creditors by placing his own financial interests above the

interests of the Debtors and their creditors by causing, authorizing, and/or allowing the Debtors to

transfer millions of dollars to third parties, including himself and his family members—

characterized in the Debtors’ books and records as “distributions” to Jack Owoc, at a time when

the Debtors were insolvent.


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           444.     From October 2018 to the Petition Date, Jack Owoc directed the Company to

transfer at least $37.9 million to third parties to fund the Owoc Real Estate Enterprise and

characterize the transfers as “distributions.”

           445.     From October 2017 to the Petition Date, Jack Owoc also directed the Company to

make the Jack Owoc Transfers, totaling at least $30 million—money that was funneled from the

Company for his personal use, unrelated to the Owoc Real Estate Enterprise, including to renovate

his personal residence, fund his personal bank account, and other miscellaneous personal and

household expenses, in the form of “distributions.”

           446.     Between 2017 and 2022, Jack Owoc caused the Company to transfer at least $47

million to the IRS in connection with Jack Owoc’s personal tax liabilities, in the form of

“distributions.”

           447.     Jack Owoc’s actions in directing the purported “distributions” were contrary to the

best interests of the Debtors and their creditors and were neither intended to confer, nor conferred,

any benefit upon the Debtors.

           448.     In addition to funneling money out of the Debtors, Jack Owoc also utilized the

Company’s employees for personal purposes wholly unrelated to the Debtors’ businesses,

including in furtherance of the Owoc Real Estate Enterprise, his personal tax plannings, and

maintenance of his and Megan Owoc’s personal finances.

           449.     As a direct and proximate result of Jack Owoc’s breach of his fiduciary duties of

care, loyalty, and good faith, the Debtors have suffered millions of dollars in damages in the form

of (i) transfers to, or for the benefit of, himself, his family members, and third parties, and (ii)

diverting the Debtors’ employees for his own personal use.




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                                              COUNT TWO
                                   BREACH OF FIDUCIARY DUTY
     (Against Jack Owoc – Post-Petition Misconduct Causing Harm to the Debtors’ Estates)

           450.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, and 356-393 above as if fully set forth herein.

           451.     At all times relevant hereto, Jack Owoc was the CEO and sole board/managing

member of each of the Debtors.

           452.     When a corporation or limited liability company is insolvent, its officers and

directors owe fiduciary duties to the corporation and its creditors. The Debtors were insolvent at

all times material hereto.

           453.     As such, in his capacity as an officer and sole board/managing member of each of

the Debtors, Jack Owoc owed the Debtors and their creditors fiduciary duties, including the duties

of care, loyalty, and good faith.

           454.     As an officer and the sole board/managing member, Jack Owoc had an obligation

to discharge his duties in good faith with the care an ordinarily prudent officer in a like position

would exercise and in a manner reasonably believed to be in the best interests of the Debtors and

their creditors.

           455.     Between the Petition Date and March 9, 2023—when the Board was forced to

terminate Jack Owoc for cause—Jack Owoc engaged in an ongoing and repeated pattern of

misconduct during the course of the Chapter 11 Cases, which resulted in him breaching his

fiduciary duties to the Debtors by:

                    (a)   unilaterally purporting to fire various Board members without any
                          justification or authority from the Board, which if valid, would have
                          constituted an immediate default under the DIP Credit Agreement;




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                    (b)   barring certain key managerial employees of the Debtors from engaging with
                          Huron and frustrating Huron’s ability to perform the services for which they
                          were retained in the Chapter 11 Cases;
                    (c)   unliterally purporting to fire DiDonato and Huron without any justification or
                          authority from the Board;
                    (d)   flouting the judgment in the Monster Lawsuit by posting a video regarding
                          Super Creatine on the Debtors’ social media accounts that could have resulted
                          in material administrative claims against the Debtors;
                    (e)   falsely representing that the Debtors were working to launch an IPO and
                          exposing the Debtors to a potential violation of federal securities laws;
                    (f)   directing in-house legal personnel to continue to represent him in his personal
                          legal matters against the advice of Debtors’ professionals and Board’s
                          directives;
                    (g)   including Battista, his personal legal counsel, on privileged Company emails,
                          inviting Battista to meetings of the Board and Restructuring Committee
                          without prior approval, and consequently exposing the Debtors to potential
                          waiver of their corporate attorney-client and work-product privileges; and
                    (h)   hiring Kroll to prepare a valuation of the Debtors that was subsequently
                          withdrawn due to a lack of Board authorization.
           456.     As a direct and proximate result of Jack Owoc’s breach of his fiduciary duties of

care, loyalty, and good faith, the Debtors have suffered, among other harms, millions of dollars in

damages stemming from needlessly increased professional fees incurred by the estates during the

Chapter 11 Cases, including those incurred by the professionals retained by the Debtors,

Committee, and the DIP Lenders.

                                             COUNT THREE
                                   BREACH OF FIDUCIARY DUTY
            (Against Jack Owoc – Conduct Giving Rise to the False Advertising Judgment)

           457.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74

and 83-184 above as if fully set forth herein.

           458.     At all times relevant hereto, Jack Owoc was the CEO and sole board/managing

member of the Debtors.




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           459.     When a corporation or limited liability company is insolvent, its officers and

directors owe fiduciary duties to the corporation and its creditors. The Debtors were insolvent at

all times material hereto.

           460.     As such, in his capacity as an officer and sole board/managing member of each of

the Debtors, Jack Owoc owed the Debtors and their creditors fiduciary duties, including the duties

of care, loyalty, and good faith.

           461.     As an officer and sole board/managing member, Jack Owoc had an obligation to

discharge his duties in good faith with the care an ordinarily prudent officer in a like position

would exercise and in a manner reasonably believed to be in the best interests of the Debtors and

their creditors and to consider all material information reasonably available in making business

decisions.

           462.     As the Debtors’ CEO, “Chief Science Officer,” and sole board/managing member,

Jack Owoc had complete and total control over the Company’s marketing decisions prior to the

Petition Date.

           463.     Jack Owoc exercised a conscious, grossly negligent, and/or reckless disregard for

the best interests of the Debtors and their creditors by perpetuating the Super Creatine Scheme

through advertising the Company’s flagship Bang products as containing “Super Creatine.”

           464.     The Super Creatine Scheme, a fraud perpetuated by Jack Owoc in violation of his

fiduciary duties to the Company, was thwarted by the OBI/Monster Arbitration and the Monster

Lawsuit, which resulted in over $400 million in judgments and settlement obligations against the

Company.

           465.     Prior to those lawsuits, the Super Creatine Scheme permitted the Company to stay

in business longer than it otherwise would have by fraudulently boosting the Company’s sales.




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           466.       The Super Creatine Scheme caused harm to the Debtors’ creditors by permitting

the Company to stay in business longer and deepening its insolvency, when it would have been in

the best interest of the creditors for the Company to rebrand the Company’s Bang-marked products

or cease business and liquidate before the Super Creatine Scheme was unveiled.

           467.       As a direct and proximate result of Jack Owoc’s breach of his fiduciary duties of

care and good faith, the Debtors have suffered over $300 million in damages as a result of the

False Advertising Judgment.

           468.       As a result of these breaches of fiduciary duty, Jack Owoc should be solely and

wholly responsible for the False Advertising Judgment.

                                                COUNT FOUR
                                     BREACH OF FIDUCIARY DUTY
                  (Against Jack Owoc – Conduct Giving Rise to the OBI/Monster Judgment)

           469.       Plaintiff repeats and realleges each of the allegations set forth in paragraphs 70–74,

and 83-184 above as if fully set forth herein.

           470.       At all times relevant hereto, Jack Owoc was the sole board/managing member of

each of the Debtors.

           471.       When a corporation or limited liability company is insolvent, its officers and

directors owe fiduciary duties to the corporation and its creditors. The Debtors were insolvent at

all times material hereto.

           472.       As such, in his capacity as an officer and sole board/managing member of each of

the Debtors, Jack Owoc owed the Debtors and their creditors fiduciary duties, including the duties

of care, loyalty, and good faith.

           473.       As an officer and board/managing member, Jack Owoc had an obligation to

discharge his duties in good faith with the care an ordinarily prudent officer in a like position



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would exercise and in a manner reasonably believed to be in the best interests of the Debtors and

their creditors and to consider all material information reasonably available in making business

decisions.

           474.     Pursuant to the 2010 Settlement Agreement, the Debtors agreed to the Creatine-

Based Production Restriction and Location Restriction.

           475.     As the Debtors’ CEO, sole board managing/member, and sole decision-maker, Jack

Owoc was responsible for ensuring the Company’s compliance with the 2010 Settlement

Agreement.

           476.     Yet, Jack Owoc did nothing to ensure the Company’s compliance with the

restrictions. Indeed, Jack Owoc (and therefore the Company) did not communicate the marketing

and sales restrictions to the Company’s employees, distributors, or retailers, which resulted in the

violations of the 2010 Settlement Agreement.

           477.     Further, despite receiving cease-and-desist letters from OBI in 2019 regarding the

violations of the 2010 Settlement Agreement, Jack Owoc did nothing to change the Company’s

course of conduct and continued selling Bang products in the general beverage section of retail

stores in violation of the 2010 Settlement Agreement.

           478.     Jack Owoc exercised a conscious, grossly negligent, and/or reckless disregard for

the best interests of the Debtors and their creditors by refusing to comply with the Creatine-Based

Product Restriction and Location Restriction included in the 2010 Settlement Agreement.

           479.     As a direct and proximate result of Jack Owoc’s breach of his fiduciary duties of

care and good faith, the Debtors suffered millions of dollars in damages, and had the OBI/Monster

Judgment issued against them which provided for $175 million in disgorgement of profits, $9.3




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million in fees and costs, and a perpetual royalty to OBI/Monster at the rate of 5% of the

Company’s net sales.

           480.     As a result of these breaches of fiduciary duty, Jack Owoc should be held solely

and wholly responsible for the full amount of the OBI/Monster Judgment.

                                              COUNT FIVE
                                   BREACH OF FIDUCIARY DUTY
     (Against Jack Owoc – Conduct Giving Rise to Breach of Pepsi Distribution Agreement)

           481.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74

and 151–184 above as if fully set forth herein.

           482.     At all times relevant hereto, Jack Owoc was the CEO and sole board/managing

member of each of the Debtors.

           483.     When a corporation or limited liability company is insolvent, its officers and

directors owe fiduciary duties to the corporation and its creditors. The Debtors were insolvent at

all times material hereto.

           484.     As such, in his capacity as an officer and sole board/managing member of each of

the Debtors, Jack Owoc owed the Debtors and their creditors fiduciary duties, including the duties

of care and good faith.

           485.     As an officer and sole board/managing member, Jack Owoc had an obligation to

discharge his duties in good faith with the care an ordinarily prudent officer in a like position

would exercise and in a manner reasonably believed to be in the best interests of the Debtors and

their creditors and to consider all material information reasonably available in making business

decisions.

           486.     As the Debtors’ CEO and sole board/managing member, Jack Owoc had sole and

exclusive authority to enter into contracts on behalf of the Debtors.



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           487.     In April 2020, Jack Owoc exercised that authority by entering into the Pepsi

Distribution Agreement—an exclusive distribution arrangement which was intended to last a

minimum of three years. Yet, merely six months letter, Jack Owoc arbitrarily and unilaterally

terminated the Pepsi Distribution Agreement, which resulted in the Pepsi Litigation.

           488.     Jack Owoc exercised a conscious, grossly negligent, and/or reckless disregard for

the best interests of the Debtors and their creditors by terminating the Pepsi Distribution

Agreement arbitrarily and without good cause.

           489.     As a direct and proximate result of Jack Owoc’s breach of his fiduciary duties of

care and good faith, the Debtors have suffered millions of dollars in damages and agreed to pay

Pepsi $115 million.

           490.     As a result of these breaches of fiduciary duty, Jack Owoc should be held solely

and wholly responsible for the $115 million due to Pepsi.

                                               COUNT SIX
                                   BREACH OF FIDUCIARY DUTY
                                 (Against Jack Owoc – Corporate Waste)

           491.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74,

159–184, and 184–293 above as if fully set forth herein.

           492.     At all times relevant hereto, Jack Owoc was the CEO and sole board/managing

member of the Debtors.

           493.     When a corporation or limited liability company is insolvent, its officers and

directors owe fiduciary duties to the corporation and its creditors. The Debtors were insolvent at

all times material hereto.




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           494.     As such, in his capacity as an officer and the sole board/managing member of each

of the Debtors, Jack Owoc owed the Debtors and their creditors fiduciary duties, including the

duties of care, loyalty, and good faith.

           495.     As an officer and sole board/managing member, Jack Owoc had an obligation to

discharge his duties in good faith with the care an ordinarily prudent officer in a like position

would exercise and in a manner reasonably believed to be in the best interests of the Debtors and

their creditors and to consider all material information reasonably available in making business

decisions.

           496.     In 2020, Jack Owoc paid himself a bonus of more than $14 million.

           497.     In February 2022, Jack Owoc doubled his own salary from an annual amount of

$750,000 to approximately $1,790,530.

           498.     Between 2018 and 2022, Jack Owoc caused the Company to transfer millions of

dollars directly to himself, which he directed the Company to characterize as “distributions.”

           499.     Jack Owoc paid himself these excessive salary payments, bonuses, and

“distributions,” despite the fact that the Company was battling massive lawsuits in multiple

forums.

           500.     The company received no benefit from Jack Owoc’s excessive compensation, and

Jack Owoc—who unilaterally approved his own compensation—did not exercise any business

judgment in approving it.

           501.     Jack Owoc breached his fiduciary duties to the Company and its creditors by paying

himself these massive salaries, bonuses, and “distributions.”

           502.     As a direct and proximate result of Jack Owoc’s breach of his fiduciary duties of

care and good faith, the Debtors suffered more than $14 million in damages.




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                                             COUNT SEVEN
                    AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
                                            (Against Jon Owoc)

           503.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 194-203, and 233-282 above as if fully set forth herein.

           504.     At all times relevant hereto, Jack Owoc was the CEO and sole board/managing

member of each of the Debtors.

           505.     As set forth above, Jack Owoc owed fiduciary duties to the Company, by virtue of

his positions, and breached those duties by siphoning money out of the Company in the form of

“distributions,” directing the Company to transfer tens of millions of dollars to third parties to fund

the Owoc Real Estate Enterprise, and using Company employees, including the Company’s

Director of Finance and General Counsel, to facilitate the operation of the Owoc Real Estate

Enterprise.

           506.     As alleged herein, Jon Owoc—a non-fiduciary of the Company—had actual

knowledge of, and gave substantial assistance or encouragement to, the breaches of fiduciary duty

committed by Jack Owoc by, among other things:

                    (a)   causing the Real Estate LLCs to enter into real estate transactions with the
                          knowledge that that the funds for those transactions would be paid utilizing
                          funds Jack Owoc siphoned from the Company in breach of his fiduciary
                          duties;

                    (b)   hiring contractors, interior designers, architects and other vendors with the
                          knowledge that their services would be paid for utilizing funds Jack Owoc
                          siphoned from the Company in breach of his fiduciary duties; and

                    (c)   requesting the transfers from the Company, which were then made to the Real
                          Estate Enterprise Defendants, or to third parties, for their benefit.

           507.     At all relevant times, Jon Owoc was aware that Jack Owoc was acting in breach of

his fiduciary duties to the Company.



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           508.     Jon Owoc’s assistance or encouragement of the Real Estate Enterprise Defendants

proximately caused damage to the Debtors and their creditors in the amount of approximately

$37.5 million transferred to third parties to fund the Owoc Real Estate Enterprise.

                                             COUNT EIGHT
                    AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
                                              (Against Shaw)

           509.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 194-203, and 233-282 above as if fully set forth herein.

           510.     At all relevant times, Jack Owoc was the CEO and sole board/managing member

of each of the Debtors.

           511.     As set forth above, Jack Owoc owed fiduciary duties to the Company, by virtue of

his positions, and breached those duties by siphoning money out of the Company in the form of

“distributions,” directing the Company to transfer tens of millions of dollars to third parties to fund

the Owoc Real Estate Enterprise, and using Company employees, including the Company’s

Director of Finance and General Counsel, to facilitate the operation of the Owoc Real Estate

Enterprise.

           512.     As alleged herein, Shaw—a non-fiduciary of the Company—had actual knowledge

of, and gave substantial assistance or encouragement to, the breaches of fiduciary duty committed

by Jack Owoc by, among other things:

                    (a)   sourcing properties for the Owoc Real Estate Enterprise with the knowledge
                          that those properties would be acquired using funds Jack Owoc siphoned from
                          the Company in breach of his fiduciary duties;

                    (b)   causing the Real Estate LLCs to enter into real estate transactions with the
                          knowledge that that the funds for those transactions would be paid utilizing
                          funds Jack Owoc siphoned from the Company in breach of his fiduciary
                          duties;




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                    (c)   hiring contractors, interior designers, architects, and other vendors with the
                          knowledge that their services would be paid for utilizing funds Jack Owoc
                          siphoned from the Company in breach of his fiduciary duties; and

                    (d)   requesting the transfers from the Company, which were made to the Real
                          Estate Enterprise Defendants, or to third parties, for their benefit.

           513.     At all relevant times, Shaw was aware that Jack Owoc was acting in breach of his

fiduciary duties to the Company.

           514.     Shaw’s assistance or encouragement proximately caused damage to the Debtors

and their creditors in the amount of approximately $37.5 million transferred to third parties to fund

the Owoc Real Estate Enterprise.

                                              COUNT NINE
                    AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
                                           (Against Runnebaum)

           515.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 194-203, and 233-282 above as if fully set forth herein.

           516.     At all times relevant hereto, Jack Owoc was the CEO and sole board/managing

member of each of the Debtors.

           517.     As set forth above, Jack Owoc owed fiduciary duties to the Company, by virtue of

his positions, and breached those duties by siphoning money out of the Company in the form of

“distributions,” directing the Company to transfer tens of millions of dollars to third parties to fund

the Owoc Real Estate Enterprise, and using Company employees, including the Company’s

Director of Finance and General Counsel, to facilitate the operation of the Owoc Real Estate

Enterprise.

           518.     As alleged herein, Runnebaum—a non-fiduciary of the Company—had actual

knowledge of, and gave substantial assistance or encouragement to, the breaches of fiduciary duty

committed by Jack Owoc by, among other things:


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                    (a)   sourcing properties for the Owoc Real Estate Enterprise with the knowledge
                          that those properties would be acquired using funds Jack Owoc siphoned from
                          the Company in breach of his fiduciary duties; and

                    (b)   requesting the transfers from the Company, which were made to the Real
                          Estate Enterprise Defendants, or to third parties, for their benefit.

           519.     At all relevant times, Runnebaum was aware that Jack Owoc was acting in breach

of his fiduciary duties to the Company.

           520.     Runnebaum’s assistance or encouragement of the Real Estate Enterprise

Defendants proximately caused damage to the Debtors and their creditors in the amount of

approximately $37.5 million transferred to third parties to fund the Owoc Real Estate Enterprise.

                                               COUNT TEN
                    AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
                                        (Against Real Estate LLCs)

           521.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 194-203, and 233-282 above as if fully set forth herein.

           522.     At all times relevant hereto, Jack Owoc was the CEO and sole board/managing

member of each of the Debtors.

           523.     At all times relevant hereto, Jack Owoc, Jon Owoc, and Shaw had an ownership

interest in each of the Real Estate LLCs.

           524.     As set forth above, Jack Owoc owed fiduciary duties to the Company, by virtue of

his positions, and breached those duties by siphoning money out of the Company in the form of

“distributions,” directing the Company to transfer tens of millions of dollars to third parties to fund

the Owoc Real Estate Enterprise, and using Company employees, including the Company’s

Director of Finance and General Counsel, to facilitate the operation of the Owoc Real Estate

Enterprise.




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           525.     As alleged herein, the Real Estate LLCs—non-fiduciaries of the Company—had

actual knowledge of, and gave substantial assistance or encouragement to, the breaches of

fiduciary duty committed by Jack Owoc.

           526.     This knowledge and substantial assistance occurred through the actions of the Real

Estate LLC’s members and their affiliates—Jack Owoc, Jon Owoc, and Shaw—through which the

Real Estate LLCs each:

                    (a)   sourced properties for the Owoc Real Estate Enterprise with the knowledge
                          that those properties would be acquired using funds Jack Owoc siphoned from
                          the Company in breach of his fiduciary duties;

                    (b)   entered into real estate transactions with the knowledge that that the funds for
                          those transactions would be paid utilizing funds Jack Owoc siphoned from
                          the Company in breach of his fiduciary duties;

                    (c)   took actions to have the properties titled in the name of the Real Estate LLCs
                          rather than the name of the Company, despite knowing that the Company
                          funded the purchase of the properties;

                    (d)   hired contractors, interior designers, architects, and other vendors with the
                          knowledge that their services would be paid for utilizing funds Jack Owoc
                          siphoned from the Company in breach of his fiduciary duties; and

                    (e)   requested the transfers from the Company, which were made to the Real
                          Estate Enterprise Defendants, or to third parties, for their benefit.

           527.     At all relevant times, each of the Real Estate LLCs (by virtue of the knowledge of

their principals, Jack Owoc, Jon Owoc, and Shaw) was aware that Jack Owoc was acting in breach

of his fiduciary duties to the Company.

           528.     The Real Estate LLCs’ assistance or encouragement of the Real Estate Enterprise

Defendants proximately caused damage to the Debtors and their creditors in the amount of

approximately $37.5 million transferred to third parties to fund the Owoc Real Estate Enterprise.




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                                            COUNT ELEVEN
                    AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
                                           (Against Elite Island)

           529.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 194-203, and 233-282 above as if fully set forth herein.

           530.     At all times relevant hereto, Jack Owoc was the CEO and sole board/managing

member of each of the Debtors.

           531.     At all times relevant hereto, Jack Owoc was the sole member and manager of Elite

Island. As such, Elite Island could only act through Jack Owoc.

           532.     As set forth above, Jack Owoc owed fiduciary duties to the Company, by virtue of

his positions, and breached those duties by directing: (i) the Company to transfer millions of dollars

for the acquisition and maintenance of the Overseas Highway Property, and (ii) the use of the

Company’s employees to help facilitate that transaction.

           533.     As alleged herein, Elite Island—a non-fiduciary of the Company—had actual

knowledge of (by virtue of its member-manager Jack Owoc’s knowledge), and gave substantial

assistance or encouragement to, Jack Owoc in his actions, as the transfers were made for its benefit

by, among other things:

                    (a)   executing the closing documents for the acquisition of the Overseas Highway
                          Property; and

                    (b)   providing wire instructions to the Company’s employees through its manager
                          and owner, Jack Owoc, for each of the transfers at issue.

           534.     Elite Island (by virtue of the knowledge of its principal, Jack Owoc) was aware that

Jack Owoc was acting in breach of his fiduciary duties to the Company.

           535.     The assistance or encouragement of Elite Island proximately caused damage to the

Debtors and their creditors in the amount of approximately $9.7 million.



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                                            COUNT TWELVE
                                        UNJUST ENRICHMENT
                                  (Against Jack Owoc and Megan Owoc)

           536.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74,

159–184, 194-282, and 392-393 above as if fully set forth herein.

           537.     During his tenure as the Company’s CEO and sole board member/manager, Jack

Owoc utilized the Company’s employees as his personal staff in order to manage his family

finances and the Company’s in-house counsel to pursue personal lawsuits unrelated to the

Company’s business and enlisted various Company employees to assist with the Owoc Real Estate

Enterprise.

           538.     Megan Owoc also utilized the Company’s employees as her personal staff in order

to manage the family’s finances, used the Company’s in-house counsel to pursue personal lawsuits

unrelated to the Company’s business, and enlisted various Company employees to produce videos

for her personal YouTube page.

           539.     In doing so, the Company conferred a benefit on defendants Jack Owoc and Megan

Owoc.

           540.     Jack Owoc and Megan Owoc were aware of the benefits and voluntarily accepted

and retained the benefits conferred.

           541.     At the time the benefits were conferred, Jack Owoc was in breach of his fiduciary

duties to the Company and took actions that exposed the Company to more than $1 billion in

potential litigation liabilities.

           542.     Under the circumstances, it would be inequitable for Jack Owoc and Megan Owoc

to retain the benefit of the Company’s employees’ services, and Plaintiff has no adequate remedy

at law.



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           543.     Therefore, Plaintiff is entitled to restitution from Jack Owoc and Megan Owoc and

reimbursement of all of benefits, incentives, and other things of value obtained by them as a result

of the unjust conduct set forth above.

                                           COUNT THIRTEEN
  AVOIDANCE AND RECOVERY OF CONSTRUCTIVE FRAUDULENT TRANSFERS
        UNDER FUFTA §§ 726.105(1)(b) AND 726.108 AND 11 U.S.C. § 550
                                           (Against Jack Owoc)

           544.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74

and 159–293 above as if fully set forth herein.

           545.     Pursuant to Florida Uniform Fraudulent Transfer Act (“FUFTA”) Section

726.105(1)(b), any transfer made or obligation incurred by a debtor within four years before the

date of the filing of the petition may be set aside as fraudulent if the transfer was made (1) without

receiving a reasonably equivalent value in exchange for the transfer or obligation, and (2) was

made when the debtor intended to incur, or believed or reasonably should have believed that it

would incur, debts beyond its ability to pay as they became due.

           546.     Jack Owoc directed the Company to make the transfers set forth in Exhibit A,

totaling approximately $123,321,962, out of the Company’s bank accounts to himself, or to third

parties for his benefit, and such transfers were actually made during the four-year period prior to

the Petition Date.

           547.     These were transfers of property of the Company to, or for the benefit of, Jack

Owoc.

           548.     The Company did not receive reasonably equivalent value in exchange for the

transfers.




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           549.     Further, at the time of the transfers, the Company was insolvent or intended to incur,

or believed or reasonably should have believed that it would incur, debts beyond its ability to pay

as they came due.

           550.     As a result of this conduct, Plaintiff can avoid the transfers pursuant to Sections

726.105(1)(b) and 726.108 of the FUFTA and recover the value thereof for the benefit of the

Debtors’ estates pursuant to 11 U.S.C. § 550.

                                          COUNT FOURTEEN
  AVOIDANCE AND RECOVERY OF CONSTRUCTIVE FRAUDULENT TRANSFERS
                  UNDER 11 U.S.C. §§ 548(a)(1)(B) and 550
                       (Against Jack Owoc – in the alternative to Count Thirteen)

           551.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74

and 159–293 above as if fully set forth herein.

           552.     Pursuant to 11 U.S.C. § 548(a)(1)(B), Plaintiff may avoid any transfer (including

any transfer to, or for the benefit of, an insider under an employment contract) of an interest of the

debtor in property or any obligation (including any obligation to, or for the benefit of, an insider

under an employment contract) incurred by the debtor that was made or incurred on or within two

years before the date of the filing of the petition if the debtor voluntarily or involuntarily (1)

received less than a reasonably equivalent value in exchange for such transfer or obligation and

(2) was insolvent on the date that such transfer was made or such obligation was incurred, or

became insolvent as a result of such transfer or obligation; or was engaged in business or a

transaction, or was about to engage in business or a transaction, for which any property remaining

with the debtor was an unreasonably small capital; or intended to incur, or believed that the debtor

would incur, debts that would be beyond the debtor’s ability to pay as such debts matured; or made

such transfer to or for the benefit of an insider, or incurred such obligation to or for the benefit of

an insider, under an employment contract and not in the ordinary course of business.


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           553.     Jack Owoc directed the Company to make the transfers set forth in Exhibit B,

totaling approximately $29,900,086, out of the Company’s bank accounts to himself, or to third

parties for his benefit, and such transfers were actually made during the two-year period prior to

the Petition Date.

           554.     These were transfers of property of the Company to, or for the benefit of, Jack

Owoc.

           555.     The Company did not receive reasonably equivalent value in exchange for the

transfers.

           556.     Further, at the time of the transfers, the Company was insolvent, inadequately

capitalized, or intended to incur, or believed or reasonably should have believed that it would incur,

debts beyond its ability to pay as they came due.

           557.     As a result of this conduct, Plaintiff can avoid the transfers pursuant to 11 U.S.C. §

548(a)(1)(B) and recover the value thereof for the benefit of the Debtors’ estates pursuant to 11

U.S.C. § 550.

                                            COUNT FIFTEEN
  AVOIDANCE AND RECOVERY OF ACTUAL FRAUDULENT TRANSFERS UNDER
           FUFTA §§ 726.105(1)(a) AND 726.108 AND 11 U.S.C. § 550
                       (Against Jack Owoc – in the alternative to Count Thirteen)

           558.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74

and 159–293 above as if fully set forth herein.

           559.     Pursuant to FUFTA Section 726.105(1)(a), any transfer made or obligation incurred

by a debtor within four years before the date of the filing of the petition may be set aside as

fraudulent if the transfer was made with actual intent to hinder, delay, or defraud any creditor of

the debtor.




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           560.     Jack Owoc directed the Company to make the transfers set forth in Exhibit A,

totaling approximately $123,321,962, out of the Company’s bank accounts to himself, or to third

parties for his benefit, and such transfers were actually made during the four-year period prior to

the Petition Date—just as the soon-to-be issued litigation judgments against the Company were

looming.

           561.     These were transfers of property of the Company to, or for the benefit of, Jack

Owoc so that he could hinder, delay, or defraud the Company’s potential creditors.

           562.     These transfers were made at a time when the Company was facing a multitude of

lawsuits.

           563.     These transfers were concealed in the Company’s books and records and

characterized, at Jack Owoc’s direction, as “distributions” to Jack Owoc.

           564.     The Company did not receive reasonably equivalent value in exchange for the

transfers.

           565.     Further, at the time of the transfers, the Company was insolvent or intended to incur,

or believed or reasonably should have believed that it would incur, debts beyond its ability to pay

as they came due.

           566.     As a result of the circumstances surrounding the transfers, Plaintiff can avoid the

transfers pursuant to Sections 726.105(1)(a) and 726.108 of the FUFTA and recover the value

thereof for the benefit of the Debtors’ estates pursuant to 11 U.S.C. § 550.

                                            COUNT SIXTEEN
  AVOIDANCE AND RECOVERY OF ACTUAL FRAUDULENT TRANSFERS UNDER
                    11 U.S.C. §§ 548(a)(1)(A) AND 550
                       (Against Jack Owoc – in the alternative to Count Thirteen)

           567.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74

and 159–293 above as if fully set forth herein.


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           568.     Pursuant to 11 U.S.C. § 548(a)(1)(A), Plaintiff may avoid any transfer (including

any transfer to, or for the benefit of, an insider under an employment contract) of an interest of the

debtor in property or any obligation (including any obligation to, or for the benefit of, an insider

under an employment contract) incurred by the debtor that was made or incurred on or within two

years before the date of the filing of the petition if the debtor voluntarily or involuntarily made

such transfer or incurred such obligation with actual intent to hinder, delay, or defraud any entity

to which the debtor was or became, on or after the date that such transfer was made or such

obligation was incurred, indebted.

           569.     Jack Owoc directed the Company to make the transfers set forth in Exhibit B,

totaling approximately $29,900,086, out of the Company’s bank accounts to himself, or to third

parties for his benefit, and such transfers were actually made during the two-year period prior to

the Petition Date, just as the soon-to-be issued litigation judgments against the Company were

looming.

           570.     These were transfers of property of the Company to, or for the benefit of, Jack

Owoc, so that he could hinder, delay, or defraud the Company’s potential creditors.

           571.     These transfers were made at a time when the Company was facing a multitude of

lawsuits.

           572.     These transfers were concealed in the Company’s books and records and

characterized, at Jack Owoc’s direction, as “distributions” to Jack Owoc.

           573.     The Company did not receive reasonably equivalent value in exchange for the

transfers.




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           574.     Further, at the time of the transfers, the Company was insolvent, inadequately

capitalized, or intended to incur, or believed or reasonably should have believed that it would incur,

debts beyond its ability to pay as they came due.

           575.     As a result of the circumstances surrounding the transfers, Plaintiff can avoid the

transfers pursuant to 11 U.S.C. § 548(a)(1)(A) and recover the value thereof for the benefit of the

Debtors’ estates pursuant to 11 U.S.C. § 550.

                                          COUNT SEVENTEEN
  AVOIDANCE AND RECOVERY OF CONSTRUCTIVE FRAUDULENT TRANSFERS
        UNDER FUFTA §§ 726.105(1)(b) AND 726.108 AND 11 U.S.C. § 550
                             (Against Jack Owoc and the Commercial LLCs)

           576.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74,

159–184, and 294–344 above as if fully set forth herein.

           577.     Pursuant to FUFTA Section 726.105(1)(b), any transfer made or obligation

incurred by a debtor within four years before the date of the filing of the petition may be set aside

as fraudulent if the transfer was made (1) without receiving a reasonably equivalent value in

exchange for the transfer or obligation, and (2) when the debtor intended to incur, or believed or

reasonably should have believed that it would incur, debts beyond its ability to pay as they became

due.

           578.     As outlined above, Jack Owoc is the sole owner of each of the Commercial LLCs.

           579.     Jack Owoc directed the Company to make the transfers in Exhibit C, totaling

approximately $115,924,743, to acquire or maintain property, which was then titled in, or

transferred to, the name of the Commercial LLCs, and such transfers were actually made during

the four-year period prior to the Petition Date.

           580.     These transfers or obligations incurred were to, and/or for the benefit of, Jack Owoc

and the Commercial LLCs.


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           581.     With respect to the property taxes, maintenance, and other carrying costs for each

of the Commercial LLCs, the Company’s books and records do not clearly identify which transfers

were made in connection with each Commercial LLC.

           582.     The Company did not receive reasonably equivalent value in exchange for the

transfers.

           583.     Further, at the time of the transfers, the Company was insolvent or intended to incur,

or believed or reasonably should have believed that it would incur, debts beyond its ability to pay

as they came due.

           584.     As a result of the conduct surrounding the transfers, Plaintiff can avoid the transfers

pursuant to Sections 726.105(1)(b) and 726.108 of the FUFTA and recover the value thereof for

the benefit of the Debtors’ estates pursuant to 11 U.S.C. § 550.

                                           COUNT EIGHTEEN
  AVOIDANCE AND RECOVERY OF CONSTRUCTIVE FRAUDULENT TRANSFERS
                  UNDER 11 U.S.C. §§ 548(a)(1)(B) and 550
     (Against Jack Owoc and the Commercial LLCs – in the alternative to Count Seventeen)

           585.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74,

159–184, and 294–344 above as if fully set forth herein.

           586.     Pursuant to 11 U.S.C. § 548(a)(1)(B), Plaintiff may avoid any transfer (including

any transfer to, or for the benefit of, an insider under an employment contract) of an interest of the

debtor in property or any obligation (including any obligation to, or for the benefit of, an insider

under an employment contract) incurred by the debtor that was made or incurred on or within two

years before the date of the filing of the petition if the debtor voluntarily or involuntarily (1)

received less than a reasonably equivalent value in exchange for such transfer or obligation; and

(2) was insolvent on the date that such transfer was made, or such obligation was incurred, or

became insolvent as a result of such transfer or obligation; or was engaged in business or a


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transaction, or was about to engage in business or a transaction, for which any property remaining

with the debtor was an unreasonably small capital; or intended to incur, or believed that the debtor

would incur, debts that would be beyond the debtor’s ability to pay as such debts matured; or made

such transfer to or for the benefit of an insider, or incurred such obligation to or for the benefit of

an insider, under an employment contract and not in the ordinary course of business.

           587.     As outlined above, Jack Owoc is the sole owner of each of the Commercial LLCs.

           588.     Jack Owoc directed the Company to make the transfers in Exhibit D, totaling

approximately $5,540,824, to acquire or maintain property, which was then titled in, or transferred

to, the name of the Commercial LLCs, and such transfers were actually made during the two-year

period prior to the Petition Date.

           589.     These transfers or obligations incurred were to, and/or for the benefit of, Jack Owoc

and the Commercial LLCs.

           590.     With respect to the property taxes, maintenance, and other carrying costs for each

of the Commercial LLCs, the Company’s books and records do not clearly identify which transfers

were made in connection with each Commercial LLC.

           591.     The Company did not receive reasonably equivalent value in exchange for the

transfers.

           592.     Further, at the time of the transfers, the Company was insolvent, inadequately

capitalized, or intended to incur, or believed or reasonably should have believed that it would incur,

debts beyond its ability to pay as they came due.

           593.     As a result of this conduct, Plaintiff can avoid the transfers pursuant to 11 U.S.C. §

548(a)(1)(B) and recover the value thereof for the benefit of the Debtors’ estates pursuant to 11

U.S.C. § 550.




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                                           COUNT NINETEEN
  AVOIDANCE AND RECOVERY OF ACTUAL FRAUDULENT TRANSFERS UNDER
           FUFTA §§ 726.105(1)(a) AND 726.108 AND 11 U.S.C. § 550

     (Against Jack Owoc and the Commercial LLCs – in the alternative to Count Seventeen)

           594.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74,

159–184, and 294–344 above as if fully set forth herein.

           595.     Pursuant to FUFTA Section 726.105(1)(a), any transfer made or obligation incurred

by a debtor within four years before the date of the filing of the petition may be set aside as

fraudulent if the transfer was made with actual intent to hinder, delay, or defraud any creditor of

the debtor.

           596.     As outlined above, Jack Owoc is the sole owner of each of the Commercial LLCs.

           597.     Jack Owoc directed the Company to make the transfers in Exhibit C, totaling

approximately $115,924,743, to acquire or maintain property, which was then titled in, or

transferred to, the name of the Commercial LLCs, and such transfers were actually made during

the four-year period prior to the Petition Date.

           598.     These transfers or obligations incurred were to, and/or for the benefit of, Jack Owoc

and the Commercial LLCs so that they could hinder, delay, or defraud the Company’s potential

creditors.

           599.     With respect to the property taxes, maintenance, and other carrying costs for each

of the Commercial LLCs, the Company’s books and records do not clearly identify which transfers

were made in connection with each Commercial LLC.

           600.     These transfers were made at a time when the Company was facing a multitude of

lawsuits.




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           601.     The Company did not receive reasonably equivalent value in exchange for the

transfers.

           602.     Further, at the time of the transfers, the Company was insolvent or intended to incur,

or believed or reasonably should have believed that it would incur, debts beyond its ability to pay

as they came due.

           603.     As a result of the circumstances surrounding the transfers, Plaintiff can avoid the

transfers pursuant to Sections 726.105(1)(a) and 726.108 of the FUFTA and recover the value

thereof for the benefit of the Debtors’ estates pursuant to 11 U.S.C. § 550.

                                            COUNT TWENTY
  AVOIDANCE AND RECOVERY OF ACTUAL FRAUDULENT TRANSFERS UNDER
                    11 U.S.C. §§ 548(a)(1)(A) AND 550
     (Against Jack Owoc and the Commercial LLCs – in the alternative to Count Seventeen)

           604.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74,

159–184, and 294–344 above as if fully set forth herein.

           605.     Pursuant to 11 U.S.C. § 548(a)(1)(A), Plaintiff may avoid any transfer (including

any transfer to, or for the benefit of, an insider under an employment contract) of an interest of the

debtor in property or any obligation (including any obligation to, or for the benefit of, an insider

under an employment contract) incurred by the debtor that was made or incurred on or within two

years before the date of the filing of the petition if the debtor voluntarily or involuntarily made

such transfer or incurred such obligation with actual intent to hinder, delay, or defraud any entity

to which the debtor was or became, on or after the date that such transfer was made or such

obligation was incurred, indebted.

           606.     Jack Owoc directed the Company to make the transfers in Exhibit D, totaling

approximately $5,540,824, to acquire or maintain property, which was then titled in, or transferred




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to, the name of the Commercial LLCs, and such transfers were actually made during the two-year

period prior to the Petition Date.

           607.     These transfers or obligations incurred were to, and/or for the benefit of, Jack Owoc

and the Commercial LLCs so that they could hinder, delay, or defraud the Company’s potential

creditors.

           608.     With respect to the property taxes, maintenance, and other carrying costs for each

of the Commercial LLCs, the Company’s books and records do not clearly identify which transfers

were made in connection with each Commercial LLC.

           609.     These transfers were made at a time when the Company was facing a multitude of

lawsuits.

           610.     The Company did not receive reasonably equivalent value in exchange for the

transfers.

           611.     Further, at the time of the transfers, the Company was insolvent, inadequately

capitalized, or intended to incur, or believed or reasonably should have believed that it would incur,

debts beyond its ability to pay as they came due.

           612.     As a result of the circumstances surrounding the transfers, Plaintiff can avoid the

transfers pursuant to 11 U.S.C. § 548(a)(1)(A) and recover the value thereof for the benefit of the

Debtors’ estates pursuant to 11 U.S.C. § 550.

                                         COUNT TWENTY-ONE
                  AVOIDANCE AND RECOVERY OF PREFERENTIAL TRANSFERS
                              UNDER 11 U.S.C. §§ 547 AND 550
                                  (Against Jack Owoc and Megan Owoc)

           613.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 194-282, and 392-393 above as if fully set forth herein.




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           614.     Jack Owoc was the CEO and sole board/managing member, as applicable, of the

each of the Debtor entities and had control of the Debtors. Accordingly, he is an “insider” of the

Debtors pursuant to 11 U.S.C. § 101(31)(B)(i)–(iii).

           615.     Megan Owoc is the wife of Jack Owoc, a person in control of the Debtors, and,

therefore, she is also an “insider” of the Debtors pursuant to 11 U.S.C. § 101(31)(B)(vi).

           616.     As set forth in Exhibit E, in the year prior to the Petition Date, the Company made

approximately $2,142,455 in payments for the benefit of Jack and Megan Owoc.

           617.     These payments include salary, vehicle payments, and AMEX credit card payments

that the Company made on Jack Owoc and Megan Owoc’s behalf. For example, the Company:

                    (a)   made $33,954.15 in vehicle payments for the benefit of Jack Owoc and
                          Megan Owoc;

                    (b)   made various AMEX credit card payments for the benefit of Jack Owoc and
                          Megan Owoc, totaling $457,983.86;

                    (c)   paid Jack Owoc $1,499,213.16 in salary; and

                    (d)   paid Megan Owoc $151,303.97 in salary.

           618.     These payments constitute transfers of property of the Company made within one

(1) year before the Petition Date:

                    (a)   to, or for the benefit of, Jack Owoc and Megan Owoc who, at all relevant
                          times, were creditors of the Company due to obligations to pay salary;

                    (b)   for, or on account of, an antecedent debt owed by the Company to Jack Owoc
                          and Megan Owoc before such payments were made; and

                    (c)   while the Company was insolvent.

           619.     These payments to Jack Owoc and Megan Owoc enabled them to receive more than

they would have received:

                    (a)   in a case filed by the Debtors under Chapter 7 of the Bankruptcy Code;

                    (b)   had the payments had not been made; and


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                    (c)     if the defendant received payment of its debt to the extent provided by the
                            Bankruptcy Code.

           620.     By reason of the foregoing, the payments to, or for the benefit of, Jack Owoc and

Megan Owoc are avoidable pursuant to 11 U.S.C. §§ 547(b) and 550.

                                         COUNT TWENTY-TWO
  AVOIDANCE AND RECOVERY OF CONSTRUCTIVE FRAUDULENT TRANSFERS
        UNDER FUFTA §§ 726.105(1)(b) AND 726.108 AND 11 U.S.C. § 550
                          (Against Tropical Sunset, Jack Owoc, Jon Owoc, and Stag)

           621.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 194-203, and 233-283 above as if fully set forth herein.

           622.     Pursuant to FUFTA Section 726.105(1)(b), any transfer made or obligation

incurred by a debtor within four years before the date of the filing of the petition may be set aside

as fraudulent if the transfer was made (1) without receiving a reasonably equivalent value in

exchange for the transfer or obligation, and (2) when the debtor intended to incur, or believed or

reasonably should have believed that it would incur, debts beyond its ability to pay as they became

due.

           623.     Tropical Sunset, Jack Owoc, Jon Owoc, and Stag acquired and renovated at least

twelve properties using the Company’s funds.

           624.     For each property, the Company funded the acquisition and (at least some of) the

renovation costs for the properties.

           625.     Jack Owoc directed the Company to make the transfers identified in Exhibit F,

totaling approximately $37,590,382, to acquire, renovate, and/or maintain the properties that are

titled in the name of the Real Estate LLCs, and such transfers were actually made during the four-

year period prior to the Petition Date.




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           626.     Upon information and belief, Tropical Sunset is the parent company of each of the

Real Estate LLCs.

           627.     These transfers or obligations incurred were to, and/or for the benefit of, Tropical

Sunset and its owners, Jack Owoc, Jon Owoc, and Stag.

           628.     The Company did not receive reasonably equivalent value in exchange for the

transfers.

           629.     Further, at the time of the transfers, the Company was insolvent or intended to incur,

or believed or reasonably should have believed that it would incur, debts beyond its ability to pay

as they came due.

           630.     As a result of the conduct surrounding the transfers, Plaintiff can avoid the transfers

pursuant to Sections 726.105(1)(b) and 726.108 of the FUFTA and recover the value thereof for

the benefit of the Debtors’ estates pursuant to 11 U.S.C. § 550.

                                       COUNT TWENTY-THREE
  AVOIDANCE AND RECOVERY OF CONSTRUCTIVE FRAUDULENT TRANSFERS
                  UNDER 11 U.S.C. §§ 548(a)(1)(B) and 550
     (Against Tropical Sunset, Jack Owoc, Jon Owoc, and Stag – in the alternative to Count
                                        Twenty-Two)

           631.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 194-203, and 233-283 above as if fully set forth herein.

           632.     Pursuant to 11 U.S.C. § 548(a)(1)(B), Plaintiff may avoid any transfer (including

any transfer to, or for the benefit of, an insider under an employment contract) of an interest of the

debtor in property or any obligation (including any obligation to, or for the benefit of, an insider

under an employment contract) incurred by the debtor that was made or incurred on or within two

years before the date of the filing of the petition if the debtor voluntarily or involuntarily (1)

received less than a reasonably equivalent value in exchange for such transfer or obligation and


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(2) was insolvent on the date that such transfer was made or such obligation was incurred, or

became insolvent as a result of such transfer or obligation; or was engaged in business or a

transaction, or was about to engage in business or a transaction, for which any property remaining

with the debtor was an unreasonably small capital; or intended to incur, or believed that the debtor

would incur, debts that would be beyond the debtor’s ability to pay as such debts matured; or made

such transfer to or for the benefit of an insider, or incurred such obligation to, or for the benefit of,

an insider, under an employment contract and not in the ordinary course of business.

           633.     Tropical Sunset, Jack Owoc, Jon Owoc, and Stag acquired and renovated at least

twelve properties using the Company’s funds.

           634.     For each property, the Company funded the acquisition and (at least some of) the

renovation costs for the properties.

           635.     Jack Owoc directed the Company to make the transfers identified in Exhibit G,

totaling approximately $6,962,557, to acquire, renovate, and/or maintain the properties that are

titled in the name of the Real Estate LLCs, and such transfers were actually made during the two-

year period prior to the Petition Date.

           636.     Upon information and belief, Tropical Sunset is the parent company of each of the

Real Estate LLCs.

           637.     These transfers or obligations incurred were to, and/or for the benefit of, Tropical

Sunset and its owners, Jack Owoc, Jon Owoc, and Stag.

           638.     The Company’s books and records do not clearly identify which transfers were

made in connection with each Real Estate LLC.

           639.     The Company did not receive reasonably equivalent value in exchange for the

transfers.




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           640.     Further, at the time of the transfers, the Company was insolvent, inadequately

capitalized, or intended to incur, or believed or reasonably should have believed that it would incur,

debts beyond its ability to pay as they came due.

           641.     As a result of this conduct, Plaintiff can avoid the transfers pursuant to 11 U.S.C. §

548(a)(1)(B) and recover the value thereof for the benefit of the Debtors’ estates pursuant to 11

U.S.C. § 550.

                                        COUNT TWENTY-FOUR
  AVOIDANCE AND RECOVERY OF ACTUAL FRAUDULENT TRANSFERS UNDER
           FUFTA §§ 726.105(1)(a) AND 726.108 AND 11 U.S.C. § 550
     (Against Tropical Sunset, Jack Owoc, Jon Owoc, and Stag – in the alternative to Count
                                        Twenty-Two)

           642.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 194-203, and 233-283 above as if fully set forth herein.

           643.     Pursuant to FUFTA Section 726.105(1)(a), any transfer made or obligation incurred

by a debtor within four years before the date of the filing of the petition may be set aside as

fraudulent if the transfer was made with actual intent to hinder, delay, or defraud any creditor of

the debtor.

           644.     Tropical Sunset, Jack Owoc, Jon Owoc, and Stag acquired and renovated at least

twelve properties using the Company’s funds.

           645.     For each property, the Company funded the acquisition and (at least some of) the

renovation costs for the properties.

           646.     Upon information and belief, Tropical Sunset is the parent company of each of the

Real Estate LLCs.

           647.     Jack Owoc directed the Company to make the transfers identified in Exhibit F,

totaling approximately $37,590,382, to acquire, renovate, and/or maintain the properties that are



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titled in the name of the Real Estate LLCs, and such transfers were actually made during the four-

year period prior to the Petition Date.

           648.     These transfers or obligations incurred were to, and/or for the benefit of, Tropical

Sunset and its owners, Jack Owoc, Jon Owoc, and Stag.

           649.     The Company’s books and records do not clearly identify which transfers were

made in connection with each Real Estate LLC.

           650.     The Company did not receive reasonably equivalent value in exchange for the

transfers.

           651.     Further, at the time of the transfers, the Company was insolvent or intended to incur,

or believed or reasonably should have believed that it would incur, debts beyond its ability to pay

as they came due.

           652.     As a result of the circumstances surrounding the transfers, Plaintiff can avoid the

transfers pursuant to Sections 726.105(1)(a) and 726.108 of the FUFTA and recover the value

thereof for the benefit of the Debtors’ estates pursuant to 11 U.S.C. § 550.

                                        COUNT TWENTY-FIVE
  AVOIDANCE AND RECOVERY OF ACTUAL FRAUDULENT TRANSFERS UNDER
                    11 U.S.C. §§ 548(a)(1)(A) AND 550
     (Against Tropical Sunset, Jack Owoc, Jon Owoc, and Stag – in the alternative to Count
                                        Twenty-Two)

           653.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 194-203, and 233-283 above as if fully set forth herein.

           654.     Pursuant to 11 U.S.C. § 548(a)(1)(A), Plaintiff may avoid any transfer (including

any transfer to, or for the benefit of, an insider under an employment contract) of an interest of the

debtor in property or any obligation (including any obligation to, or for the benefit of, an insider

under an employment contract) incurred by the debtor that was made or incurred on or within two



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years before the date of the filing of the petition if the debtor voluntarily or involuntarily made

such transfer or incurred such obligation with actual intent to hinder, delay, or defraud any entity

to which the debtor was or became, on or after the date that such transfer was made or such

obligation was incurred, indebted.

           655.     Tropical Sunset, Jack Owoc, Jon Owoc, and Stag acquired and renovated at least

twelve properties using the Company’ funds.

           656.     For each property, the Company funded the acquisition and (at least some of) the

renovation costs for the properties.

           657.     Upon information and belief, Tropical Sunset is the parent company of each of the

Real Estate LLCs.

           658.     Jack Owoc directed the Company to make the transfers identified in Exhibit G,

totaling approximately $6,962,557, to acquire, renovate, and/or maintain the properties that are

titled in the name of the Real Estate LLCs, and such transfers were actually made during the two-

year period prior to the Petition Date.

           659.     These transfers or obligations incurred were to, and/or for the benefit of, Tropical

Sunset and its owners, Jack Owoc, Jon Owoc, and Stag.

           660.     The Company’s books and records do not clearly identify which transfers were

made in connection with each Real Estate LLC.

           661.     The Company did not receive reasonably equivalent value in exchange for the

transfers.

           662.     Further, at the time of the transfers, the Company was insolvent, inadequately

capitalized, or intended to incur, or believed or reasonably should have believed that it would incur,

debts beyond its ability to pay as they came due.




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           663.     As a result of the circumstances surrounding the transfers, Plaintiff can avoid the

transfers pursuant to 11 U.S.C. § 548(a)(1)(A) and recover the value thereof for the benefit of the

Debtors’ estates pursuant to 11 U.S.C. § 550.

                                         COUNT TWENTY-SIX 5
    AVOIDANCE AND RECOVERY OF CONSTRUCTIVE FRAUDULENT TRANSFERS
          UNDER FUFTA §§ 726.105(1)(b) AND 726.108 AND 11 U.S.C. § 550
       (Against Real Estate Enterprise Defendants – in the alternative to Counts Twenty-Two
                                       through Twenty-Five)

           664.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 194-203, and 233-283 above as if fully set forth herein.

           665.     Pursuant to FUFTA Section 726.105(1)(b), any transfer made or obligation

incurred by a debtor within four years before the date of the filing of the petition may be set aside

as fraudulent if the transfer was made (1) without receiving a reasonably equivalent value in

exchange for the transfer or obligation, and (2) when the debtor intended to incur, or believed or

reasonably should have believed that it would incur, debts beyond its ability to pay as they became

due.

           666.     The Real Estate Enterprise Defendants acquired and renovated at least twelve

properties using the Company’s funds.

           667.     For each property, the Company funded the acquisition and (at least some of) the

renovation costs for the properties.

           668.     Jack Owoc directed the Company to make the transfers identified in Exhibit H,

totaling approximately $37,590,382, to acquire, renovate, and/or maintain the properties that are


5
   During the course of the Receivership Action, Plaintiff has become aware that Tropical Sunset is purportedly the
parent company of each of the Real Estate LLCs pursuant to an oral arrangement between Jack Owoc, Jon Owoc,
Shaw, and Stag. Plaintiff asserts Counts Twenty-Six through Twenty-Nine of the Amended Complaint in the
alternative to Counts Twenty-Two through Twenty-Five in the event this Court, or the Florida state court overseeing
the Receivership Action, determines that the Real Estate LLCs are not in fact wholly-owned subsidiaries of Tropical
Sunset.


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titled in the name of the Real Estate LLCs, and such transfers were actually made during the four-

year period prior to the Petition Date.

           669.     These transfers or obligations incurred were to, and/or for the benefit of, the Real

Estate Enterprise Defendants.

           670.     The Company’s books and records do not clearly identify which transfers were

made in connection with each Real Estate Enterprise Defendant.

           671.     The Company did not receive reasonably equivalent value in exchange for the

transfers.

           672.     Further, at the time of the transfers, the Company was insolvent or intended to incur,

or believed or reasonably should have believed that it would incur, debts beyond its ability to pay

as they came due.

           673.     As a result of the conduct surrounding the transfers, Plaintiff can avoid the transfers

pursuant to Sections 726.105(1)(b) and 726.108 of the FUFTA and recover the value thereof for

the benefit of the Debtors’ estates pursuant to 11 U.S.C. § 550.

                                       COUNT TWENTY-SEVEN
  AVOIDANCE AND RECOVERY OF CONSTRUCTIVE FRAUDULENT TRANSFERS
                  UNDER 11 U.S.C. §§ 548(a)(1)(B) and 550
      (Against Real Estate Enterprise Defendants – in the alternative to Counts Twenty-Two
                                      through Twenty-Five)

           674.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 194-203, and 233-283 above as if fully set forth herein.

           675.     Pursuant to 11 U.S.C. § 548(a)(1)(B), Plaintiff may avoid any transfer (including

any transfer to, or for the benefit of, an insider under an employment contract) of an interest of the

debtor in property or any obligation (including any obligation to, or for the benefit of, an insider

under an employment contract) incurred by the debtor that was made or incurred on or within two


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years before the date of the filing of the petition if the debtor voluntarily or involuntarily (1)

received less than a reasonably equivalent value in exchange for such transfer or obligation and

(2) was insolvent on the date that such transfer was made or such obligation was incurred, or

became insolvent as a result of such transfer or obligation; or was engaged in business or a

transaction, or was about to engage in business or a transaction, for which any property remaining

with the debtor was an unreasonably small capital; or intended to incur, or believed that the debtor

would incur, debts that would be beyond the debtor’s ability to pay as such debts matured; or made

such transfer to or for the benefit of an insider, or incurred such obligation to, or for the benefit of,

an insider, under an employment contract and not in the ordinary course of business.

           676.     The Real Estate Enterprise Defendants acquired and renovated at least twelve

properties using the Company’s funds.

           677.     For each property, the Company funded the acquisition and (at least some of) the

renovation costs for the properties.

           678.     Jack Owoc directed the Company to make the transfers identified in Exhibit I,

totaling approximately $6,962,557, to acquire, renovate, and/or maintain the properties that are

titled in the name of the Real Estate LLCs, and such transfers were actually made during the two-

year period prior to the Petition Date.

           679.     These transfers or obligations incurred were to, and/or for the benefit of, the Real

Estate Enterprise Defendants.

           680.     The Company’s books and records do not clearly identify which transfers were

made in connection with each Real Estate Enterprise Defendant.

           681.     The Company did not receive reasonably equivalent value in exchange for the

transfers.




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           682.     Further, at the time of the transfers, the Company was insolvent, inadequately

capitalized, or intended to incur, or believed or reasonably should have believed that it would incur,

debts beyond its ability to pay as they came due.

           683.     As a result of this conduct, Plaintiff can avoid the transfers pursuant to 11 U.S.C. §

548(a)(1)(B) and recover the value thereof for the benefit of the Debtors’ estates pursuant to 11

U.S.C. § 550.

                                       COUNT TWENTY-EIGHT
  AVOIDANCE AND RECOVERY OF ACTUAL FRAUDULENT TRANSFERS UNDER
           FUFTA §§ 726.105(1)(a) AND 726.108 AND 11 U.S.C. § 550
      (Against Real Estate Enterprise Defendants – in the alternative to Counts Twenty-Two
                                      through Twenty-Five)

           684.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 194-203, and 233-283 above as if fully set forth herein.

           685.     Pursuant to FUFTA Section 726.105(1)(a), any transfer made or obligation incurred

by a debtor within four years before the date of the filing of the petition may be set aside as

fraudulent if the transfer was made with actual intent to hinder, delay, or defraud any creditor of

the debtor.

           686.     The Real Estate Enterprise Defendants acquired and renovated at least twelve

properties using the Company’s funds.

           687.     For each property, the Company funded the acquisition and (at least some of) the

renovation costs for the properties.

           688.     Jack Owoc directed the Company to make the transfers identified in Exhibit H,

totaling approximately $37,590,382, to acquire, renovate, and/or maintain the properties that are

titled in the name of the Real Estate LLCs, and such transfers were actually made during the four-

year period prior to the Petition Date.



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           689.     These transfers or obligations incurred were to, and/or for the benefit of, the Real

Estate Enterprise Defendants.

           690.     The Company’s books and records do not clearly identify which transfers were

made in connection with each Real Estate Enterprise Defendant.

           691.     The Company did not receive reasonably equivalent value in exchange for the

transfers.

           692.     Further, at the time of the transfers, the Company was insolvent or intended to incur,

or believed or reasonably should have believed that it would incur, debts beyond its ability to pay

as they came due.

           693.     As a result of the circumstances surrounding the transfers, Plaintiff can avoid the

transfers pursuant to Sections 726.105(1)(a) and 726.108 of the FUFTA and recover the value

thereof for the benefit of the Debtors’ estates pursuant to 11 U.S.C. § 550.

                                        COUNT TWENTY-NINE
  AVOIDANCE AND RECOVERY OF ACTUAL FRAUDULENT TRANSFERS UNDER
                    11 U.S.C. §§ 548(a)(1)(A) AND 550
      (Against Real Estate Enterprise Defendants – in the alternative to Counts Twenty-Two
                                      through Twenty-Five)

           694.     Plaintiff repeats and realleges each of the allegations set forth in 70-74, 159-184,

194-203, and 233-283 above as if fully set forth herein.

           695.     Pursuant to 11 U.S.C. § 548(a)(1)(A), Plaintiff may avoid any transfer (including

any transfer to, or for the benefit of, an insider under an employment contract) of an interest of the

debtor in property or any obligation (including any obligation to, or for the benefit of, an insider

under an employment contract) incurred by the debtor that was made or incurred on or within two

years before the date of the filing of the petition if the debtor voluntarily or involuntarily made

such transfer or incurred such obligation with actual intent to hinder, delay, or defraud any entity



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to which the debtor was or became, on or after the date that such transfer was made or such

obligation was incurred, indebted.

           696.     The Real Estate Enterprise Defendants acquired and renovated at least twelve

properties using the Company’s funds.

           697.     For each property, the Company funded the acquisition and (at least some of) the

renovation costs for the properties.

           698.     Jack Owoc directed the Company to make the transfers identified in Exhibit I,

totaling approximately $6,962,557, to acquire, renovate, and/or maintain the properties that are

titled in the name of the Real Estate LLCs, and such transfers were actually made during the two-

year period prior to the Petition Date.

           699.     These transfers or obligations incurred were to, and/or for the benefit of, the Real

Estate Enterprise Defendants.

           700.     The Company’s books and records do not clearly identify which transfers were

made in connection with each Real Estate Enterprise Defendant.

           701.     The Company did not receive reasonably equivalent value in exchange for the

transfers.

           702.     Further, at the time of the transfers, the Company was insolvent, inadequately

capitalized, or intended to incur, or believed or reasonably should have believed that it would incur,

debts beyond its ability to pay as they came due.

           703.     As a result of the circumstances surrounding the transfers, Plaintiff can avoid the

transfers pursuant to 11 U.S.C. § 548(a)(1)(A) and recover the value thereof for the benefit of the

Debtors’ estates pursuant to 11 U.S.C. § 550.




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                                             COUNT THIRTY
                   DECLARATORY JUDGMENT PURSUANT TO 28 U.S.C. § 2201
(The Properties Titled in the Name of the Real Estate LLCs, or the Proceeds from the Sales of
                              The Properties Belong to Plaintiff)

           704.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 194-203, and 233-283 as if set forth fully herein.

           705.     The Real Estate LLCs acquired at least twelve properties using the Company’s

funds.

           706.     The Company funded the acquisition and (at least some of) the renovation costs for

the properties, but the Company does not hold legal title to the properties.

           707.     Instead, at Jack Owoc’s direction, the Real Estate LLCs took legal title instead of

the true owner, the Company.

           708.     Upon information and belief, the Real Estate Enterprise Defendants still own the

following properties that were acquired using the Company’s funds:

                    (a)   167 Spyglass Property;

                    (b)   528 Riviera Property;

                    (c)   120 Spyglass Property;

                    (d)   15963 Southwest Property; and

                    (e)   2209 Northeast Property.

           709.     Upon information and belief, the Real Estate Enterprise Defendants acquired the

following properties—which have since been sold—using the Company’s funds:

                    (a)   3 Pelican Property;

                    (b)   32 Pelican Property;

                    (c)   821 Bamboo Property;

                    (d)   528 Coconut Property;


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                    (e)   6850 Melaleuca Property;

                    (f)   Pompano Property;

                    (g)   17301 Southwest Property; and

                    (h)   520 San Marco Property.

           710.     Thus, an actual, substantial, and justiciable controversy exists as to whether the

Plaintiff is the rightful owner of the properties at issue, which it fully funded, and whether it is

entitled to any existing or future sale proceeds resulting from the sale or the potential sale of the

properties.

           711.     This controversy is of sufficient immediacy to warrant judicial relief under the

Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202.

           712.     Plaintiff is entitled to a declaratory judgment that Plaintiff was, or is, the rightful

owner of the real properties at issue and is therefore entitled to any sale proceeds (received or to

be received) from the sale of the properties titled in the name of the Real Estate LLCs.

                                         COUNT THIRTY-ONE
                   DECLARATORY JUDGMENT PURSUANT TO 28 U.S.C. § 2201
  (The Wagon Trail Property, or Proceeds from Any Sale of the Property, Belong to Plaintiff)

           713.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-166, and 313-319 above as if fully set forth herein.

           714.     In 2020, Jack Owoc caused the Company to transfer funds to purchase the Wagon

Trail Property for $1,230,015.99.

           715.     The Company also paid all of the carrying cost for the Wagon Trail Property.

           716.     Although the Company paid the entire purchase price in cash and all of the carrying

costs of the Wagon Trail Property, the property was titled in the name of JHO-NV rather than the

Company.



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           717.     Upon information and belief, JHO-NV still holds title to the Wagon Trail Property.

           718.     Thus, an actual, substantial, and justiciable controversy exists as to whether the

Plaintiff is the rightful owner of the Wagon Trail Property, which it fully funded, and whether it is

entitled to proceeds arising from any future sale of the Wagon Trail Property.

           719.     This controversy is of sufficient immediacy to warrant judicial relief under the

Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202.

           720.     Plaintiff is entitled to a declaratory judgment that Plaintiff was, or is, the rightful

owner of the real property at issue and is therefore entitled to proceeds (received or to be received)

from any sale of the Wagon Trail Property.

                                         COUNT THIRTY-TWO
  AVOIDANCE AND RECOVERY OF CONSTRUCTIVE FRAUDULENT TRANSFERS
        UNDER FUFTA §§ 726.105(1)(b) AND 726.108 AND 11 U.S.C. § 550
                                           (Against Elite Island)

           721.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74,

159–184, and 283–293 above as if fully set forth herein.

           722.     Pursuant to FUFTA Section 726.105(1)(b), any transfer made or obligation

incurred by a debtor within four years before the date of the filing of the petition may be set aside

as fraudulent if the transfer was made (1) without receiving a reasonably equivalent value in

exchange for the transfer or obligation, and (2) when the debtor intended to incur, or believed or

reasonably should have believed that it would incur, debts beyond its ability to pay as they became

due.

           723.     Elite Island acquired the Overseas Highway Property using the Debtors’ funds.

           724.     Although the Debtors funded the entire purchase price for the property and paid for

the maintenance of the property, the Debtors do not hold legal title to the property.




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           725.     Instead, at Jack Owoc’s direction, Elite Island holds legal title to the Overseas

Highway Property instead of the true owner, the Debtors.

           726.     Jack Owoc directed the Company to make the transfers identified in Exhibit J,

totaling approximately $9,748,240, to acquire, renovate, and/or maintain the Overseas Highway

Property, and such transfers were actually made during the four-year period prior to the Petition

Date.

           727.     These transfers or obligations incurred were to, and/or for the benefit of, Elite

Island.

           728.     The Company did not receive reasonably equivalent value in exchange for the

transfers.

           729.     Further, at the time of the transfers, the Company was insolvent or intended to incur,

or believed or reasonably should have believed that it would incur, debts beyond its ability to pay

as they came due.

           730.     As a result of the conduct surrounding the transfers, Plaintiff can avoid the transfers

pursuant to Sections 726.105(1)(b) and 726.108 of the FUFTA and recover the value thereof for

the benefit of the Debtors’ estates pursuant to 11 U.S.C. § 550.

                                        COUNT THIRTY-THREE
  AVOIDANCE AND RECOVERY OF CONSTRUCTIVE FRAUDULENT TRANSFERS
                  UNDER 11 U.S.C. §§ 548(a)(1)(B) and 550
                      (Against Elite Island – in the alternative to Count Thirty-Two)

           731.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74,

159–184, and 283–293 above as if fully set forth herein.

           732.     Pursuant to 11 U.S.C. § 548(a)(1)(B), Plaintiff may avoid any transfer (including

any transfer to, or for the benefit of, an insider under an employment contract) of an interest of the

debtor in property or any obligation (including any obligation to, or for the benefit of, an insider


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under an employment contract) incurred by the debtor that was made or incurred on or within two

years before the date of the filing of the petition if the debtor voluntarily or involuntarily (1)

received less than a reasonably equivalent value in exchange for such transfer or obligation and

(2) was insolvent on the date that such transfer was made or such obligation was incurred, or

became insolvent as a result of such transfer or obligation; or was engaged in business or a

transaction, or was about to engage in business or a transaction, for which any property remaining

with the debtor was an unreasonably small capital; or intended to incur, or believed that the debtor

would incur, debts that would be beyond the debtor’s ability to pay as such debts matured; or made

such transfer to, or for the benefit of, an insider, or incurred such obligation to, or for the benefit

of, an insider, under an employment contract and not in the ordinary course of business.

           733.     Elite Island acquired the Overseas Highway Property using the Company’s funds.

           734.     Although the Company funded the entire purchase price for the property and paid

for the maintenance of the property, the Company does not hold legal title to the property.

           735.     Instead, at Jack Owoc’s direction, Elite Island holds legal title to the Overseas

Highway Property instead of the true owner, the Company.

           736.     Jack Owoc directed the Company to make the transfers identified in Exhibit K,

totaling approximately $1,067,866, to renovate and/or maintain the Overseas Highway Property,

and such transfers were actually made during the two-year period prior to the Petition Date.

           737.     These transfers or obligations incurred were to, and/or for the benefit of, Elite

Island.

           738.     The Company did not receive reasonably equivalent value in exchange for the

transfers.




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           739.     Further, at the time of the transfers, the Company was insolvent, inadequately

capitalized, or intended to incur, or believed or reasonably should have believed that it would incur,

debts beyond its ability to pay as they came due.

           740.     As a result of this conduct, Plaintiff can avoid the transfers pursuant to 11 U.S.C. §

548(a)(1)(B) and recover the value thereof for the benefit of the Debtors’ estates pursuant to 11

U.S.C. § 550.

                                        COUNT THIRTY-FOUR
  AVOIDANCE AND RECOVERY OF ACTUAL FRAUDULENT TRANSFERS UNDER
           FUFTA §§ 726.105(1)(a) AND 726.108 AND 11 U.S.C. § 550
                     (Against Elite Island – in the alternative to Count Thirty-Two)

           741.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74,

159–184, and 283–293 above as if fully set forth herein.

           742.     Pursuant to FUFTA Section 726.105(1)(a), any transfer made or obligation incurred

by a debtor within four years before the date of the filing of the petition may be set aside as

fraudulent if the transfer was made with actual intent to hinder, delay, or defraud any creditor of

the debtor.

           743.     Elite Island acquired the Overseas Highway Property using the Company’s funds.

           744.     Although the Company funded the entire purchase price for the property and paid

for the maintenance of the property, the Company does not hold legal title to the property.

           745.     Instead, at Jack Owoc’s direction, Elite Island holds legal title to the Overseas

Highway Property instead of the true owner, the Company.

           746.     Jack Owoc directed the Company to make the transfers identified in Exhibit J,

totaling approximately $9,748,240, to acquire, renovate, and/or maintain the Overseas Highway

Property, and such transfers were actually made during the four-year period prior to the Petition

Date.


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           747.     These transfers or obligations incurred were to, and/or for the benefit of, Elite

Island.

           748.     The Company did not receive reasonably equivalent value in exchange for the

transfers.

           749.     Further, at the time of the transfers, the Company was insolvent or intended to incur,

or believed or reasonably should have believed that it would incur, debts beyond its ability to pay

as they came due.

           750.     As a result of the circumstances surrounding the transfers, Plaintiff can avoid the

transfers pursuant to Sections 726.105(1)(a) and 726.108 of the FUFTA and recover the value

thereof for the benefit of the Debtors’ estates pursuant to 11 U.S.C. § 550.

                                         COUNT THIRTY-FIVE
  AVOIDANCE AND RECOVERY OF ACTUAL FRAUDULENT TRANSFERS UNDER
                    11 U.S.C. §§ 548(a)(1)(A) AND 550
                     (Against Elite Island – in the alternative to Count Thirty-Two)

           751.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74,

159–184, and 283–293 above as if fully set forth herein.

           752.     Pursuant to 11 U.S.C. § 548(a)(1)(A), Plaintiff may avoid any transfer (including

any transfer to, or for the benefit of, an insider under an employment contract) of an interest of the

debtor in property or any obligation (including any obligation to, or for the benefit of, an insider

under an employment contract) incurred by the debtor that was made or incurred on or within two

years before the date of the filing of the petition if the debtor voluntarily or involuntarily made

such transfer or incurred such obligation with actual intent to hinder, delay, or defraud any entity

to which the debtor was or became, on or after the date that such transfer was made or such

obligation was incurred, indebted.

           753.     Elite Island acquired the Overseas Highway Property using the Company’s funds.


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           754.     Although the Company funded the entire purchase price for the property and paid

for the maintenance of the property, the Company does not hold legal title to the property.

           755.     Instead, at Jack Owoc’s direction, Elite Island holds legal title to the Overseas

Highway Property instead of the true owner, the Company.

           756.     Jack Owoc directed the Company to make the transfers identified in Exhibit K,

totaling approximately $557,090, to renovate and/or maintain the Overseas Highway Property, and

such transfers were actually made during the two-year period prior to the Petition Date.

           757.     These transfers or obligations incurred were to, and/or for the benefit of, Elite

Island.

           758.     The Company did not receive reasonably equivalent value in exchange for the

transfers.

           759.     Further, at the time of the transfers, the Company was insolvent, inadequately

capitalized, or intended to incur, or believed or reasonably should have believed that it would incur,

debts beyond its ability to pay as they came due.

           760.     As a result of the circumstances surrounding the transfers, Plaintiff can avoid the

transfers pursuant to 11 U.S.C. § 548(a)(1)(A) and recover the value thereof for the benefit of the

Debtors’ estates pursuant to 11 U.S.C. § 550.

                                          COUNT THIRTY-SIX
                   DECLARATORY JUDGMENT PURSUANT TO 28 U.S.C. § 2201
(Limiting the Claims of the Commercial LLCs to the Amounts and Priorities of the Scheduled
                                         Claims)

           761.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74,

283–344, and 394–424 above as if fully set forth herein.

           762.     The Commercial LLCs assert a right to payment in these Chapter 11 Cases.

           763.     However, each of the Commercial LLCs failed to file a proof of claim.


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           764.     Therefore, the Commercial LLCs are limited to the amounts and priorities of the

Scheduled Claims.

           765.     The Late Claims, which were filed six (6) months after the Bar Date, amend the

Original Owoc Claims and purport to assert claims on behalf of the Commercial LLCs.

           766.     However, the Original Owoc Claims were filed by Jack Owoc solely in his

individual capacity and did not include the Commercial LLCs’ Claims.

           767.     Even if the Late Claims are determined to have been properly filed on behalf of the

Commercial LLCs, the Late Claims—as they relate to the Commercial LLCs—were untimely

because they were filed months after the Bar Date.

           768.     Additionally, the Commercial LLCs’ claims contained in the Late Claims set forth

wholly new grounds of liability and, for the first time, assert secured status and, therefore, do not

relate back to the Original Owoc Claims.

           769.     All of the Debtors’ creditors are or will be prejudiced by the filing of the Late

Claims.

           770.     Thus, an actual, substantial, and justiciable controversy exists as to whether the

Commercial LLCs filed valid and timely proofs of claim through Jack Owoc’s filing of the Late

Claims.

           771.     This controversy is of sufficient immediacy to warrant judicial relief under the

Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202.

           772.     The Plaintiff is entitled to a declaratory judgment that the Commercial LLCs’

Claims on account of prepetition debts against the Debtors’ estates are limited to the amounts and

priorities of the Scheduled Claims.




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           773.     Plaintiff expressly reserves its right to supplement or amend this objection to the

Scheduled Claims. Plaintiff hereby reserves all objections and defenses to the Scheduled Claims.

                                        COUNT THIRTY-SEVEN
                   DECLARATORY JUDGMENT PURSUANT TO 28 U.S.C. § 2201
                           (The Disputed Sheridan Funds Belong to Plaintiff)

           774.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70–74,

298–314, 425–437 above if fully set forth herein.

           775.     In the Sheridan Application, Sheridan A and Jack Owoc assert that they are entitled

to the Disputed Sheridan Funds.

           776.     However, the Company’s funds were used to purchase the Sheridan A Property.

           777.     The Company also paid for all carrying costs, including real property taxes, related

to the Sheridan A Property.

           778.     The DIP Order required the Debtors to pay postpetition obligations related to the

Sheridan A Property and that, upon the sale closing of the Sheridan A Property, the sale proceeds

were required to be used to reimburse the Debtors for the postpetition carrying costs.

           779.     Thus, an actual, substantial, and justiciable controversy exists as to whether the

Plaintiff is the rightful owner of the Disputed Sheridan Funds.

           780.     This controversy is of sufficient immediacy to warrant judicial relief under the

Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202.

           781.     Plaintiff is entitled to a declaratory judgment that Plaintiff owns, and is therefore

entitled to control over, the Disputed Sheridan Funds and that Sheridan A and Jack Owoc have no

right to the Disputed Sheridan Funds.




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                                        COUNT THIRTY-EIGHT
                   DECLARATORY JUDGMENT PURSUANT TO 28 U.S.C. § 2201
                                (JHO Real Estate LLC is Not a Claimant)

           782.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 283–

344 and 394-424 above as if fully set forth herein.

           783.     The Late Claims purport to assert a claim on behalf of “JHO Real Estate LLC.”

           784.     No such entity exists.

           785.     No such entity appears on the Claims Register or on the Debtors’ Schedules.

           786.     Thus, an actual, substantial, and justiciable controversy exists as to whether the

JHO Real Estate LLC is a claimant in these Chapter 11 Cases.

           787.     This controversy is of sufficient immediacy to warrant judicial relief under the

Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202.

           788.     The Plaintiff is entitled to a declaratory judgment that JHO Real Estate LLC is not

a claimant or creditor in these Chapter 11 Cases.

                                         COUNT THIRTY-NINE
                     DISALLOWANCE OF CLAIMS UNDER 11 U.S.C. § 502(d)
                             (Against Jack Owoc and the Commercial LLCs)

           789.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 70-74, 283-344, and 394-424 above as if fully set forth herein.

           790.     The Debtors listed the Scheduled Claims on behalf of the Commercial LLCs.

           791.     On December 19, 2022, Jack Owoc filed the Owoc Unliquidated Claim [Claim No.

663] and the Original Owoc Claims [Claim Nos. 639, 653, 654, 655, 656, 657, and 664] on behalf

of himself.




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           792.     On July 12, 2023, Jack Owoc filed the Late Claims [Claim Nos. 767, 768, 769, 770,

771, and 772] purportedly on behalf of himself, the Commercial LLCs, and “JHO Real Estate

LLC.”

           793.     On October 13, 2023, Jack Owoc and Sheridan A also filed the Asserted Admin

Claim.

           794.     Jack Owoc and the Commercial LLCs (which includes Sheridan A) are transferees

of transfers avoidable under 11 U.S.C. §§ 547 and/or 548 (the “Avoidable Transfers”), which

property is recoverable under 11 U.S.C. § 550.

           795.     Jack Owoc has not paid back the amount of the Avoidable Transfers, or turned over

such property, for which he is liable under 11 U.S.C. § 550.

           796.     The Commercial LLCs have not paid back the amount of the Avoidable Transfers,

or turned over such property, for which they are liable under 11 U.S.C. § 550.

           797.     Pursuant to 11 U.S.C. § 502(d), the Owoc Unliquidated Claim, the Original Owoc

Claims, the Late Claims, and the Asserted Admin Claim against the Debtors’ estates must be

disallowed until such time as Jack Owoc pays back to the Plaintiff an amount equal to the aggregate

amount of the Avoidable Transfers that he received, plus interest thereon and costs.

           798.     Pursuant to 11 U.S.C. § 502(d), the Late Claims against the Debtors’ estates and

the Scheduled Claims must be disallowed until such time as the Commercial LLCs pay back to the

Plaintiff an amount equal to the aggregate amount of the Avoidable Transfers that they received,

plus interest thereon and costs.

           799.     Pursuant to 11 U.S.C. § 502(d), the Asserted Admin Claim against the Debtors’

estates must be disallowed until such time as Sheridan A pays back to the Plaintiff an amount equal

to the aggregate amount of the Avoidable Transfers that it received, plus interest thereon and costs.




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           800.     For all of the reasons stated herein, the Owoc Unliquidated Claim, the Original

Owoc Claims, the Late Claims, the Asserted Admin Claim, and the Scheduled Claims should be

disallowed and expunged in their entirety pursuant to 11 U.S.C. § 502(d).

                                             COUNT FORTY
     DISALLOWANCE OF THE AMENDED AND SUPERSEDED ORIGINAL OWOC
                             CLAIMS
                            (Claim Nos. 639, 653, 654, 655, 656, 657, and 664)

           801.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 70-74, 283-344, and 394-424 above as if fully set forth herein.

           802.     On July 12, 2023, Jack Owoc filed the Late Claims.

           803.     Each of the Late Claims indicate that they amend a previously-filed claim in the

Chapter 11 Cases.

           804.     All of the Original Owoc Claims were amended and superseded by the Late Claims.

           805.     Accordingly, each of the Original Owoc Claims should be disallowed and

expunged in its entirety.

                                          COUNT FORTY-ONE
                    DISALLOWANCE OF THE LATE CLAIMS PURSUANT TO
                              11 U.S.C. § 502(b), (e), AND (j)
                              (Claim Nos. 767, 768, 769, 770, 771, and 772)

           806.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 70-74, 283-344, and 394-424 above as if fully set forth herein.

           807.     Jack Owoc filed the Late Claims, which purported to amend the Original Owoc

Claims and add claims purportedly held by himself and the Commercial LLCs, in the Chapter 11

Cases.

           808.     The Commercial LLCs failed to file any proofs of claim prior to the Bar Date.




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           809.     The Commercial LLCs’ Claims were not timely asserted and do not relate back to

the claims asserted in the Original Owoc Claims because the Late Claims set forth wholly-new

grounds of liability and, for the first time, assert secured status.

           810.     The litigations for which Jack Owoc and/or the Commercial LLCs seek indemnity

were either (i) caused by Jack Owoc’s own bad acts, or (ii) Jack Owoc was the cause of the harms

asserted in the litigations, and for certain litigations, Jack Owoc was found jointly and severally

liable.

           811.     Further, as alleged herein, Jack Owoc committed multiple breaches of his fiduciary

duties owed to the Company, including the duty to act in good faith, in connection with, but not

limited to, the Super Creatine Scheme, the False Advertising Judgment, the OBI/Monster

Judgment, the establishment of the Owoc Real Estate Enterprise, the Commercial LLC property

scheme, and postpetition misconduct and unauthorized transfers of the Debtors’ assets, including

its intellectual property assets.

           812.     Ultimately, Jack Owoc was terminated as the Debtors’ CEO on March 9, 2023 on

account of his misconduct and related breaches of his fiduciary duties of loyalty and good faith.

           813.     Because of this misconduct and his repeated breaches of his fiduciary duties, Jack

Owoc is not entitled to payment on account of the Late Claims.

           814.     The Debtors also have no obligation to reimburse Jack Owoc or the Commercial

LLCs for any use of Jack Owoc’s Southwest Ranches home, as any use of the home was pursuant

to Jack Owoc’s directives and not for the benefit of the Company.

           815.     Further, the Debtors have no obligation to pay Jack Owoc’s income tax liabilities,

as Jack Owoc is not a party to any tax sharing agreement or the like that would create such

obligation for the Company.




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           816.     In addition, all assets currently and formerly held by the Commercial LLCs were

paid for, and maintained by, the Company and transferred to, or acquired by, the Commercial

LLCs at Jack Owoc’s direction for no consideration, and neither Jack Owoc nor the Commercial

LLCs are entitled to any of the sale proceeds related to any of the Commercial LLCs’ assets.

           817.     Jack Owoc and the Commercial LLCs did not provide any documents to establish

the amount or priority—secured or otherwise—of the Late Claims.

           818.     Moreover, Jack Owoc and the Commercial LLCs did not provide any support or

evidence that they have any subrogation rights.

           819.     Therefore, the Late Claims should be disallowed under 11 U.S.C. § 502(b), (e), and

(j).

           820.     Plaintiff expressly reserves its right to supplement or amend this objection to the

Late Claims. Plaintiff hereby reserves all objections and defenses to the Late Claims.

                                         COUNT FORTY-TWO
       DISALLOWANCE OF THE OWOC UNLIQUIDATED CLAIM PURSUANT TO
                        11 U.S.C. § 502(b), (e), AND (j)
                                              (Claim No. 663)

           821.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 70-74, 283-344, and 394-424 above as if fully set forth herein.

           822.     The litigations for which Jack Owoc seeks indemnity were either (i) caused by Jack

Owoc’s own bad acts, or (ii) Jack Owoc was the cause of the harms asserted in the litigations, and

for certain litigations, Jack Owoc was found jointly and severally liable.

           823.     Further, Jack Owoc committed multiple breaches of his fiduciary duties to the

Company, including the duty to act in good faith, in connection with, but not limited to, the Super

Creatine Scheme, the False Advertising Judgment, the OBI/Monster Judgment, the establishment

of the Owoc Real Estate Enterprise, the Commercial LLC property scheme, and postpetition


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misconduct and unauthorized transfers of the Debtors’ assets, including its intellectual property

assets.

           824.     Ultimately, Jack Owoc was terminated as the Debtors’ CEO on March 9, 2023 on

account of his misconduct and related breaches of his fiduciary duties of loyalty and good faith.

           825.     Because of this misconduct and his repeated breaches of his fiduciary duties, Jack

Owoc is not entitled to payment on account of the Owoc Unliquidated Claim.

           826.     The Debtors also have no obligation to reimburse Jack Owoc for any use of Jack

Owoc’s Southwest Ranches home, as any use of the home was pursuant to Jack Owoc’s directives

and not for the benefit of the Company.

           827.     Further, the Debtors have no obligation to pay Jack Owoc’s income tax liabilities,

as Jack Owoc is not party to any tax sharing agreement or the like that would create such obligation

for the Company.

           828.     All assets currently and formerly held by the Commercial LLCs were paid for, and

maintained by, the Company and transferred to, or acquired by, the Commercial LLCs at Jack

Owoc’s direction for no consideration, and neither Jack Owoc nor the Commercial LLCs are

entitled to any funds in connection with the sale proceeds of any of the Commercial LLCs’ assets.

           829.     Therefore, the Owoc Unliquidated Claim should be disallowed under 11 U.S.C. §

502(b), (e), and (j).

           830.     Plaintiff expressly reserves its right to supplement or amend this objection to the

Owoc Unliquidated Claim. Plaintiff hereby reserves all objections and defenses to the Owoc

Unliquidated Claim.




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                                        COUNT FORTY-THREE
             DISALLOWANCE OF THE RENT-RELATED CLAIMS PURSUANT TO
                          11 U.S.C. § 502(b), (d), (e), AND (j)
                                         (Claim Nos. 767 and 770)

           831.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 70-74, 283-344, and 394-424 above as if fully set forth herein.

           832.     Jack Owoc filed the Late Claims, which purported to amend the Original Owoc

Claims, in the Chapter 11 Cases.

           833.     Two of the Late Claims contain the Rent-Related Claims, which assert that Jack

Owoc, on behalf of himself, Sheridan A, and “JHO Real Estate LLC,” has claims for the

Postpetition Rent and the Prepetition Unpaid Rent.

           834.     “JHO Real Estate LLC” does not appear to be a legal entity.

           835.     The Rent-Related Claims were not timely asserted and do not relate back to the

claims asserted in the Original Owoc Claims because the Rent-Related Claims set forth wholly-

new grounds of liability.

           836.     Jack Owoc, Sheridan A, and “JHO Real Estate LLC” have no entitlement to any

purported pre or postpetition unpaid rent in connection with the AZ Property or the Sheridan A

Property.

           837.     The Rent-Related Claims assert in part administrative claims but were filed prior

to the establishment of any administrative claim bar date, and no motion for payment of an

administrative claim was filed.

           838.     The AZ Property is property of the Estates, and neither Jack Owoc nor “JHO Real

Estate LLC” have established that they are entitled to pre or postpetition rent for the property.

           839.     Only parties with the proper authority may assert intercompany rent obligations.




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           840.     At the time the Rent-Related Claims were filed, Jack Owoc did not have the

authority to assert an intercompany rent obligation.

           841.     Further, Jack Owoc committed multiple breaches of his fiduciary duties owed to

the Debtors, including the duty to act in good faith, in connection with, but not limited to, the Super

Creatine Scheme, the False Advertising Judgment, the OBI/Monster Judgment, the establishment

of the Owoc Real Estate Enterprise, the Commercial LLC property scheme, and postpetition

misconduct and unauthorized transfers of the Debtors’ assets, including its intellectual property

assets.

           842.     Ultimately, Jack Owoc was terminated as the Debtors’ CEO on March 9, 2023 on

account of his misconduct and related breaches of his fiduciary duties of loyalty and good faith.

           843.     Because of this misconduct and his repeated breaches of his fiduciary duties, Jack

Owoc is not entitled to payment on account of the Rent-Related Claims.

           844.     Jack Owoc and the Commercial LLCs did not provide any documents to establish

the amount or priority of the Rent-Related Claims.

           845.     Therefore, the Rent-Related Claims should be disallowed under 11 U.S.C. § 502(b),

(e), and (j).

           846.     Plaintiff expressly reserves its right to supplement or amend this objection to the

Rent-Related Claims. Plaintiff hereby reserves all objections and defenses to Rent-Related

Claims.




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                                         COUNT FORTY-FOUR
            DISALLOWANCE OF THE ASSERTED ADMIN CLAIM PURSUANT TO
                           11 U.S.C. § 502(b), (e), AND (j)

                                      (Dkt. 1998 and Claim No. 885)

           847.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

159-184, 70-74, 283-344, and 394-424.

           848.     Jack Owoc and Sheridan A purport to be claimants with a right to payment on

account of the Asserted Admin Claim.

           849.     Jack Owoc does not have, and has never had, legal title to the Sheridan A Property.

           850.     The Sheridan A Property was purchased using the Company’s funds and monies

borrowed by the Company from Truist.

           851.     The Company paid for all of the pre and postpetition carry costs for the Sheridan A

Property.

           852.     Pursuant to the unambiguous terms of the DIP Order, the sale proceeds are required

to be used in part to reimburse the Debtors for the postpetition costs and expenses related to the

Sheridan A Property.

           853.     The DIP Order similarly provided that a portion of the sale proceeds for the Lithia

Springs Property would be used to reimburse the Company for postpetition carrying costs

associated with that Property.

           854.     Unlike the Sheridan A Property, Jack Owoc in fact signed the closing statement for

the like Lithia Springs Property, and the Debtors received the anticipated funds.

           855.     For all of the reasons stated herein, the Asserted Admin Claim should be disallowed

and expunged in its entirety pursuant to 11 U.S.C. § 502(b), (e), and (j).




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           856.     Plaintiff expressly reserves its right to supplement or amend this objection to the

Asserted Admin Claim. Plaintiff hereby reserves all objections and defenses to the Asserted

Admin Claim.

                                          COUNT FORTY-FIVE
                        RECHARACTERIZATION OF THE LATE CLAIMS

                              (Claim Nos. 767, 768, 769, 770, 771, and 772)

           857.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

and 83-424 if fully set forth herein.

           858.     At all relevant times, Jack Owoc was the CEO, sole shareholder, and sole

board/managing member of each of the Debtors and in control of the Debtors and the Commercial

LLCs.

           859.     At all relevant times, there was an unmistakable identity of interest between the

Debtors and the Commercial LLCs.

           860.     At the time that the alleged obligations were incurred, the Debtors were insolvent

and/or in a precarious financial condition, due to the inevitable and impending discovery of the

Super Creatine Scheme, the establishment of the Owoc Real Estate Enterprise, and the contingent

liabilities from the Company’s pending litigations, including but not limited to, the Monster

Lawsuit and the OBI/Monster Arbitration.

           861.     The Debtors were undercapitalized at the time when the Late Claims purportedly

arose.

           862.     No disinterested lender would have made a loan to the Debtors under the

circumstances at the time that the Late Claims purportedly arose.

           863.     For all of the reasons stated herein, the Late Claims should be recharacterized as

equity pursuant to 11 U.S.C. §§ 105(a) and 502(b)(1).


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                                          COUNT FORTY-SIX
              RECHARACTERIZATION OF THE OWOC UNLIQUIDATED CLAIM

                                              (Claim No. 663)

           864.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

and 83-424 if fully set forth herein.

           865.     At all relevant times, Jack Owoc was the CEO, sole shareholder, and sole

board/managing member of each of the Debtors and in control of the Debtors and the Commercial

LLCs.

           866.     At all relevant times, there was an unmistakable identity of interest between the

Debtors and the Commercial LLCs.

           867.     At the time that the alleged obligations were incurred, the Debtors were insolvent

and/or in a precarious financial condition, due to the inevitable and impending discovery of the

Super Creatine Scheme, the establishment of the Owoc Real Estate Enterprise, and the contingent

liabilities from the Company’s pending litigations, including but not limited to, the Monster

Lawsuit and the OBI/Monster Arbitration.

           868.     The Debtors were undercapitalized at the time when the Late Claims purportedly

arose.

           869.     No disinterested lender would have made a loan to the Debtors under the

circumstances at the time that the Late Claims purportedly arose.

           870.     For all of the reasons stated herein, the Owoc Unliquidated Claim should be

recharacterized as equity pursuant to 11 U.S.C. §§ 105(a) and 502(b)(1).




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                                        COUNT FORTY-SEVEN
                   RECHARACTERIZATION OF THE RENT-RELATED CLAIMS

                                         (Claim Nos. 767 and 770)

           871.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

and 83-424 if fully set forth herein.

           872.     At all relevant times, Jack Owoc was the CEO, sole shareholder, and sole

board/managing member of each of the Debtors and in control of the Debtors and the Commercial

LLCs.

           873.     At all relevant times, there was an unmistakable identity of interest between the

Debtors and the Commercial LLCs.

           874.     At the time that the alleged obligations were incurred, the Debtors were insolvent

and/or in a precarious financial condition, due to the inevitable and impending discovery of the

Super Creatine Scheme, the establishment of the Owoc Real Estate Enterprise, and the contingent

liabilities from the Company’s pending litigations, including but not limited to, the Monster

Lawsuit and the OBI/Monster Arbitration.

           875.     The Debtors were undercapitalized at the time when the Late Claims purportedly

arose.

           876.     No disinterested lender would have made a loan to the Debtors under the

circumstances at the time that the Late Claims purportedly arose.

           877.     For all of the reasons stated herein, the Rent-Related Claims should be

recharacterized as equity pursuant to 11 U.S.C. §§ 105(a) and 502(b)(1).




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                                        COUNT FORTY-EIGHT
                  RECHARACTERIZATION OF THE ASSERTED ADMIN CLAIM
                                      (Dkt. 1998 and Claim No. 885)

           878.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

and 83-424 if fully set forth herein.

           879.     No documentation exists, nor ever existed, showing any purported obligation by

Vital to pay rent to Sheridan A for the use of the Sheridan A Property.

           880.     The lease “agreement” providing for rent payments for the use of the Sheridan A

Property between Quash and Sheridan A was signed solely by Jack Owoc as the person on both

sides of the transaction.

           881.     In addition to paying for the Sheridan A Property, at all relevant times, the

Company paid all carrying costs for the Sheridan A Property.

           882.     At all relevant times, Jack Owoc was CEO, sole shareholder, and sole

board/managing member of each of the Debtors and in control of the Debtors and Sheridan A.

           883.     At all relevant times, there was an unmistakable identity of interest between the

Debtors and Sheridan A.

           884.     At the time that the alleged obligations were incurred, the Debtors were insolvent

and/or in a precarious financial condition, due to the inevitable and impending discovery of the

Super Creatine Scheme, the establishment of the Owoc Real Estate Enterprise, and the contingent

liabilities from the Company’s pending litigations, including but not limited to, the Monster

Lawsuit and the OBI/Monster Arbitration.

           885.     The Debtors were undercapitalized at the time when the Late Claims purportedly

arose.




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           886.     No disinterested lender would have made a loan to the Debtors under the

circumstances at the time that the Late Claims purportedly arose.

           887.     For all of the reasons stated herein, the Asserted Admin Claim should be

recharacterized as equity pursuant to 11 U.S.C. §§ 105(a) and 502(b)(1).

                                         COUNT FORTY-NINE
                    RECHARACTERIZATION OF THE SCHEDULED CLAIMS
           888.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

and 83-424 if fully set forth herein.

           889.     At all relevant times, Jack Owoc was the CEO, sole shareholder, and sole

board/managing member of each of the Debtors and in control of the Debtors and the Commercial

LLCs.

           890.     At all relevant times, there was an unmistakable identity of interest between the

Debtors and the Commercial LLCs.

           891.     At the time that the alleged obligations were incurred, the Debtors were insolvent

and/or in a precarious financial condition, due to the inevitable and impending discovery of the

Super Creatine Scheme, the establishment of the Owoc Real Estate Enterprise, and the contingent

liabilities from the Company’s pending litigations, including but not limited to, the Monster

Lawsuit and the OBI/Monster Arbitration.

           892.     The Debtors were undercapitalized at the time when the Late Claims purportedly

arose.

           893.     No disinterested lender would have made a loan to the Debtors under the

circumstances at the time that the Late Claims purportedly arose.

           894.     For all of the reasons stated herein, the Scheduled Claims should be recharacterized

as equity pursuant to 11 U.S.C. §§ 105(a) and 502(b)(1).



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                                              COUNT FIFTY
                     EQUITABLE SUBORDINATION OF THE LATE CLAIMS
                             PURSUANT TO 11 U.S.C. § 510(c)

                              (Claim Nos. 767, 768, 769, 770, 771, and 772)

           895.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

and 83-424 if fully set forth herein.

           896.     The equities in these Chapter 11 Cases demand that the amounts allegedly owed to

Jack Owoc and his wholly-owned Commercial LLCs should be subordinated to all other claims,

except those of equity interest holders under 11 U.S.C. § 510(c).

           897.     At all times relevant hereto, Jack Owoc and the Commercial LLCs were either a

statutory “insider” of the Debtors, as such term is defined in 11 U.S.C. § 101(31), or alternatively,

a de facto insider of the Debtors.

           898.     Jack Owoc, as an insider with effective control over the Debtors and the Board and

in his capacity as an alleged creditor, has engaged in substantial value destructive and inequitable

misconduct, both pre and postpetition, that specifically harmed the Debtors and all of their key

stakeholders, including, but not limited to:

                    (a)   Concealment of the key terms and provisions contained in the 2010
                          Settlement Agreement from the Debtors and their employees, distributors,
                          retailers, and the like;

                    (b)   Causing the Debtors to perpetrate a fraud on the public and knowingly
                          infringe on OBI’s intellectual property for over a decade;

                    (c)   Willfully and deliberately engaging in the Super Creatine Scheme in violation
                          of the Lanham Act and causing the Debtors to do the same;

                    (d)   Treating the Debtors’ resources as his own including, for example, through
                          the use of the Debtors’ employees to do personal tasks for his sole benefit;

                    (e)   Funneling money out of the Debtors while they were in a severely
                          compromised financial condition and/or insolvent, including by transferring
                          title of commercial real property belonging to the Debtors to the Commercial



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                          LLCs and acquiring residential real property in the name of non-Debtor
                          affiliates using the Debtors’ funds;

                    (f)   Attempting to move the Company’s intellectual property assets, such as the
                          “Bang” mark, between various entities in order to shield such valuable assets
                          from potential creditors;

                    (g)   Unilaterally causing the Debtors to breach their agreements with distributors,
                          vendors, and other contract counter-parties, including Pepsi;

                    (h)   Causing assets of the Debtors’ estates to be transferred to third parties without
                          Court authority or the requisite Board approval; and

                    (i)   Attempting to thwart the Debtors’ management and their professionals’
                          efforts during the Chapter 11 Cases to maximize the value of the Debtors’
                          assets for the benefit of all stakeholders.

           899.     As a result of Jack Owoc’s misconduct, all creditors in these Chapter 11 Cases have

been materially harmed. Without subordination, Jack Owoc and the Commercial LLCs would

unfairly benefit over the interest of other creditors.

           900.     Equitable subordination of the Late Claims to all other claims, except those of

equity interest holders, is consistent with the provisions of the Bankruptcy Code. Jack Owoc and

the Commercial LLCs should not be permitted to profit from his fraud on the public and an illicit

scheme to funnel money out of the Debtors that Jack Owoc willingly and intentionally wrought

upon the Debtors and their creditors, in violation of his fiduciary duties and to the detriment of the

Debtors’ estates and creditors.

           901.     For all of the reasons stated herein, the Late Claims should be equitably

subordinated to all other claims, except those of equity interest holders under 11 U.S.C. § 510(c).




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                                          COUNT FIFTY-ONE
         EQUITABLE SUBORDINATION OF THE OWOC UNLIQUIDATED CLAIM
                        PURSUANT TO 11 U.S.C. § 510(c)

                                              (Claim No. 663)

           902.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

and 83-424 if fully set forth herein.

           903.     The equities in these Chapter 11 Cases demand that the amounts allegedly owed to

Jack Owoc should be subordinated to all other claims, except those of equity interest holders under

11 U.S.C. § 510(c).

           904.     At all times relevant hereto, Jack Owoc was either a statutory “insider” of the

Debtors, as such term is defined in 11 U.S.C. § 101(31), or alternatively, a de facto insider of the

Debtors.

           905.     Jack Owoc, as an insider with effective control over the Debtors and the Board and

in his capacity as an alleged creditor, has engaged in substantial value destructive and inequitable

misconduct, both pre and postpetition, that specifically harmed the Debtors and all of their key

stakeholders, including, but not limited to:

                    (a)   Concealment of the key terms and provisions contained in the 2010
                          Settlement Agreement from the Debtors and their employees, distributors,
                          retailers, and the like;

                    (b)   Causing the Debtors to perpetrate a fraud on the public and knowingly
                          infringe on OBI’s intellectual property for over a decade;

                    (c)   Willfully and deliberately engaging in the Super Creatine Scheme in violation
                          of the Lanham Act and causing the Debtors to do the same;

                    (d)   Treating the Debtors’ resources as his own including, for example, through
                          the use of the Debtors’ employees to do personal tasks for his sole benefit;

                    (e)   Funneling money out of the Debtors while they were in a severely
                          compromised financial condition and/or insolvent, including by transferring
                          title of commercial real property belonging to the Debtors to the Commercial



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                          LLCs and acquiring residential real property in the name of non-Debtor
                          affiliates using the Debtors’ funds;

                    (f)   Attempting to move the Company’s intellectual property assets, such as the
                          “Bang” mark, between various entities in order to shield such valuable assets
                          from potential creditors;

                    (g)   Unilaterally causing the Debtors to breach their agreements with distributors,
                          vendors, and other contract counter-parties, including Pepsi;

                    (h)   Causing assets of the Debtors’ estates to be transferred to third parties without
                          Court authority or the requisite Board approval; and

                    (i)   Attempting to thwart the Debtors’ management and their professionals’
                          efforts during the Chapter 11 Cases to maximize the value of the Debtors’
                          assets for the benefit of all stakeholders.

           906.     As a result of Jack Owoc’s misconduct, all creditors in these Chapter 11 Cases have

been materially harmed. Without subordination, Jack Owoc would unfairly benefit over the

interest of other creditors.

           907.     Equitable subordination of the Owoc Unliquidated Claim to all other claims, except

those of equity interest holders, is consistent with the provisions of the Bankruptcy Code. Jack

Owoc should not be permitted to profit from the results of his fraud on the public and an illicit

scheme to funnel money out of the Debtors that Jack Owoc willingly and intentionally wrought

upon the Debtors and their creditors, in violation of his fiduciary duties and to the detriment of the

Debtors’ estates and creditors.

           908.     For all of the reasons stated herein, the Owoc Unliquidated Claim should be

equitably subordinated to all other claims, except those of equity interest holders under 11 U.S.C.

§ 510(c).




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                                          COUNT FIFTY-TWO
              EQUITABLE SUBORDINATION OF THE RENT-RELATED CLAIMS
                           PURSUANT TO 11 U.S.C. § 510(c)

                                         (Claim Nos. 767 and 770)

           909.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

and 83-424 if fully set forth herein.

           910.     The equities in these Chapter 11 Cases demand that the amounts allegedly owed to

Jack Owoc and Sheridan A should be subordinated to all other claims, except those of equity

interest holders under 11 U.S.C. § 510(c).

           911.     At all times relevant hereto, Jack Owoc and Sheridan A were either a statutory

“insider” of the Debtors, as such term is defined in 11 U.S.C. § 101(31), or alternatively, a de facto

insider of the Debtors.

           912.     Jack Owoc, as an insider with effective control over the Debtors and the Board and

in his capacity as an alleged creditor, has engaged in substantial value destructive and inequitable

misconduct, both pre and postpetition, that specifically harmed the Debtors and all of their key

stakeholders, including, but not limited to:

                    (a)   Concealment of the key terms and provisions contained in the 2010
                          Settlement Agreement from the Debtors and their employees, distributors,
                          retailers, and the like;

                    (b)   Causing the Debtors to perpetrate a fraud on the public and knowingly
                          infringe on OBI’s intellectual property for over a decade;

                    (c)   Willfully and deliberately engaging in the Super Creatine Scheme in violation
                          of the Lanham Act and causing the Debtors to do the same;

                    (d)   Treating the Debtors’ resources as his own including, for example, through
                          the use of the Debtors’ employees to do personal tasks for his sole benefit;

                    (e)   Funneling money out of the Debtors while they were in a severely
                          compromised financial condition and/or insolvent, including by transferring
                          title of commercial real property belonging to the Debtors to the Commercial



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                          LLCs and acquiring residential real property in the name of non-Debtor
                          affiliates using the Debtors’ funds;

                    (f)   Attempting to move the Company’s intellectual property assets, such as the
                          “Bang” mark, between various entities in order to shield such valuable assets
                          from potential creditors;

                    (g)   Unilaterally causing the Debtors to breach their agreements with distributors,
                          vendors, and other contract counter-parties, including Pepsi;

                    (h)   Causing assets of the Debtors’ estates to be transferred to third parties without
                          Court authority or the requisite Board approval; and

                    (i)   Attempting to thwart the Debtors’ management and their professionals’
                          efforts during the Chapter 11 Cases to maximize the value of the Debtors’
                          assets for the benefit of all stakeholders.

           913.     As a result of Jack Owoc’s misconduct, all creditors in these Chapter 11 Cases have

been materially harmed. Without subordination, Jack Owoc and Sheridan A would unfairly benefit

over the interest of other creditors.

           914.     Equitable subordination of the Rent-Related Claims to all other claims, except those

of equity interest holders, is consistent with the provisions of the Bankruptcy Code. Jack Owoc

and Sheridan A should not be permitted to profit from the results of his fraud on the public and an

illicit scheme to funnel money out of the Debtors that Jack Owoc willingly and intentionally

wrought upon the Debtors and their creditors, in violation of his fiduciary duties and to the

detriment of the Debtors’ estates and creditors.

           915.     For all of the reasons stated herein, the Rent-Related Claims should be equitably

subordinated to all other claims, except those of equity interest holders under 11 U.S.C. § 510(c).




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                                         COUNT FIFTY-THREE
             EQUITABLE SUBORDINATION OF THE ASSERTED ADMIN CLAIM
                          PURSUANT TO 11 U.S.C. § 510(c)

                                      (Dkt. 1998 and Claim No. 885)

           916.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

and 83-424 if fully set forth herein.

           917.     The equities in these Chapter 11 Cases demand that the amounts allegedly owed to

Jack Owoc and Sheridan A should be subordinated to all other claims, except those of equity

interest holders under 11 U.S.C. § 510(c).

           918.     At all times relevant hereto, Jack Owoc and Sheridan A were either a statutory

“insider” of the Debtors, as such term is defined in 11 U.S.C. § 101(31), or alternatively, a de facto

insider of the Debtors.

           919.     Jack Owoc, as an insider with effective control over the Debtors and the Board and

in his capacity as an alleged creditor, has engaged in substantial value destructive and inequitable

misconduct, both pre and postpetition, that specifically harmed the Debtors and all of their key

stakeholders, including, but not limited to:

                    (a)   Concealment of the key terms and provisions contained in the 2010
                          Settlement Agreement from the Debtors and their employees, distributors,
                          retailers, and the like;

                    (b)   Causing the Debtors to perpetrate a fraud on the public and knowingly
                          infringe on OBI’s intellectual property for over a decade;

                    (c)   Willfully and deliberately engaging in the Super Creatine Scheme in violation
                          of the Lanham Act and causing the Debtors to do the same;

                    (d)   Treating the Debtors’ resources as his own including, for example, through
                          the use of the Debtors’ employees to do personal tasks for his sole benefit;

                    (e)   Funneling money out of the Debtors while they were in a severely
                          compromised financial condition and/or insolvent, including by transferring
                          title of commercial real property belonging to the Debtors to the Commercial



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                          LLCs and acquiring residential real property in the name of non-Debtor
                          affiliates using the Debtors’ funds;

                    (f)   Attempting to move the Company’s intellectual property assets, such as the
                          “Bang” mark, between various entities in order to shield such valuable assets
                          from potential creditors;

                    (g)   Unilaterally causing the Debtors to breach their agreements with distributors,
                          vendors, and other contract counter-parties, including Pepsi;

                    (h)   Causing assets of the Debtors’ estates to be transferred to third parties without
                          Court authority or the requisite Board approval; and

                    (i)   Attempting to thwart the Debtors’ management and their professionals’
                          efforts during the Chapter 11 Cases to maximize the value of the Debtors’
                          assets for the benefit of all stakeholders.

           920.     As a result of Jack Owoc’s misconduct, all creditors in these Chapter 11 Cases have

been materially harmed. Without subordination, Jack Owoc and Sheridan A would unfairly benefit

over the interest of other creditors.

           921.     Equitable subordination of the Asserted Admin Claim to all other claims, except

those of equity interest holders, is consistent with the provisions of the Bankruptcy Code. Jack

Owoc and Sheridan A should not be permitted to profit from the results of his fraud on the public

and an illicit scheme to funnel money out of the Debtors that Jack Owoc willingly and intentionally

wrought upon the Debtors and their creditors, in violation of his fiduciary duties and to the

detriment of the Debtors’ estates and creditors.

           922.     For all of the reasons stated herein, the Asserted Admin Claim should be equitably

subordinated to all other claims, except those of equity interest holders under 11 U.S.C. § 510(c).




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                                          COUNT FIFTY-FOUR
                  EQUITABLE SUBORDINATION OF THE SCHEDULED CLAIMS
                              PURSUANT TO 11 U.S.C. § 510(c)
           923.     Plaintiff repeats and realleges each of the allegations set forth in Paragraphs 70-74,

and 83-424 if fully set forth herein.

           924.     Jack Owoc is the sole shareholder and member of each of the Commercial LLCs.

           925.     The equities in these Chapter 11 Cases demand that the amounts owed to

Commercial LLCs in the Scheduled Claims should be subordinated to all other claims, except

those of equity interest holders under 11 U.S.C. § 510(c).

           926.     At all times relevant hereto, Jack Owoc and the Commercial LLCs were either a

statutory “insider” of the Debtors, as such term is defined in 11 U.S.C. § 101(31), or alternatively,

a de facto insider of the Debtors.

           927.     Jack Owoc, as an insider with effective control over the Debtors and the Board and

in his capacity as an alleged creditor, has engaged in substantial value destructive and inequitable

misconduct that specifically harmed the Debtors and all of their key stakeholders including, but

not limited to:

                    (a)   Concealment of the key terms and provisions contained in the 2010
                          Settlement Agreement from the Debtors and their employees, distributors,
                          retailers, and the like;

                    (b)   Causing the Debtors to perpetrate a fraud on the public and knowingly
                          infringe on OBI’s intellectual property for over a decade;

                    (c)   Willfully and deliberately engaging false advertising by engaging in the Super
                          Creatine Scheme in violation of the Lanham Act and causing the Debtors to
                          do the same;

                    (d)   Treating the Debtors’ resources as his own including, for example, the use of
                          the Debtors’ employees to do personal tasks for his sole benefit;

                    (e)   Funneling money out of the Debtors while in a severely compromised
                          financial condition and/or insolvent, including by transferring title of
                          commercial real property belonging to the Debtors to the Commercial LLCs


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                          and acquiring residential real property in the name of non-Debtor affiliates
                          using the Debtors’ funds;

                    (f)   Attempting to move the Company’s intellectual property assets, such as the
                          “Bang” mark, between various entities into order to shield such valuable
                          assets from potential creditors;

                    (g)   Unilaterally causing the Debtors to breach their agreements with distributors,
                          vendors, and other contract counter-parties, including Pepsi;

                    (h)   Causing assets of the Debtors’ estates to be transferred to third parties without
                          Court authority or the requisite Board approval; and

                    (i)   Attempting to thwart the Debtors’ management and their professionals’
                          efforts during the Chapter 11 Cases to maximize the value of the Debtors’
                          assets for the benefit of all stakeholders.

           928.     As a result of Jack Owoc’s misconduct, all creditors in these Chapter 11 Cases have

been materially harmed. Without subordination, the Commercial LLCs, and therefore Jack Owoc,

would unfairly benefit over the other creditors.

           929.     Equitable subordination of the Scheduled Claims to all other claims, except those

of equity interest holders, is consistent with the provisions of the Bankruptcy Code.

           930.     For all of the reasons stated herein, the Scheduled Claims should be equitably

subordinated to all other claims, except those of equity interest holders under 11 U.S.C. § 510(c).

                                         PRAYER FOR RELIEF

           WHEREFORE, Plaintiff respectfully requests that this Court enter an order:

                    (a)   finding that Jack Owoc breached his fiduciary duties of care, loyalty, and
                          good faith owed to the Debtors and their creditors by:
                           i. perpetuating the Super Creatine Scheme, falsely advertising the Bang
                              Drink, and taking the actions giving rise to the False Advertising
                              Judgment against Jack Owoc, individually, and the Company;
                          ii. selling Bang products in the general beverage section of retail stores in
                              violation of the 2010 Settlement Agreement and taking the actions
                              causing the OBI/Monster Judgment against the Company;
                          iii. funneling hundreds of millions of dollars out of the Company to pay a
                               wide variety of personal expenses, including income taxes and to operate


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                              the Owoc Real Estate Enterprise using the Debtors’ funds and by utilizing
                              the Company’s employees for personal purposes;
                          iv. terminating the Pepsi Distribution Agreement arbitrarily and without
                              good cause, forcing the Company to enter into the Pepsi Settlement
                              Agreement; and
                          v. engaging in an ongoing and repeated pattern of misconduct during the
                             course of the Chapter 11 Cases;

                    (b)   finding that the Real Estate Enterprise Defendants aided and abetted Jack
                          Owoc’s breaches of fiduciary duty;

                    (c)   finding that Elite Island aided and abetted Jack Owoc’s breaches of fiduciary
                          duty;

                    (d)   finding that Jack Owoc and Megan Owoc were unjustly enriched by their
                          improper use of the Company’s employees for their personal benefit;

                    (e)   avoiding and recovering fraudulent transfers of property of the Debtors to, or
                          for the benefit of, Jack Owoc pursuant to Fla. Stat. §§ 726.105(1)(b) and
                          726.108, or in the alternative, pursuant to 11 U.S.C. §§ 548(a)(1)(B) and 550;
                          or Fla. Stat. §§ 726.105(1)(a) and 726.108 or 11 U.S.C. §§ 548(a)(1)(A) and
                          550;

                    (f)   avoiding and recovering preferential transfers to Jack Owoc and Megan Owoc
                          pursuant to 11 U.S.C. §§ 547(b) and 550;

                    (g)   avoiding and recovering fraudulent transfers of property of the Debtors to, or
                          for the benefit of, Jack Owoc and each of the Commercial LLCs in connection
                          with the acquisition of commercial real property pursuant to Fla. Stat. §§
                          726.105(1)(b) and 726.108, or in the alternative, pursuant to 11 U.S.C. §§
                          548(a)(1)(B) and 550; or Fla. Stat. §§ 726.105(1)(a) and 726.108, or 11
                          U.S.C. §§ 548(a)(1)(A) and 550;

                    (h)   avoiding and recovering fraudulent transfers of property of the Debtors to, or
                          for the benefit of, Elite Island in connection with the acquisition of
                          commercial real property pursuant to Fla. Stat. §§ 726.105(1)(b) and 726.108,
                          or in the alternative, pursuant to 11 U.S.C. §§ 548(a)(1)(B) and 550; or Fla.
                          Stat. §§ 726.105(1)(a) and 726.108, or 11 U.S.C. §§ 548(a)(1)(A) and 550;

                    (i)   avoiding and recovering fraudulent transfers of property of the Debtors to, or
                          for the benefit of, Tropical Sunset, Jack Owoc, Jon Owoc, and Stag (or in the
                          alternative, the Real Estate Enterprise Defendants) in connection with the
                          acquisition of commercial real property pursuant to Fla. Stat. §§
                          726.105(1)(b) and 726.108, or in the alternative, pursuant to 11 U.S.C. §§
                          548(a)(1)(B) and 550; or Fla. Stat. §§ 726.105(1)(a) and 726.108, or 11
                          U.S.C. §§ 548(a)(1)(A) and 550;


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                    (j)   declaring that the properties owned by the Real Estate LLCs are, in fact, the
                          property of the Debtors’ Estates and that the Debtors are entitled to the
                          proceeds, if any, from the sale of the properties;

                    (k)   declaring that the property owned by JHO NV is, in fact, the property of the
                          Debtors’ Estates and that the Debtors are entitled to the proceeds, if any, from
                          the sale of the properties;

                    (l)   declaring that any claims held by the Commercial LLCs are limited to the
                          amounts and priorities set forth in the Scheduled Claims;

                    (m) declaring that the Disputed Sheridan Funds belong to the Plaintiff;

                    (n)   declaring that JHO Real Estate LLC is neither a claimant nor a creditor in
                          these Chapter 11 Cases;

                    (o)   disallowing and expunging any claims filed or held by Jack Owoc or the
                          Commercial LLCs pursuant to 11 U.S.C. § 502;

                    (p)   disallowing and expunging the Late Claims, the Owoc Unliquidated Claim,
                          the Rent-Related Claims, and the Asserted Admin Claim pursuant to 11
                          U.S.C. § 502;

                    (q)   recharacterizing the Late Claims, the Owoc Unliquidated Claim, the Rent-
                          Related Claims, the Asserted Admin Claim, and the Scheduled Claims as
                          equity pursuant to 11 U.S.C. §§ 105(a) and 502(b)(1);

                    (r)   providing for the equitable subordination of the Late Claims, the Owoc
                          Unliquidated Claim, the Rent-Related Claims, the Asserted Admin Claim,
                          and the Scheduled Claims pursuant to 11 U.S.C. § 510(c);

                    (s)   finding that Plaintiff is entitled to prejudgment interest on its successful
                          claims;

                    (t)   finding that Plaintiff is entitled to recover from Defendants reasonable costs
                          incurred in the prosecution of this Adversary Proceeding; and

                    (u)   granting such other and further relief as the Court deems just and equitable.




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Dated: June 7, 2024

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